Case 22-17842-PDR   Doc 1683-1   Filed 07/21/23   Page 1 of 105




                EXHIBIT F
                    Case 22-17842-PDR    Doc 1683-1      Filed 07/21/23     Page 2 of 105

« Berger Singerman
 201E. Las Olas Blvd. Suite 1500
 Fort Lauderdale, Florida 33301
 T: (954) 525-9900 F: (954) 523-2872
 WWW.BERGERSINGERMAM.COM
 BIN# XX-XXXXXXX




                                       Statement as of March 31,2023
                                            Statement No. 264313

 VITAL PHARMACEUTICALS, INC., ET AL.
 1600 N PARK DRIVE
 WESTON, FL 33326



 31679.0001 CH. 11 BANKRUPTCY FILING                                        Current Fees:            0.00
                                                                        Current Expenses:        5,117.65
 31679.0501 CASE ADMINISTRATION                                             Current Fees:       15,014.50
                                                                        Current Expenses:            0.00
 31679.0502 BUSINESS OPERATIONS                                             Current Fees:       54,511.00
                                                                        Current Expenses:            0.00

 31679.0505 ASSET DISPOSITION/PRESERVATION                                  Current Fees:       23,799.00
                                                                        Current Expenses:            0.00

 31679.0506 FINANCING                                                       Current Fees:        5,320.00
                                                                        Current Expenses:            0.00

 31679.0507 FEE/EMPLOYMENT APPLICATION                                      Current Fees:       10,367.00
                                                                        Current Expenses:            0.00
 31679.0509 CLAIMS ADMINISTRATION AND OBJECTION                             Current Fees:         990.00
                                                                        Current Expenses:           0.00
 31679.0512 EXECUTORY CONTRACTS AND UNEXPIRED                               Current Fees:       17,785.50
 LEASES                                                                 Current Expenses:            0.00
 31679.0517 SETTLEMENT AND COMPROMISE                                       Current Fees:        9,380.00
                                                                        Current Expenses:            0.00
 31679.0527 LITIGATION CONSULTING                                           Current Fees:       33,471.50
                                                                        Current Expenses:            0.00

 31679.0528 RELIEF FROM STAY PROCEEDING/ADEQUATE                            Current Fees:        3,114.00
 PROTECTION                                                             Current Expenses:            0.00

 31679.0530 NON-WORKING TRAVEL                                              Current Fees:        3,162.50
                                                                        Current Expenses:            0.00

                                                                       Total Current Fees:     176,915.00
                                                                  Total Current Expenses:        5,117.65
                                                                      Total Current Billing:   182,032.65
                                                                          Credits Applied:         (0.00)
                                                                   Previous Balance Due:       129,516.50
                                                                               Total Due:      311,549.15
             Case 22-17842-PDR     Doc 1683-1        Filed 07/21/23   Page 3 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                    PAGE: 2
                                                                           MATTER ID: 31679-0001

                    A Berger singerman
                             201 E. Las Olas Blvd. Suite 1500
                             Fort Lauderdale, Florida 33301
                             f: (954) 525-9900 F (954) 523-2872
                                                 :


                                WWW.BERGERSINGERMAN.COM
                                        LIN# XX-XXXXXXX

VITAL PHARMACEUTICALS, INC., ET AL.
1600 N PARK DRIVE                                                         INVOICE DATE:04/17/23
WESTON, FL 33326                                                             INVOICE NO. 264313


CH. 11 BANKRUPTCY FILING                                                  MATTER ID: 31679-0001



  EXPENSES

03/21/23     VENDOR: MICHAEL NILES INVOICE#: 2643243764 DATE:                  1.00      752.84
              3/27/2023
              3/21/2023 - FLIGHT- IN-PERSON HEARING FOR VITAL
              PHARMACEUTICALS, INC. - OFFICE: TALL
03/29/23     VENDOR: MICHAEL NILES INVOICE#: 2643243944 DATE:                  1.00      737.34
              4/3/2023
              3/29/2023 - FLIGHT- VITAL PHARMACEUTICALS, INC- HEARING
              MARCH 30, 2023 - OFFICE: TALL
                                                                AIRFARE                 1,490.18

03/23/23     VENDOR: MICHAEL NILES INVOICE#: 2643243764 DATE:                  1.00        84.47
              3/27/2023
              3/23/2023 - RENTAL CAR- IN-PERSON HEARING FOR VITAL
              PHARMACEUTICALS, INC. - OFFICE: TALL
03/31/23     VENDOR: MICHAEL NILES INVOICE#: 2643243944 DATE:                  1.00      159.05
              4/3/2023
              3/31/2023 - RENTAL CAR- VITAL PHARMACEUTICALS, INC-
              HEARING MARCH 30, 2023 - OFFICE: TALL
                                                           AUTO RENTAL                    243.52

03/02/23     VENDOR: OUELLETTE & MAULDIN COURT REPORTERS, INC;                  1.00      401.95
             INVOICE#: 973575; DATE: 3/2/2023 - 31679.0001 HEARING
             BEFORE JUDGE PETER RUSSIN 0&1 - 71 PAGES, LITIGATION
             PACKAGE
03/03/23     VENDOR: OUELLETTE & MAULDIN COURT REPORTERS, INC;                  1.00      140.80
             INVOICE#: 973577; DATE: 3/3/2023 - 31679.0001 HEARING
             BEFORE JUDGE PETER RUSSIN 0&1 - 24 PAGES, LITIGATION
             PACKAGE
03/15/23     VENDOR: OUELLETTE & MAULDIN COURT REPORTERS, INC;                  1.00      121.05
             INVOICE#: 973626; DATE: 3/15/2023 - 31679.0001 HEARING
             BEFORE JUDGE PETER RUSSIN, COPY 101 PKGS, LITIGATION
             PACKAGE
03/17/23     VENDOR: OUELLETTE & MAULDIN COURT REPORTERS, INC;                  1.00      358.35
             INVOICE#: 973638; DATE: 3/17/2023 - 31679.0001 HEARING
            Case 22-17842-PDR      Doc 1683-1    Filed 07/21/23    Page 4 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                   PAGE: 3
                                                                          MATTER ID: 31679-0001

             BEFORE JUDGE PETER RUSSIN, 0&1 - 63 PAGES, LITIGATION
             PACKAGE
03/22/23     VENDOR: OUELLETTE & MAULDIN COURT REPORTERS, INC;                 1.00      73.60
             INVOICE#: 973650; DATE: 3/22/2023 - 31679.0001 HEARING
             BEFORE JUDGE. PETER RUSSIN, 0&1 - 14 PGS,
03/24/23     VENDOR: OUELLETTE. & MAULDIN COURT REPORTERS, INC;                1.00     136.20
             INVOICE#: 973662; DATE: 3/24/2023 - 31679.0001 HEARING
             BEFORE JUDGE. PETER RUSSIN, COPY 101 PGS, LITIGATION
             PACKAGE
03/24/23     VENDOR: OUELLETTE. & MAULDIN COURT REPORTERS, INC;                1.00      41.20
             INVOICE#: 973664; DATE: 3/24/2023 - 31679.0001 HEARING
             BEFORE JUDGE. PETER RUSSIN, COPY 26 PGS, LITIGATION
             PACKAGE
                                                    COURT REPORTER                     1,273.15

03/14/23     FEDERAL EXPRESS CHARGES                                           1.00      97.59
03/14/23     FEDERAL EXPRESS CHARGES                                           1.00      76.59
03/21/23     FEDERAL EXPRESS CHARGES                                           1.00      41.38
03/21/23     FEDERAL EXPRESS CHARGES                                           1.00     109.67
                                                    FEDERAL EXPRESS                     325.23

03/14/23     PAYEE: E-PORTAL FILING; REQUEST#: 46556; DATE: 3/14/2023.         1.00     350.00
             - 31679.0001 FILING FEE FOR FILING OF COMPLAINT FOR
             DECLARATORY JUDGMENT AND FOR TURNOVER OF ESTATE
             PROPERTY
                                                            FILING FEE                  350.00

03/31/23     VENDOR: MICHAEL NILES INVOICE#: 2643243944 DATE:                  1.00     412.53
             4/3/2023
             3/31/2023 - HOTEL-VITAL PHARMACEUTICALS, INC- HEARING
             MARCH 30, 2023 - OFFICE: TALL
                                                                  HOTEL                 412.53

03/23/23     VENDOR: MICHAEL NILES INVOICE#: 2643243764 DATE:                  1.00      11.06
             3/27/2023
             3/23/2023 - LUNCH- IN-PERSON HEARING FOR VITAL
             PHARMACEUTICALS. INC. - OFFICE: TALL
03/23/23     VENDOR: MICHAEL NILES INVOICE#: 2643243764 DATE:                  1.00      39.14
             3/27/2023
             3/23/2023 - DINNER- IN-PERSON HEARING FOR VITAL
             PHARMACEUTICALS, INC. - OFFICE: TALL
03/30/23     VENDOR: MICHAEL NILES INVOICE#: 2643243944 DATE:                  1.00      51.85
             4/3/2023
             3/30/2023 - DINNER- VITAL PHARMACEUTICALS, INC- HEARING
             MARCH 30, 2023 - OFFICE: TALL
03/31/23     VENDOR: MICHAEL NILES INVOICE#: 2643243944 DATE:                  1.00      40.00
             4/3/2023
             3/31/2023 - DINNER- VITAL PHARMACEUTICALS, INC- HEARING
             MARCH 30, 2023 - OFFICE: TALL
                                                      MEALS - TRAVEL                    142.05




                                                                                           3
            Case 22-17842-PDR      Doc 1683-1   Filed 07/21/23   Page 5 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                              PAGE: 4
                                                                     MATTER ID: 31679-0001

03/01/23     PACER USAGE CHARGE                                           3.00        0.30
03/02/23     PACER USAGE CHARGE                                           1.00        0.10
03/03/23     PACER USAGE CHARGE                                          42.00        4.20
03/04/23     PACER USAGE CHARGE                                           1.00        0.10
03/05/23     PACER USAGE CHARGE                                           1.00        0.10
03/06/23     PACER USAGE CHARGE                                           3.00        0.30
03/07/23     PACER USAGE CHARGE                                           6.00        0.60
03/08/23     PACER USAGE CHARGE                                           1.00        0.10
03/09/23     PACER USAGE CHARGE                                           1.00        0.10
03/10/23     PACER USAGE CHARGE                                           1.00        0.10
03/11/23     PACER USAGE CHARGE                                           1.00        0.10
03/12/23     PACER USAGE CHARGE                                           1.00        0.10
03/13/23     PACER USAGE CHARGE                                           1.00        0.10
03/14/23     PACER USAGE CHARGE                                           5.00        0.50
03/15/23     PACER USAGE CHARGE                                           1.00        0.10
03/16/23     PACER USAGE CHARGE                                          28.00        2.80
03/17/23     PACER USAGE CHARGE                                           1.00        0.10
03/18/23     PACER USAGE CHARGE                                           1.00        0.10
03/19/23     PACER USAGE CHARGE                                           1.00        0.10
03/20/23     PACER USAGE CHARGE                                           1.00        0.10
03/21/23     PACER USAGE CHARGE                                           1.00        0.10
03/22/23     PACER USAGE CHARGE                                           9.00        0.90
03/23/23     PACER USAGE CHARGE                                           1.00        0.10
03/24/23     PACER USAGE CHARGE                                          19.00        1.90
03/25/23     PACER USAGE CHARGE                                           1.00        0.10
03/26/23     PACER USAGE CHARGE                                           1.00        0.10
03/27/23     PACER USAGE CHARGE                                           1.00        0.10
03/28/23     PACER USAGE CHARGE                                           1.00        0.10
03/29/23     PACER USAGE CHARGE                                           4.00        0.40
03/29/23     PACER USAGE CHARGE                                          54.00        5.40
03/30/23     PACER USAGE CHARGE                                           1.00        0.10
                                                     PACER CHARGE                   19.40

03/24/23     VENDOR: MICHAEL NILES INVOICE#: 2643243764 DATE:             1.00      13.00
             3/27/2023
             3/24/2023 - OVERNIGHT PARKING- IN-PERSON HEARING FOR
             VITAL PHARMACEUTICALS, INC. - OFFICE: TALL
03/31/23     VENDOR: MICHAEL NILES INVOICE#: 2643243944 DATE:             1.00      26.00
             4/3/2023
             3/31/2023 - OVERNIGHT PARKING- VITAL PHARMACEUTICALS,
             INC- HEARING MARCH 30, 2023 - OFFICE: TALL
                                                  PARKING - TRAVEL                  39.00

03/14/23     POSTAGE                                                      1.00       19.44
03/14/23     POSTAGE                                                      1.00        5.94
                                                           POSTAGE                  25.38

03/01/23     REPRODUCTIONS                                               63.00        9.45
03/01/23     REPRODUCTIONS                                                1.00        0.15
03/01/23     REPRODUCTIONS                                               63.00        9.45
03/01/23     REPRODUCTIONS                                                4.00        0.60
03/01/23     REPRODUCTIONS                                               17.00        2.55
03/01/23     REPRODUCTIONS                                               29.00        4.35




                                                                                      4
            Case 22-17842-PDR      Doc 1683-1   Filed 07/21/23   Page 6 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                              PAGE: 5
                                                                     MATTER ID: 31679-0001

03/01/23     REPRODUCTIONS                                                4.00       0.60
03/01/23     REPRODUCTIONS                                                4.00       0.60
03/01/23     REPRODUCTIONS                                                5.00       0.75
03/01/23     REPRODUCTIONS                                               79.00      11.85
03/01/23     REPRODUCTIONS                                               19.00       2.85
03/01/23     REPRODUCTIONS                                               15.00       2.25
03/01/23     REPRODUCTIONS                                               12.00       1.80
03/01/23     REPRODUCTIONS                                               13.00       1.95
03/01/23     REPRODUCTIONS                                               13.00       1.95
03/01/23     REPRODUCTIONS                                               13.00       1.95
03/01/23     REPRODUCTIONS                                               14.00       2.10
03/01/23     REPRODUCTIONS                                               12.00       1.80
03/01/23     REPRODUCTIONS                                               12.00       1.80
03/01/23     REPRODUCTIONS                                               13.00       1.95
03/01/23     REPRODUCTIONS                                               17.00       2.55
03/01/23     REPRODUCTIONS                                               13.00       1.95
03/01/23     REPRODUCTIONS                                               13.00       1.95
03/01/23     REPRODUCTIONS                                               13.00       1.95
03/01/23     REPRODUCTIONS                                               13.00       1.95
03/01/23     REPRODUCTIONS                                               13.00       1.95
03/01/23     REPRODUCTIONS                                               13.00       1.95
03/01/23     REPRODUCTIONS                                               13.00       1.95
03/01/23     REPRODUCTIONS                                               90.00      13.50
03/02/23     REPRODUCTIONS                                               90.00      13.50
03/02/23     REPRODUCTIONS                                                1.00       0.15
03/02/23     REPRODUCTIONS                                                1.00       0.15
03/02/23     REPRODUCTIONS                                                3.00       0.45
03/02/23     REPRODUCTIONS                                                3.00       0.45
03/02/23     REPRODUCTIONS                                                3.00       0.45
03/02/23     REPRODUCTIONS                                                3.00       0.45
03/02/23     REPRODUCTIONS                                                4.00       0.60
03/02/23     REPRODUCTIONS                                               20.00       3.00
03/02/23     REPRODUCTIONS                                                8.00        1.20
03/02/23     REPRODUCTIONS                                                8.00        1.20
03/02/23     REPRODUCTIONS                                               13.00       1.95
03/06/23     REPRODUCTIONS                                               22.00       3.30
03/06/23     REPRODUCTIONS                                               15.00       2.25
03/06/23     REPRODUCTIONS                                               22.00       3.30
03/06/23     REPRODUCTIONS                                                3.00       0.45
03/06/23     REPRODUCTIONS                                               22.00       3.30
03/06/23     REPRODUCTIONS                                               30.00       4.50
03/06/23     REPRODUCTIONS                                                7.00       1.05
03/06/23     REPRODUCTIONS                                                9.00       1.35
03/06/23     REPRODUCTIONS                                               10.00       1.50
03/06/23     REPRODUCTIONS                                               11.00       1.65
03/06/23     REPRODUCTIONS                                               56.00       8.40
03/07/23     REPRODUCTIONS                                                1.00       0.15
03/07/23     REPRODUCTIONS                                               19.00       2.85
03/07/23     REPRODUCTIONS                                                1.00       0.15
03/07/23     REPRODUCTIONS                                                6.00       0.90
03/07/23     REPRODUCTIONS                                                1.00       0.15
03/07/23     REPRODUCTIONS                                               18.00       2.70
03/07/23     REPRODUCTIONS                                               26.00       3.90
03/07/23     REPRODUCTIONS                                                1.00       0.15
03/07/23     REPRODUCTIONS                                               28.00       4.20
03/07/23     REPRODUCTIONS                                                1.00       0.15




                                                                                      5
            Case 22-17842-PDR      Doc 1683-1   Filed 07/21/23   Page 7 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                              PAGE: 6
                                                                     MATTER ID: 31679-0001

03/07/23     REPRODUCTIONS                                                1.00       0.15
03/08/23     REPRODUCTIONS                                               44.00       6.60
03/08/23     REPRODUCTIONS                                                7.00       1.05
03/10/23     REPRODUCTIONS                                                6.00       0.90
03/10/23     REPRODUCTIONS                                                7.00       1.05
03/10/23     REPRODUCTIONS                                                7.00       1.05
03/10/23     REPRODUCTIONS                                                7.00       1.05
03/10/23     REPRODUCTIONS                                                6.00       0.90
03/14/23     REPRODUCTIONS                                                8.00        1.20
03/14/23     REPRODUCTIONS                                               22.00       3.30
03/14/23     REPRODUCTIONS                                               34.00       5.10
03/14/23     REPRODUCTIONS                                               62.00       9.30
03/14/23     REPRODUCTIONS                                                4.00       0.60
03/14/23     REPRODUCTIONS                                               55.00       8.25
03/14/23     REPRODUCTIONS                                               35.00       5.25
03/14/23     REPRODUCTIONS                                               15.00       2.25
03/15/23     REPRODUCTIONS                                               70.00      10.50
03/15/23     REPRODUCTIONS                                               43.00       6.45
03/15/23     REPRODUCTIONS                                               48.00       7.20
03/15/23     REPRODUCTIONS                                               46.00       6.90
03/15/23     REPRODUCTIONS                                                8.00        1.20
03/15/23     REPRODUCTIONS                                               12.00        1.80
03/15/23     REPRODUCTIONS                                               14,00       2.10
03/16/23     REPRODUCTIONS                                               12.00       1.80
03/16/23     REPRODUCTIONS                                                7.00       1.05
03/16/23     REPRODUCTIONS                                               17.00       2.55
03/16/23     REPRODUCTIONS                                                2.00       0.30
03/16/23     REPRODUCTIONS                                                2.00       0.30
03/16/23     REPRODUCTIONS                                                6.00       0.90
03/16/23     REPRODUCTIONS                                               11.00       1.65
03/16/23     REPRODUCTIONS                                               61.00       9.15
03/16/23     REPRODUCTIONS                                                6.00       0.90
03/16/23     REPRODUCTIONS                                               61.00       9.15
03/21/23     REPRODUCTIONS                                                5.00       0.75
03/22/23     REPRODUCTIONS                                               11.00       1.65
03/22/23     REPRODUCTIONS                                               19.00       2.85
03/22/23     REPRODUCTIONS                                                7.00       1.05
03/22/23     REPRODUCTIONS                                                1.00       0.15
03/22/23     REPRODUCTIONS                                               11.00       1.65
03/28/23     REPRODUCTIONS                                               10.00       1.50
03/28/23     REPRODUCTIONS                                                5.00       0.75
03/28/23     REPRODUCTIONS                                                8.00        1.20
03/28/23     REPRODUCTIONS                                               28.00       4.20
03/28/23     REPRODUCTIONS                                               39.00       5.85
03/28/23     REPRODUCTIONS                                               19.00       2.85
03/28/23     REPRODUCTIONS                                               18.00       2.70
03/28/23     REPRODUCTIONS                                               14.00       2.10
03/28/23     REPRODUCTIONS                                              263.00      39.45
03/28/23     REPRODUCTIONS                                               28.00       4.20
03/28/23     REPRODUCTIONS                                               39.00       5.85
03/28/23     REPRODUCTIONS                                               19.00       2.85
03/28/23     REPRODUCTIONS                                               18.00       2.70
03/28/23     REPRODUCTIONS                                               14.00       2.10
03/28/23     REPRODUCTIONS                                               17.00       2.55
                                                     REPRODUCTION                  361.20




                                                                                      6
            Case 22-17842-PDR      Doc 1683-1    Filed 07/21/23   Page 8 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                               PAGE: 7
                                                                      MATTER ID: 31679-0001


03123/23     VENDOR: MICHAEL NILES INVOICE#: 2643243944 DATE:              1.00        6.27
             4/3/2023
             3/23/2023 - TOLL CHARGES- VITAL PHARMACEUTICALS, INC-
             HEARING MARCH 23, 2023 - OFFICE: TALL
                                                TOLL REIMBURSEMENT                     6.27

03/05/23     WESTLAW RESEARCH                                              1.00      22.73
03/05/23     WESTLAW RESEARCH                                              1.00     190.77
03/06/23     WESTLAW RESEARCH                                              1.00      21.37
03/08/23     WESTLAW RESEARCH                                              1.00     122.42
03/09/23     WESTLAW RESEARCH                                              1.00      42.54
03/16/23     WESTLAW RESEARCH                                              1.00      25.64
03/22/23     WESTLAW RESEARCH                                              1.00       4.27
                                                   WESTLAW CHARGE                   429.74



                                                                     SUB-TOTAL     5,117.65




                                                                                       7
            Case 22-17842-PDR      Doc 1683-1        Filed 07/21/23   Page 9 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                   PAGE: 8
                                                                          MATTER ID: 31679-0501

                   A Berger singerman
                             201 E. Las Olas Blvd. Suite 1500
                             Fort Lauderdale, Florida 33301
                             f: (954) 525-9900 F (954) 523-2872
                                                 :


                               WWW.BERGERSINGERMAN.COM
                                        LIN# XX-XXXXXXX

VITAL PHARMACEUTICALS, INC., ET AL.
1600 N PARK DRIVE                                                         INVOICE DATE:04/17/23
WESTON, FL 33326                                                             INVOICE NO. 264313


CASE ADMINISTRATION                                                      MATTER ID: 31679-0501


PROFESSIONAL FEES RENDERED THROUGH 03/31/23                                HOURS
03/01/23   KLB          REVISE AND FINALIZE MONTHLY OPERATING                 0.50
                        REPORT FOR VITAL PHARMACEUTICALS, INC.
                        AND COMPILE EXHIBITS TO SAME (.3); FORMAT
                        JANUARY 2023 REPORT AND E-FILE SAME (.2)
03/01/23   MJN          FINALIZE MONTHLY OPERATING REPORTS (.6) ;             0.80
                        CORRESPOND WITH A. GUPTA REGARDING THE
                        SAME (.2).
03/01/23   MJN          CORRESPOND WITH J. TERESI REGARDING                   0.40
                        HEARING PREPARATION; REVIEW DOCUMENTS.
03/01/23   JG           MEMO FROM AND TO MR. GONZALEZ RE DIP                  0.10
                        REPORTS (.1)
03/02/23   JG           CONFERENCE WITH PROFESSIONAL TEAMS RE                 0.50
                        PENDING ISSUES.
03/02/23   MJN          ATTEND WIP CALL WITH LATHAM AND WATKINS               0.40
                        TEAM.
03/02/23   MJN          CORRESPOND WITH HURON REGARDING                       0.50
                        AMENDED MONTHLY OPERATING REPORT (.3);
                        FOLLOW UP REGARDING THE SAME (.2).
03/02/23   KLB          FINALIZE AMENDED MONTHLY OPERATING                    0.20
                        REPORT FOR DECEMBER 2023, AND EMAILS TO
                        M. NILES
03/02/23   JG           MEMOS FROM AND TO M. OWOC RE EMPLOYEE                 0.20
                        INFORMATION IN MONTHLY OPERATING
                        REPORTS; MOTION TO REDACT (.2)
03/03/23   JG           MEMO TO MR. DIOZ REQUESTING HE CEASE                  0.20
                        AND DESIST CONTACTING EMPLOYEES;
                        ENFORCEMENT OF AUTOMATIC STAY.
03/06/23   JG           CALL FROM G. METZGER RE UPCOMING                      0.20
                        HEARINGS; BOARD MEETING.
03/10/23   MJN          FINALIZE CORRESPONDENCE TO JUSTIN LUNA,               0.50
                        COUNSEL FOR OWOCS.
03/10/23   KLB          REVISE NOTICE OF ABANDONMENT OF FIESTA                0.30
                        INVENTORY
           Case 22-17842-PDR      Doc 1683-1   Filed 07/21/23   Page 10 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                              PAGE: 9
                                                                     MATTER ID: 31679-0501

03/15/23   KLB          REVIEW EMAILS REGARDING US TRUSTEE FEES         0.30
                        OWING AND TELEPHONE CALL WITH B.
                        GONZALEZ REGARDING AMOUNTS
                        OUTSTANDING (.2); EMAILS TO AND FROM
                        HURON TEAM REGARDING US TRUSTEE FEES
                        AND PAYMENT OF OUTSTANDING AMOUNTS (.1)
03/15/23   MJN          CORRESPOND WITH HURON TEAM REGARDING            0.30
                        OUTSTANDING U.S. TRUSTEE FEES.
03/15/23   JG           REVIEW OF MEMO FROM US TRUSTEE RE               0.30
                        PAYMENT OF QUARTERLY FEES (.2); MEMO TO
                        A. GUPTA RE SAME (.1).
03/16/23   KLB          GATHER TRANSCRIPTS OF ALL HEARINGS AND          0.50
                        EMAILS TO AND FROM LATHAM TEAM
03/16/23   MJN          CORRESPOND WITH A. SORKIN AND G.                0.20
                        KLINDONAS REGARDING HEARING
                        TRANSCRIPTS.
03/20/23   MJN          CORRESPOND WITH HURON TEAM REGARDING            0.30
                        BANK STATEMENT REQUEST.
03/23/23   KLB          REVIEW EMAIL FROM COUNSEL TO DAIRY              0.40
                        FARMERS OF AMERICA REGARDING EXPIRED
                        INGREDIENTS (.1), AND PREPARE NOTICE OF
                        ABANDONMENT REGARDING SAME (.3)
03/23/23   JG           CALL WITH CTO AND PROFESSIONALS RE              0.60
                        PENDING ISSUES
03/27/23   JG           CALL WITH HURON TEAM AND PROFESSIONALS          0.60
                        RE PENDING ISSUES (.6).
03/28/23   MJN          REVIEW AND FINALIZE EXHIBIT REGISTER:           0.30
                        CORRESPOND WITH TEAM REGARDING THE
                        SAME.
03/28/23   JG           DAILY CTO CALL WITH ADVISORS.                   0.50
03/29/23   KLB          EMAILS REGARDING FILING OF NOTICE OF            0.20
                        ABANDONMENT OF EXPIRED INGREDIENTS, AND
                        DISCUSSIONS WITH M. NILES REGARDING SAME
03/29/23   KLB          FINALIZE MONTHLY OPERATING REPORTS FOR          0.70
                        FOUR DEBTORS AND FORMAT AND E-FILE SAME
03/29/23   KLB          REVISE AND FINALIZE NOTICE OF                   0.40
                        ABANDONMENT REGARDING EXPIRED
                        INGREDIENTS AND FORMAT AND E-FILE SAME
                        (.3); EMAILS TO AND FROM STRETTO
                        REGARDING SERVICE (.1)
03/29/23   MJN          FINALIZE NOTICE OF ABANDONMENT                  0.40
                        REGARDING DAIRY FARMERS OF AMERICA (.2);
                        CORRESPOND WITH DEBTOR TEAM REGARDING
                        THE SAME (.2)
03/29/23   MJN          CORRESPOND WITH VARIOUS COUNTER                 1.80
                        PARTIES REGARDING INFORMAL CURE NOTICE
                        NEGOTIATIONS.
03/29/23   MJN          CORRESPOND WITH LATHAM WATKINS TEAM             0.30
                        REGARDING LATE FILED CLAIMS.
03/29/23   MJN          CORRESPOND WITH HURON AND LATHAM TEAM           1.00




                                                                                      9
           Case 22-17842-PDR           Doc 1683-1   Filed 07/21/23   Page 11 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                   PAGE: 10
                                                                           MATTER ID: 31679-0501

                              REGARDING DISTRICT COURTS STAY ORDER:
                              REVIEW PROPOSED MOTION TO EXPEDITE.
03/30/23   JG             CALL WITH CTO AND OTHER PROFESSIONALS               0.50
                           (.5).
03/30/23   MJN            PREPARE FOR; ATTEND AND RECAP                       3.50
                           REGARDING UNSECURED CREDITOR
                           INTERVIEWS
03/30/23   MJN            PREPARE FOR AND ATTEND HEARINGS.                    2.50
03/30/23   KLB            EMAILS FROM AND TO M. BOYER OF HURON                0.20
                           REGARDING MONTHLY OPERATING REPORTS,
                           BANK STATEMENTS, ETC.
03/31/23   MJN            PREPARE FOR AND ATTEND UNSECURED                    5.00
                           CREDITOR INTERVIEWS
03/31/23   MJN            REVIEW MONTHLY OPERATING REPORTS AND                0.50
                          CORRESPOND WITH HURON TEAM REGARDING
                          THE SAME.
03/31/23   KLB            FINALIZE ADDITIONAL MONTHLY OPERATING               1.40
                           REPORTS AND ORGANIZE EXHIBITS TO SAME
                           (.8); FORMAT AND E-FILE ADDITIONAL MONTHLY
                           OPERATING REPORTS AND EXHIBITS (.6)
03/31/23   JG             CALL WITH CTO AND ADVISORS RE PENDING               0.60
                           ISSUES (.5); MEMOS FROM MR. WILKES AND J.
                           LUNA RE WITHDRAWAL OF REPRESENTATION
                              (.1).


                                                         SUB-TOTAL FEES:     28.10        15,014.50

                                       RATE SUMMARY
           Kerry L. Burns                 5.10   HOURS       295.00/HR         1,504.50
           Jordi Guso                     4.30   HOURS       750.00/HR         3,225.00
           Michael J. Niles              18.70   HOURS       550.00/HR        10,285.00
                               TOTAL     28.10




                                                                                              10
           Case 22-17842-PDR         Doc 1683-1       Filed 07/21/23   Page 12 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                    PAGE: 11
                                                                            MATTER ID: 31679-0502

                   A Berger singerman
                                201 E. Las Olas Blvd. Suite 1500
                                Fort Lauderdale, Florida 33301
                                f: (954) 525-9900 F (954) 523-2872
                                                  :


                                  WWW.BERGERSINGERMAN.COM
                                        LIN# XX-XXXXXXX

VITAL PHARMACEUTICALS, INC., ET AL.
1600 N PARK DRIVE                                                          INVOICE DATE:04/17/23
WESTON, FL 33326                                                              INVOICE NO. 264313


BUSINESS OPERATIONS                                                        MATTER ID: 31679-0502


PROFESSIONAL FEES RENDERED THROUGH 03/31/23                                 HOURS
03/01/23   JG           ATTEND DAILY CTO CALL WITH MANAGEMENT.                0.50
03/01/23   MJN          ATTEND DAILY CTO CALL WITH HURON TEAM                 1.00
                        AND LATHAM AND WATKINS
03/01/23   MJN          REVIEW KERP NOTICE (.2); CORRESPOND WITH               0.40
                        LATHAM AND WATKINS TEAM REGARDING THE
                        KERP NOTICE (.2).
03/01/23   MJN          REVIEW AND REVISE MOTION FOR ADDITIONAL               0.30
                        D&O COVERAGE.
03/01/23   JG           REVIEW AND REVISE NOTICE OF PROPOSED                   0.40
                        AMENDMENTS TO KERP AND MEMO TO TEAM RE
                        SAME (.2); MEMO TO MR. WILKES RE NOTICE OF
                        PROPOSED AMENDMENTS TO KERP; MOTION TO
                        REDACT INFLUENCER INFORMATION FROM
                        CURE NOTICE (.2).
03/02/23   MJN          ATTEND CALLS WITH CTO, HURON AND LATHAM                1.00
                        AND WATKINS TO DISCUSS BUSINESS
                        OPERATIONS AND OUTSTANDING ISSUES.
03/02/23   MJN          REVIEW AND REVISE WORK IN PROGRESS                     0.50
                        SPREADSHEET (.3); ATTEND CONFERENCE CALL
                        (.2).
03/02/23   MJN          REVIEW NOTICE OF ADDITIONAL KERP                       0.50
                        PARTICIPANTS (.2); CORRESPONDENCE
                        REGARDING THE SAME (.3)
03/02/23   KLB          REVISE AND FINALIZE NOTICE OF ADDITIONAL               0.40
                        KERP PARTICIPANTS, AND FORMAT A E-FILE
                        SAME (.3); EMAILS TO STRETTO REGARDING
                        SERVICE (.1)
03/02/23   JG           DAILY CTO CALL WITH MANAGEMENT (.5);                   1.80
                        PREPARE FOR AND ATTEND BOARD MEETING
                        (1.3).
03/03/23   MJN          ATTEND DAILY CALL WITH CHIEF                           1.00
                        TRANSFORMATION OFFICER, HURON TEAM AND
                        LATHAM & WATKINS TEAM
03/03/23   ABZ          ANALYSIS AND REVIEW OF COMPANY                         0.60
           Case 22-17842-PDR      Doc 1683-1    Filed 07/21/23   Page 13 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                              PAGE: 12
                                                                      MATTER ID: 31679-0502

                        HANDBOOK REGARDING PROPRIETARY
                        OWNERSHIP OF INVENTIONS CLAIMS (.4);
                        STRATEGY DISCUSSION REGARDING SAME (.2)
03/03/23   JG          CALL WITH S. PANAGOS RE CORPORATE                 1.00
                        GOVERNANCE MATTERS (.3); FOLLOW UP CALL
                        WITH LATHAM AND ROTHSCHILD TEAMS RE
                        SAME (.5); CONFER WITH A. ZELMAN RE FOR
                        CAUSE DISMISSAL; ENFORCEMENT OF
                        EMPLOYEE HANDBOOK ETC (.2).
03/05/23   ABZ         STRATEGY AND PLANNING CONFERENCE                  0.50
                        REGARDING EMPLOYMENT ISSUES
03/06/23   BSA         REVIEW BYLAWS FOR DEFINITION OF CAUSE             0.70
                        (.2); REVIEW PROPOSED LETTER TO
                        SHAREHOLDER RELATING TO SPECIAL BOARD
                        MEETING (.5)
03/06/23   JG          CALL WITH INDEPENDENT DIRECTORS RE:               2.00
                        UPCOMING SPECIAL MEETING OF BOARD OF
                        DIRECTORS; DELIVER ANALYSIS ON POTENTIAL
                        CLAIMS FOR USURPATION (1.5); CALL (2X) WITH
                        G. ECKHOUSE RE IP ASSIGNMENTS; DOMAIN
                        NAMES (.5).
03/06/23   ABZ         ANALYSIS OF POTENTIAL CLAIMS INVOLVING            1.40
                       OBLIGATIONS UNDER THE COMPANY
                       HANDBOOK (.4); ATTENDANCE AT DIRECTORS
                       MEETING REGARDING POTENTIAL CLAIMS (1)
03/06/23   MJN         CORRESPOND WITH VPX AND HURON                     0.60
                       REGARDING KRONES.
03/06/23   MJN         CORRESPOND WITH HURON REGARDING VS                0.40
                       CARBONICS (.2); REVIEW REVISED AGREEMENT
                        (.2).
03/06/23   MJN         REVIEW CORRESPONDENCE FROM JOHN PAUL              0.30
                       REGARDING VENDOR INDEMNITY AGREEMENTS
                       AND RESPOND.
03/06/23   MJN         CORRESPONDENCE REGARDING DOEHLER                  0.30
                       WITH COUNSEL AND HURON TEAM.
03/07/23   JG          DAILY CALL WITH CTO AND MANAGEMENT TEAM           3.60
                       (.5); CALL WITH INDEPENDENT DIRECTORS AND
                       G. ECKHOUSE RE IP RELATED MATTERS (.5);
                       CALL WITH INDEPENDENT DIRECTORS AND G.
                       METZGER RE DISTRIBUTOR AGREEMENT
                       AMENDMENTS; DEMANDS MADE BY MR. OWOC
                       (.5); PREPARE FOR AND ATTEND
                       RESTRUCTURING COMMITTEE MEETING (1.8);
                       CALLS (2X) FROM B. DICKINSON RE MARCH 9
                       BOARD MEETING PRESENTATION (.3).
03/07/23   MJN         CORRESPOND WITH COUNSEL REGARDING                 1.00
                       LEASEPLAN INVOICES (.4); REVIEW INVOICES
                       (.3); CORRESPOND WITH HURON REGARDING
                       THE SAME (.3)
03/07/23   MJN         ATTEND CALL WITH HURON AND LATHAM TEAM            0.40
                       TO DISCUSS OUTSTANDING ISSUES




                                                                                      12
            Case 22-17842-PDR     Doc 1683-1    Filed 07/21/23   Page 14 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                              PAGE: 13
                                                                      MATTER ID: 31679-0502

03/07/23   MJN          PHONE CALL WITH S. PARKHURST AND A.              0.70
                        GUPTA REGARDING OUTSTANDING ISSUES.
03/08/23   JG           CALL WITH LATHAM TEAM RE PREPARATION             3.60
                        FOR MARCH 9 BOARD MEETING (.5); CALL WITH
                        G. BUKOVI AND INDEPENDENT DIRECTORS RE
                        DISTRIBUTOR AGREEMENT RENEWALS; SALES
                        MATTERS (.8); CALL FROM S. PANAGOS
                        REGARDING BOARD
                        MEETING (.3); DRAFT AND REVISE BOARD
                        PRESENTATION (1.5); REVIEW AND REVISE
                        MOTION TO APPROVE D&O INSURANCE
                        EXTENSION; MEMO TO M. NILES RE SAME (.5).
03/08/23   MJN          FOLLOW UP WITH COUNSEL FOR LEASE PLAN            0.30
                        REGARDING PAYMENTS.
03/08/23   MJN          REVIEW AND REVISE MOTION FOR APPROVAL            0.40
                        OF ADDITIONAL D&O COVERAGE (.4)
03/08/23   MJN          ATTEND CALL WITH HURON AND LATHAM &              0.60
                        WATKINS TEAMS REGARDING OUTSTANDING
                        BUSINESS ISSUES
03/08/23   MJN          REVIEW OUTSTANDING BUSINESS ISSUES.              0.80
03/09/23   BSA          DRAFT RESOLUTION REMOVING JACK OWOC AS           2.00
                        A DIRECTOR AND OFFICER AND CAUSING THE
                        COMPANY TO FILE AN AMENDED ANNUAL
                        REPORT (2.0)
03/09/23   JG           CALL WITH LATHAM TEAM RE FINAL BOARD             4.70
                        PRESENTATION (.5); PREPARE FOR AND ATTEND
                        MARCH 9 BOARD MEETING (2.0); DRAFT AND
                        REVISE TERMINATION NOTICES; CALL WITH A.
                        SORKIN RE SAME (.9); CONFERENCE WITH
                        MANAGEMENT TEAM AND COMMUNICATIONS
                        CONSULTANT RE: COMMUNICATIONS
                        PROTOCOL; REVIEW AND REVISE PRESS
                        RELEASE (1.0); REVIEW AND REVISE TURNOVER
                        COMMUNICATION FOR IT PERSONNEL (.3).
03/09/23   MJN          CORRESPOND WITH J. GUSO REGARDING                0.50
                        MOTION FOR ADDITIONAL D&O COVERAGE (.2);
                        REVIEW D&O POLICY (.3)
03/09/23   MJN          CORRESPOND WITH LATHAM & WATKINS TEAM            0.50
                        REGARDING OUTSTANDING ISSUES.
03/09/23   MJN          ATTEND CALL WITH HURON AND ROTHCHILD             0.50
                        TEAMS REGARDING OUTSTANDING BUSINESS
                        ITEMS.
03/10/23   BSA          DISCUSSIONS RELATING TO AND UPDATES TO           3.20
                        WRITTEN CONSENT UPDATING THE BOARD AND
                        CONTEMPLATING SIGNATURE AUTHORITY OF
                        THE COMPANY (3.2)
03/10/23   LKS          REVIEW AND REVISE RELEASE FOR KHAN(.5),          0.80
                        REVIEW MULTIPLE EMAILS FROM CLIENT(.3)
03/10/23   JG           CALL FROM S. PARKHURST RE COMPELLING             3.30
                        RETURN OF COMPANY PROPERTY FROM
                        DEPARTING EMPLOYEES (.3); DRAFT AND




                                                                                      13
           Case 22-17842-PDR      Doc 1683-1   Filed 07/21/23   Page 15 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                              PAGE: 14
                                                                      MATTER ID: 31679-0502

                        REVISE S. KHAN SEPARATION AGREEMENT (1.0);
                        FOLLOW UP WITH HURON TEAM RE
                        TERMINATION ISSUES (.3); PREPARE FOR AND
                        ATTEND BOARD MEETING (1.3); ATTEND TO
                        ADDRESSING MEDIA INQUIRIES; ADDRESS
                        EMAIL FROM J. OWOC TO ALL EMPLOYEES (.4).
03/10/23   JG          WORK WITH A. SORKIN ON DEMAND FOR                 1.00
                       TURNOVER (.5); FINALIZE LETTER TO J. LUNA RE
                       SAME (.5).
03/11/23   JG          CALL WITH J. DIDONATO AND LATHAM &                0.20
                        WATKINS TEAM RE: DIRECTOR REPLACEMENT.
03/12/23   JG          CALL WITH G. METZGER, HURON AND LATHAM            1.10
                        TEAMS RE MARKETING CONTRACTS;
                        PRESERVING INFLUENCER RELATIONSHIPS (.7);
                        CALL FROM A. SORKIN RE SAME, COMMITTEE
                        DISCUSSION AND POTENTIAL STATUS
                        CONFERENCE (.4).
03/13/23   BSA         DRAFT CONSENTS FOR EACH OTHER DEBTOR              4.00
                        BASED ON VPX CONSENT REGARDING
                       AUTHORIZED SIGNATORIES AND BANK
                       ACCOUNTS (2.5); REVIEW DETAILED EMAILS AND
                        DOCUMENTATION RECEIVED FROM CLIENT
                        RELATING TO SIGNATURE AUTHORITY (1.5)
03/13/23   MJN         ATTEND DAILY CTO CALL WITH HURON AND              0.60
                        LATHAM & WATKINS.
03/13/23   MJN         REVIEW AND REVISE D&O MOTION BASED ON             0.30
                        RECENT EVENTS.
03/13/23   MJN         CONFERENCE CALL WITH LATHAM & WATKINS             1.30
                       AND DEBTOR TEAM REGARDING VALUATION
                        DISCUSSION AND TERMINATION OF J. OWOC
03/13/23   JG          CALL WITH S. PANAGOS IN ADVANCE OF                4.00
                        COMMITTEE DISCUSSION (.5); REVIEW OF KROLL
                        DRAFT PRESENTATION RE PRICING; CALL WITH
                        HURON TEAM RE SAME (.9); CALL FROM A.
                        SORKIN AND C. RECKLER RE SAME AND RE
                        KROLL WITHDRAWAL OF REPORT (.5); CALL
                        WITH HURON AND CO-ADVISORS RE IMPACT ON
                        SALE PROCESS (1.3); CALL WITH R. CARUSO RE
                        POTENTIAL FILING OF BOARD SEAT (.5); REVIEW
                        OF RESOLUTIONS IMPLEMENTING CHANGES TO
                        BOARD COMPOSITION; CHANGING SIGNATORY
                       AUTHORITY AND MEMO TO BOARD MEMBERS
                        RE SAME (.3).
03/13/23   JG          CONFERENCE WITH COMMITTEE COUNSEL RE             1.20
                        BOARD CHANGES AND PENDING ISSUES.
03/14/23   KLB         REVISE MOTION FOR AUTHORIZATION TO               0.90
                        ENTER INTO AN EXCESS INSURANCE POLICY
                        WITH XL SPECIALTY AND REVISE PROPOSED
                        ORDER (.3); COMPILE EXHIBITS TO MOTION AND
                        FINALIZE, FORMAT AND E-FILE MOTION (.3);
                        REVISE AND FINALIZE DECLARATION OF J.
                        DIDONATO IN SUPPORT OF MOTION TO ENTER




                                                                                      14
           Case 22-17842-PDR      Doc 1683-1   Filed 07/21/23   Page 16 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                             PAGE: 15
                                                                     MATTER ID: 31679-0502

                        INTO EXCESS INSURANCE POLICY AND FORMAT
                        AND E-FILE SAME (.2); EMAIL TO AND FROM
                        STRETTO REGARDING SERVICE OF MOTION AND
                        DECLARATION (.1)
03/14/23   JG           ATTEND CALL WITH PROFESSIONALS RE               3.10
                        PENDING ISSUES (.7); PREPARE FOR AND
                        ATTEND BOARD MEETING (1.8); REVIEW OF D&O
                        INSURANCE POLICY DECLARATION; CALLS WITH
                        BROKER RE EXTENT OF COVERAGE; INSUREDS
                        (.6).
03/14/23   MJN          FINALIZE MOTION FOR D&O COVERAGE;               1.00
                        CORRESPOND WITH INSURANCE
                        REPRESENTATIVE AND HURON TEAM
                        REGARDING THE SAME.
03/14/23   MJN          ATTEND PROFESSIONAL CALL WITH HURON AND         0.50
                        LATHAM & WATKINS TEAM MEMBERS.
03/15/23   MJN          ATTEND DAILY CTO CALL WITH HURON TEAM.          0.30
03/15/23   JG           MEMO TO AND FROM B. KROUPA CONFIRMING           0.10
                        D&O INSURANCE COVERAGE.
03/15/23   JG           REVIEW OF C STREET ENGAGEMENT LETTER;           0.40
                        MEMO TO A. SORKIN RE SAME (.4)
03/16/23   MJN          PREPARE FOR AND ATTEND WEEKLY WIP CALL          0.50
                        WITH LATHAM & WATKINS TEAM TO DISCUSS
                        OPEN BUSINESS OPERATION ISSUES.
03/17/23   BSA          REVIEW ANNUAL REPORTS FILED ON SUNBIZ           3.50
                        AND RELATED COMMUNICATIONS WITH CLIENT
                        AND TEAM MEMBERS TO MAKE CORRECTIVE
                        FILINGS (1.5); PREPARE RESOLUTIONS
                        AUTHORIZING ABHI GUPTA AS THE DEPUTY
                        CHIEF TRANSFORMATION OFFICER (2.0)
03/20/23   MJN          ATTEND OPERATIONS CALL WITH HURON TEAM          0.60
                        AND PROFESSIONALS.
03/21/23   KLB          GATHER PLEADINGS AND DOCUMENTS FOR              0.70
                        MARCH 23, 2023 HEARING ON MOTION FOR
                        APPROVAL OF EXCESS D&O INSURANCE POLICY
                        (.4); PREPARE E-BINDER FOR SAME AND EMAILS
                        TO AND FROM M. NILES (.3)
03/21/23   MJN          PREPARE BANKRUPTCY STATUS UPDATE (.3);          0.40
                        CORRESPOND WITH J. PAUL (.1).
03/22/23   MJN          CORRESPOND WITH B. KROUPA REGARDING XL          0.50
                        INSURANCE POLICY D&O (.2); REVIEW POLICY
                        DOCUMENTS (.3)
03/23/23   KLB          REVISE, FINALIZE, FORMAT AND SUBMIT             0.20
                        PROPOSED ORDER APPROVING DEBTORS'
                        MOTION FOR AUTHORIZATION TO OBTAIN
                        ADDITIONAL D&O INSURANCE
03/23/23   MJN          ATTEND WIP CALL WITH LATHAM & WATKINS           0.50
                        TEAM.
03/23/23   MJN          PREPARE FOR AND ATTEND HEARING ON               4.00
                        MOTION FOR ADDITIONAL D&O INSURANCE
                        COVERAGE AND OTHER MATTERS IN MAIN AND




                                                                                     15
           Case 22-17842-PDR      Doc 1683-1    Filed 07/21/23     Page 17 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                PAGE: 16
                                                                        MATTER ID: 31679-0502

                        ADVERSARY PROCEEDINGS
03/23/23   MJN          ATTEND CALL WITH CTO AND HURON TO                  0.50
                        DISCUSS BUSINESS OPERATIONS.
03/23/23   JG           CONFER WITH M. NILES RE D&O INSURANCE              2.60
                        EXTENSION; SUPPLEMENTAL POLICY AND
                        COURT HEARING (.3); PREPARE FOR AND
                        ATTEND HEARING (2.3)
03/24/23   BSA          CORRESPONDENCE RELATING TO AND UPDATE              1.00
                        TO AUTHORIZING CONSENTS APPOINTING ABHI
                        GUPTA AS AN OFFICER OF EACH COMPANY (1.0)
03/24/23   MJN          ATTEND PROFESSIONAL OPERATIONS CALL.               0.80
03/24/23   MJN          REVIEW AND REVISE GPI CRITICAL VENDOR              0.80
                        AGREEMENT (.6); CORRESPOND WITH S.
                        PARKHURST REGARDING THE SAME.(.2)
03/24/23   MJN          CORRESPOND WITH TEAM REGARDING                     0.40
                        SOUTHEAST COLD FILL
03/24/23   MJN          CORRESPOND WITH HURON TEAM REGARDING               0.20
                        INSURANCE ORDER AND INSURANCE BINDER.
03/24/23   JG           ATTEND TO FINALIZING RESOLUTION                    0.50
                        APPOINTING DEPUTY CTO (.2); CALL FROM J.
                        FISCHER RE MATTERS PERTAINING TO
                        REMOVAL OF MR. OWOC (.3).
03/26/23   JG           CALL WITH MANAGEMENT AND BOARD RE                  1.00
                        NEGOTIATIONS WITH MONSTER.
03/27/23   MJN          ATTEND OPERATIONS CALL WITH HURON AND              0.50
                        LATHAM WATKINS.
03/27/23   BSA          REVIEW RESIGNATION LETTER FROM ERIC                0.50
                        HILLMAN AND REVIEW BYLAWS TO DETERMINE
                        PROCEDURES SURROUNDING VACANCIES OF
                        THE BOARD (.5)
03/27/23   JG           REVIEW OF BOARD PRESENTATION (.3);                 1.00
                        PREPARE FOR AND ATTEND BOARD CALL (.7)
03/28/23   MJN          REVIEW AMENDMENT WITH VS CARBONICS (.2);           0.40
                        CORRESPOND WITH J. PAUL AND DEBTOR TEAM
                        REGARDING THE SAME (.2).
03/28/23   MJN          ATTEND BUSINESS OPERATIONS CALL WITH               0.40
                        HURON AND LATHAM.
03/29/23   JG           ATTEND DAILY CTO CALL WITH PROFESSIONALS           0.70
                        (.5); CALL FROM A. SORKIN RE REQUEST FOR
                        APPLICATION BEFORE PTO (.2).
03/29/23   MJN          REVIEW FINANCE AGREEMENT FOR 2018                  0.50
                        CADILLAC (.3); CORRESPOND WITH DEBTORS
                        AND HURON REGARDING THE SAME (.2)
03/29/23   MJN          ATTEND CTO CALL.                                   0.40
03/29/23   MJN          CORRESPOND WITH HURON TEAM REGARDING               0.30
                        ASSEMBLERS.
03/30/23   JG           PREPARE FOR AND ATTEND BOARD MEETING.              1.00
03/30/23   MJN          CORRESPOND WITH S. PARKHURST REGARDING             0.20
                        GPI'S CRITICAL VENDOR AGREEMENT.




                                                                                        16
           Case 22-17842-PDR        Doc 1683-1   Filed 07/21/23   Page 18 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                               PAGE: 17
                                                                       MATTER ID: 31679-0502

03/31/23   MJN           CORRESPOND WITH S. PARKHURST REGARDING           0.30
                         GPI'S CRITICAL VENDOR AGREEMENT.


                                                     SUB-TOTAL FEES:     87.40        54,511.00

                                    RATE SUMMARY
           Bryan S. Appel            14.90   HOURS       480.00/HR         7,152.00
           Kerry L. Burns             2.20   HOURS       295.00/HR           649.00
           Jordi Guso                38.80   HOURS       750.00/HR        29,100.00
           Michael J. Niles          28.20   HOURS       550.00/HR        15,510.00
           Leonard K. Samuels         0.80   HOURS       750.00/HR           600.00
           Andrew B. Zelman           2.50   HOURS       600.00/HR         1,500.00
                            TOTAL    87.40




                                                                                          17
            Case 22-17842-PDR     Doc 1683-1         Filed 07/21/23   Page 19 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                   PAGE: 18
                                                                           MATTER ID: 31679-0505

                   A Berger singerman
                             201 E. Las Olas Blvd. Suite 1500
                             Fort Lauderdale, Florida 33301
                             f: (954) 525-9900 F (954) 523-2872
                                                 :


                               WWW.BERGERSINGERMAN.COM
                                        LIN# XX-XXXXXXX

VITAL PHARMACEUTICALS, INC., ET AL.
1600 N PARK DRIVE                                                         INVOICE DATE:04/17/23
WESTON, FL 33326                                                             INVOICE NO. 264313


ASSET DISPOSITION/PRESERVATION                                            MATTER ID: 31679-0505


PROFESSIONAL FEES RENDERED THROUGH 03/31/23                                HOURS
03/01/23   KLB          REVIEW EMAILS FROM J. WEICHSELBAUM AND J.             0.30
                        GUSO REGARDING FILING OF MOTION TO
                        REDACT CONFIDENTIAL INFORMATION FROM
                        ASSUMPTION NOTICE
03/01/23   MJN          CORRESPOND WITH J. WEICHSELBAUM AND L.                0.40
                        BURTON REGARDING REDACTION MOTION
                        REGARDING ASSUMPTION NOTICE.
03/02/23   JG           CALL WITH ROTHSCHILD AND INDEPENDENT                  1.20
                        DIRECTORS RE OPEN ISSUES ON SALE
                        PROCESS (1.0); MEMOS TO AND FROM LATHAM
                        TEAM RE IP ISSUES (.2).
03/02/23   MJN          CORRESPOND WITH J. WEICHSELBAUM                       0.30
                        REGARDING REDACTION MOTION WITH
                        RESPECT TO ASSUMPTION NOTICE
03/02/23   KLB          REVISE MOTION FOR ORDER AUTHORIZING                   0.70
                        DEBTORS TO REDACT CONFIDENTIAL
                        INFORMATION FROM ASSUMPTION NOTICE AND
                        FORMAT SAME (.2); REVISE AND FINALIZE
                        PROPOSED ORDER (.2); FORMAT AND E-FILE
                        MOTION AND FORMAT AND SUBMIT PROPOSED
                        ORDER (.2); EMAILS TO STRETTO REGARDING
                        SERVICE (.1)
03/03/23   MJN          REVIEW REVISED SALE ORDER AND                        0.30
                        CORRESPONDENCE REGARDING THE SAME.
03/03/23   MJN          REVIEW ASSUMPTION NOTICE AND                         0.30
                        REDACTIONS; CORRESPOND WITH LATHAM AND
                        WATKINS TEAM REGARDING THE SAME.
03/03/23   GL           ADDRESS ISSUES RELATED TO ENTOURAGE IP                2.50
                        OWNERSHIP AND TRADEMARK OWNERSHIP OF
                        OTHER ENTITIES. RESEARCH AND ASSESS
                        USPTO RECORDS REGARDING SAME. ANALYZE
                        CONSENT AGREEMENT, LICENSE ISSUES, AND
                        POTENTIAL FOR INVALIDATION OF AGREEMENT
                        AND/OR TURNOVER. ANALYZE AND WORK ON
                        RECOMMENDATION TO TEAM REGARDING
           Case 22-17842-PDR      Doc 1683-1   Filed 07/21/23   Page 20 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                             PAGE: 19
                                                                     MATTER ID: 31679-0505

                        SAME
03/03/23   KLB         REVIEW EMAIL FROM J.WEICHSELBAUM                0.20
                        REGARDING NOTICE OF ASSUMPTION AND
                       ASSIGNMENT AND FILING OF SAME (.1);
                        TELEPHONE CONFERENCE WITH J.
                        WEICHSELBAUM REGARDING TIMING FOR
                        FILING (.1)
03/03/23   KLB         REVIEW EMAILS REGARDING FILING OF               0.20
                       ASSUMPTION NOTICE AND SERVICE BY
                        STRETTO (.1); ELEPHONE CALL WITH J.
                        WEICHSELBAUM AND M. NILES REGARDING
                        SAME (.1)
03/03/23   JG          CALL WITH ROTHSCHILD AND HURON TEAMS RE          0.50
                        OPEN ITEMS ON SALE PROCESS; IP ISSUES.
03/05/23   PA          CONFERENCE WITH JORDI GUSO AND TEAM              2.90
                        (.40) FOLLOW-UP LEGAL RESEARCH AND MEMO
                        TO JORDI GUSO (2.5)
03/05/23   JG          CONFER WITH TEAM ON GOVERNANCE ISSUE             1.50
                        RELATING TO IP TRANSFERS (.5); REVIEW
                        CASES ON USURPATION; BEGIN WORK ON
                        MEMO RE SAME (1.0).
03/06/23   GL          CALL WITH LATHAM & WATKINS TEAM AND              1.30
                        BERGER SINGERMAN TEAM REGARDING CEO
                        ISSUES, IP ISSUES, REMOVAL/TURNOVER AND
                        RELATED STRATEGY.
03/07/23   JG          CALL WITH ROTHSCHILD AND HURON TEAMS RE          1.10
                        DILIGENCE REQUESTS; POPULATING CLEAN
                        ROOM FOR MONSTER (.5); CALL WITH G.
                        ECKHOUSE AND D. MUN RE PENDING IP
                       APPLICATIONS; IP HELD BY NON-DEBTORS AND
                        TRANSFER OF SAME (.6).
03/07/23   MJN         CORRESPOND WITH COUNSEL FOR SANTANDER            0.30
                        REGARDING CURE AMOUNTS AND ASSUMPTION.
03/08/23   PA          FOLLOW-UP USURPATION OF CORPORATE                3.20
                        OPPORTUNITY RESEARCH AND MEMO TO JORDI
                        GUSO RE SAME
03/09/23   GL          ADDRESS ISSUES RELATED TO TERMINATION            2.00
                        OF CEO AND PREPARE DIRECTIVE TO IT
                        REGARDING SECURING SYSTEMS AND DATA
                        UPON CEO DEPARTURE.
03/09/23   MJN         CORRESPOND WITH ROBERT MAHER                     0.60
                       REGARDING CURE LIST (.3); REVIEW CONTRACT
                       PROVIDED BY MR. MAHER (.3).
03/10/23   MJN         REVIEW DOGWOOD CURE AMOUNT                       0.50
                       DISCREPANCY (.3); CORRESPOND WITH
                       COUNSEL REGARDING THE SAME (.2)
03/13/23   MJN         CORRESPOND WITH COUNSEL AND HURON                0.40
                       REGARDING REVISIONS TO CURE AMOUNTS
03/15/23   JG          CONFERENCE WITH CTO AND MANAGEMENT               0.60
                       TEAM RE M&A UPDATE AND PENDING ISSUES.




                                                                                     19
           Case 22-17842-PDR      Doc 1683-1   Filed 07/21/23   Page 21 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                             PAGE: 20
                                                                     MATTER ID: 31679-0505

03/18/23   MJN          REVIEW CORRESPONDENCE FROM J. WERTZ             0.50
                        REGARDING CABOT PROPERTIES CURE
                        AMOUNT AND POST-PETITION AMOUNTS OWED
                        (.3); CORRESPOND WITH N. MARINO REGARDING
                        THE SAME (.2)
03/19/23   MJN          FOLLOW UP WITH HURON TEAM REGARDING             0.40
                        CABOT PROPERTIES CURE NOTICE.
03/20/23   MJN          ATTEND CONFERENCE CALL REGARDING CURE           0.60
                        NOTICE AMENDMENT.
03/20/23   MJN          FURTHER CORRESPONDENCE WITH S. KALB             0.30
                        REGARDING SEKO WORLDWIDE CURE AMOUNT
03/21/23   KLB          MULTIPLE EMAILS FROM AND TO M. NILES AND        0.60
                        J. WEICHSELBAUM REGARDING FILING OF
                        SUPPLEMENT TO NOTICE OF ASSUMPTION OF
                        EXECUTORY CONTRACTS (.2); REVISE AND
                        FINALIZE SUPPLEMENTAL NOTICE AND COMPILE
                        EXHIBIT A (.2); E-FILE SUPPLEMENTAL NOTICE
                        AND EMAILS TO STRETTO REGARDING SERVICE
                        (■2)

03/21/23   MJN          CORRESPOND WITH N.MARINO REGARDING              0.20
                        SEKO CURE AMOUNT.
03/21/23   MJN          CORRESPOND WITH J. SPENCER REGARDING            0.40
                        DOGWOOD PROPCO REGARDING DISCREPANCY
                        OF CURE AMOUNT. .
03/21/23   MJN          CORRESPOND WITH J. WERTZ AND BEAU               0.40
                        BUTLER REGARDING CABOT PROPERTIES CURE
                        AMOUNT.
03/21/23   MJN          CORRESPOND WITH TEAM REGARDING CURE             0.70
                        NOTICE SCHEDULE.
03/21/23   MJN          FURTHER CORRESPONDENCE WITH B. BUTLER           0.20
                        REGARDING CABOT PROPERTIES AND CURE
                        AMOUNT.
03/21/23   MJN          CORRESPOND WITH S. KALB REGARDING SEKO          0.30
                        WORLDWIDE AND CURE AMOUNT.
03/21/23   MJN          PREPARE AMENDED CURE NOTICE FOR FILING          0.60
                        (.3); CORRESPOND WITH HURON TEAM
                        REGARDING THE SAME (.2).
03/22/23   PA           PREPARE FOR AND ATTEND COURT ON MOTION          1.80
                        FOR STAY PENDING WITHDRAWAL OF THE
                        REFERENCE AND FOLLOW-UP MEMO / CALL
                        WITH JORDI GUSO
03/22/23   JG           MEMO FROM AND TO B. MESSINER RE SALE            0.80
                        PROCESS AND ACCESS TO DILIGENCE (.2); CALL
                        WITH HURON AND ROTHSCHILD TEAMS RE
                        PENDING ISSUES (.6).
03/23/23   MJN          CORRESPOND WITH N. MARINO REGARDING             0.30
                        SEKO WORLDWIDE AND CURE AMOUNT
03/23/23   JG           CONFERENCE WITH MANAGEMENT AND HURON            1.00
                        TEAMS RE STALKING HORSE BID DEADLINE;
                        REQUEST FOR WAIVER AND SALE OF LOAN




                                                                                     20
           Case 22-17842-PDR      Doc 1683-1   Filed 07/21/23   Page 22 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                             PAGE: 21
                                                                     MATTER ID: 31679-0505

                        PARTICIPATION.


03/24/23   MJN         CORRESPOND WITH M. CRABB REGARDING               0.40
                       CURE AMOUNT (.2); RESEARCH REGARDING THE
                       SAME (.2)
03/24/23   MJN         CORRESPOND WITH A. ROSENBERG                     0.50
                       REGARDING LEASE PLAN AGREEMENT AND
                       CURE AMOUNT
03/24/23   MJN         CORRESPOND WITH M. LEE AND N. MAINO              0.40
                       REGARDING KRONES INC CURE AMOUNT.
03/24/23   MJN         CORRESPOND WITH N. MARINO REGARDING              0.20
                       CABOT PROPERTIES CURE AMOUNT.
03/24/23   JG          CONFERENCE WITH LATHAM AND HURON                 0.60
                       TEAMS RE NEGOTIATIONS WITH BIDDERS;
                       STALKING HORSE STATUS.
03/24/23   JG          CALL WITH D. MELVILLE RE SHERIDAN A              0.40
                       TRANSACTION AND SUMMIT LETTER OF INTENT:
                       LEASE ISSUES (.4);
03/27/23   JG          REVIEW OF BIDDING PROCEDURES ORDER;              0.40
                       MEMO FROM AND TO J. WEICHSELBAUM RE
                       DEBTORS’ ABILITY TO ADJUST MILESTONES
                       WITHOUT FURTHER COURT ORDER (.3); MEMO
                       FROM AND TO G. METZGER RE EXTENSION OF
                       TIME FOR CIRCLE K TO OBJECT TO CURES (.1).
03/28/23   MJN         CORRESPOND WITH N. MARINO AND HURON              1.80
                       REGARDING CERTAIN CURE NOTICE
                       NEGOTIATIONS.
03/29/23   EMH         PREPARE A MOTION TO CANCEL THE HEARING           0.60
                       TO CONSIDER THE PROPOSED STALKING
                       HORSE BIDDER.
03/29/23   EMH         PREPARE PROPOSED ORDER GRANTING THE              0.30
                       MOTION TO CANCEL THE HEARING TO
                       CONSIDER THE PROPOSED STALKING HORSE
                       BIDDER.
03/30/23   JG          MEMO FROM AND TO C. JONES RE AMERICAN            0.50
                       EXPRESS CURE NOTICE (.2); MEMO FROM C.
                       HELMSUTTER RE SAME (.2); REVIEW OF
                       WESTON CURE CALCULATION (.1).
03/30/23   MJN         CORRESPOND WITH HURON TEAM AND LATHAM            1.50
                       & WATKINS TEAM REGARDING CURE AMOUNT
                       NEGOTIATIONS.
03/30/23   KLB         REVIEW BID PROCEDURES ORDER REGARDING            0.20
                       UPCOMING DEADLINES AND DISCUSSIONS WITH
                       DOCKETING CLERK REGARDING SAME
03/31/23   MJN         REVIEW VARIOUS OBJECTIONS RELATED TO             1.00
                       CURE NOTICE AND CORRESPOND WITH LATHAM
                       & WATKINS AND HURON TEAMS REGARDING
                       THE SAME.


                                                   SUB-TOTAL FEES:     39.20     23,799.00




                                                                                     21
         Case 22-17842-PDR        Doc 1683-1   Filed 07/21/23   Page 23 of 105
VITAL PHARMACEUTICALS, INC., ET AL.                                               PAGE: 22
                                                                     MATTER ID: 31679-0505


                                  RATE SUMMARY
         Paul Avron                 7.90   HOURS       650.00/HR         5,135.00
         Kerry L. Burns             2.20   HOURS       295.00/HR           649.00
         Jordi Guso                 8.60   HOURS       750.00/HR         6,450.00
         ERIN M. HOSKINS            0.90   HOURS       550.00/HR           495.00
         Geoffrey Lottenberg        5.80   HOURS       600.00/HR         3,480.00
         Michael J. Niles          13.80   HOURS       550.00/HR         7,590.00
                          TOTAL    39.20




                                                                                     22
             Case 22-17842-PDR              Doc 1683-1       Filed 07/21/23   Page 24 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                           PAGE: 23
                                                                                   MATTER ID: 31679-0506

                       A Berger singerman
                                       201 E. Las Olas Blvd. Suite 1500
                                       Fort Lauderdale, Florida 33301
                                       f: (954) 525-9900 F (954) 523-2872
                                                         :


                                         WWW.BERGERSINGERMAN.COM
                                               LIN# XX-XXXXXXX

VITAL PHARMACEUTICALS, INC., ET AL.
1600 N PARK DRIVE                                                                 INVOICE DATE:04/17/23
WESTON, FL 33326                                                                     INVOICE NO. 264313


FINANCING                                                                         MATTER ID: 31679-0506


PROFESSIONAL FEES RENDERED THROUGH 03/31/23                                        HOURS
03/03/23    MJN                ATTEND LENDER WEEKLY CALL.                             0.50
03/03/23    JG                 CALL WITH HURON AND ROTHSCHILD TEAMS TO                1.20
                               PREPARE FOR LENDER MEETING (.5); PREPARE
                               FOR AND ATTEND LENDER MEETING (.7).
03/10/23    JG                 CALL WITH HURON AND ROTHSCHILD TO                      1.80
                               PREPARE FOR LENDER CALL (.4); CONFERENCE
                               WITH MVA AND FTI RE CHANGES IN CORPORATE
                               GOVERNANCE (.3); CALL WITH LENDERS AND
                               ADVISORS (.6); POST-BOARD MEETING FOLLOW
                               UP WITH MVA AND FTI (.5).
03/10/23    MJN                ATTEND LENDER STATUS UPDATE.                           0.70
03/21/23    JG                 CONFER WITH A. SORKIN RE POTENTIAL LOAN                0.40
                               SALE; REQUEST FOR WAIVERS ETC.
03/24/23    MJN                ATTEND LENDER UPDATE CALL.                             0.50
03/24/23    MJN                REVIEW LENDER PRESENTATION MATERIALS.                  0.20
03/24/23    JG                 CONFERENCE WITH HURON AND ROTHSCHILD                   1.00
                               TEAMS TO PREPARE FOR LENDER MEETING (.6);
                               ATTEND LENDER CONFERENCE CALL (.4).
03/27/23    JG                 REVIEW OF MEMO RE APPLICATION OF                       0.20
                               PROCEEDS OF LITHIA SPRINGS AND CREDIT
                               AGAINST PRE-PETITION INDEBTEDNESS.
03/31/23    JG                 CALL WITH PROFESSIONALS TO PREPARE FOR                 1.10
                               LENDER MEETING (.5); CONFERENCE WITH
                               LENDERS AND ADVISORS RE PENDING ISSUES
                               (.6).


                                                                SUB-TOTAL FEES:       7.60        5,320.00

                                             RATE SUMMARY
            Jordi Guso                         5.70 HOURS            750.00/HR         4,275.00
            Michael J. Niles                   1.90 HOURS            550.00/HR         1,045.00
                                TOTAL           7.60
            Case 22-17842-PDR     Doc 1683-1         Filed 07/21/23   Page 25 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                   PAGE: 24
                                                                           MATTER ID: 31679-0507

                   A Berger singerman
                             201 E. Las Olas Blvd. Suite 1500
                             Fort Lauderdale, Florida 33301
                             f: (954) 525-9900 F (954) 523-2872
                                                 :


                               WWW.BERGERSINGERMAN.COM
                                        LIN# XX-XXXXXXX

VITAL PHARMACEUTICALS, INC., ET AL.
1600 N PARK DRIVE                                                         INVOICE DATE:04/17/23
WESTON, FL 33326                                                             INVOICE NO. 264313


FEE/EMPLOYMENT APPLICATION                                                MATTER ID: 31679-0507


PROFESSIONAL FEES RENDERED THROUGH 03/31/23                                HOURS
03/01/23   KLB          CONTINUED PREPARATION OF FIRST INTERIM                0.70
                        FEE APPLICATION OF BERGER SINGERMAN
03/03/23   KLB          REVIEW AND RESPOND TO EMAILS FROM S.                  0.20
                        PARKHURST WITH THIRD MONTHLY FEE
                        STATEMENTS
03/06/23   JG           REVIEW OF COMMITTEE COMMENTS TO                       0.20
                        QUARLES RETENTION ORDER (.1); MEMO FROM
                        AND TO C. COMBEST RE SAME (.1).
03/07/23   KLB          EMAILS FROM M. DYER OF ROTHSCHILD                     0.20
                        REGARDING PREPARATION OF INTERIM FEE
                        APPLICATIONS AND EMAILS TO AND FROM J.
                        GUSO REGARDING SAME
03/08/23   KLB          EMAILS FROM M. CARLSON OF ROTHSCHILD                  0.70
                        REGARDING FILING OF REDACTED VERSION OF
                        THIRD SUPPLEMENTAL DECLARATION OF H.
                        PARKHILL (.1); EMAILS TO AND FROM J. GUSO
                        REGARDING FILING OF REDACTED VERSION
                        AND SERVICE UPON US TRUSTEE OF
                        UNREDACTED VERSION (.1); FORMAT AND E-
                        FILE THIRD SUPPLEMENTAL DECLARATION AND
                        EMAILS TO AND FROM STRETTO REGARDING
                        SERVICE (.3); PREPARE TRANSMITTAL EMAIL TO
                        S. WILKES WITH UNREDACTED VERSION OF
                        THIRD SUPPLEMENTAL DECLARATION (.1);
                        EMAILS TO ROTHSCHILD TEAM REGARDING
                        FILING OF DECLARATION AND SERVICE OF
                        UNREDACTED VERSION (.1)
03/08/23   KLB          CONTINUED PREPARATION OF FIRST INTERIM                0.80
                        FEE APPLICATION OF BERGER SINGERMAN
03/09/23   KLB          EMAILS TO AND FROM STRETTO REGARDING                  0.20
                        SERVICE OF ORDER AUTHORIZING
                        EMPLOYMENT OF QUARLES & BRADY, AND
                        EMAILS TO C. COMBEST AND A. BEILFUSS
                        REGARDING SAME
03/09/23   KLB          REVIEW AND RESPOND TO EMAILS FROM M.                  0.10
                        DYER REGARDING PREPARATION OF
           Case 22-17842-PDR      Doc 1683-1   Filed 07/21/23   Page 26 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                              PAGE: 25
                                                                      MATTER ID: 31679-0507

                        ROTHSCHILD FIRST INTERIM FEE APPLICATION
03/13/23   KLB         CONTINUED PREPARATION OF NARRATIVE OF            5.60
                        FIRST INTERIM FEE APPLICATION OF BERGER
                        SINGERMAN
03/14/23   KLB         REVIEW AND REVISE FEE STATEMENT FOR              0.60
                        FEBRUARY 2023 FEES AND EXPENSES (.3);
                        PREPARE COVER LETTER TO APPLICATION
                        RECIPIENTS (.2); EMAILS TO AND FROM J. GUSO
                        REGARDING FEE STATEMENT (.1)
03/15/23   KLB         EMAILS TO C. COMBEST REGARDING REQUEST            0.20
                        FOR PRO HAC VICE ADMISSION AND REVIEW
                        EMAILS FROM J GUSO TO C. COMBEST
                        REGARDING SAME AND WITH RESPECT TO
                        FILING OF FIRST INTERIM APPLICATION FOR
                        FEES AND EXPENSES OF SPECIAL COUNSEL
03/15/23   KLB         FINALIZE FEBRUARY 2023 FEE AND EXPENSE            0.40
                        STATEMENT OF BERGER SINGERMAN (.2);
                        FINALIZE LETTER TO APPLICATION RECIPIENTS
                        AND SERVE FEE STATEMENT OF BERGER
                        SINGERMAN (.2)
03/15/23   KLB         CONTINUED PREPARATION OF FIRST INTERIM            2.40
                        FEE APPLICATION OF BERGER SINGERMAN
03/15/23   MJN         CORRESPOND WITH HURON TEAM REGARDING              0.30
                        SANCHEZ FISCHER LEVINE INTERIM FEE
                       APPLICATION
03/16/23   KLB         CONTINUED PREPARATION OF FIRST INTERIM            2.30
                        FEE APPLICATION OF BERGER SINGERMAN AND
                        EXHIBITS TO SAME
03/16/23   MJN         REVIEW SPREADSHEET OF FEES AND COSTS              0.30
                        PROVIDED BY SANCHEZ FISCHER LEVINE (.2);
                        CORRESPOND WITH HURON REGARDING THE
                        SAME (.1).
03/17/23   KLB         REVISE INITIAL DRAFT OF FIRST INTERIM FEE         0.50
                       APPLICATION OF BERGER SINGERMAN AND
                        EMAILS TO J. GUSO AND M. NILES FOR REVIEW
03/17/23   MJN         CORRESPOND WITH TEAM REGARDING                    0.20
                        PROFESSIONAL FEE ESTIMATES AND BUDGETS.
03/17/23   KLB         REVIEW AGREEMENT WITH C STREET                    1.80
                        ADVISORY GROUP (.2); PREPARE APPLICATION
                        FOR APPROVAL OF EMPLOYMENT OF MEDIA
                        CONSULTANT (.9); PREPARE PROPOSED ORDER
                       APPROVING RETENTION OF MEDIA
                        CONSULTANT (.6); EMAILS TO J. GUSO AND M.
                        NILES WITH DRAFT RETENTION PAPERS (.1)
03/19/23   MJN         REVIEW HURON EMPLOYMENT APPLICATION               0.40
                        AND RETENTION ORDERS (.2); CORRESPOND
                        WITH HURON REGARDING FEE APPLICATIONS
                        (■2)

03/20/23   KLB         EMAILS TO AND FROM S. PARKHURST                   0.20
                        REGARDING INFORMATION NEEDED FOR FIRST
                        INTERIM FEE APPLICATIONS




                                                                                      25
           Case 22-17842-PDR      Doc 1683-1   Filed 07/21/23    Page 27 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                              PAGE: 26
                                                                      MATTER ID: 31679-0507

03/20/23   KLB          REVIEWAND RESPOND TO EMAIL FROM                  0.20
                        COUNSEL TO GRANT THORNTON REGARDING
                        QUESTIONS ON FIRST INTERIM FEE
                        APPLICATION
03/20/23   KLB         TELEPHONE CALL FROM J. WEICHSELBAUM               0.10
                        REGARDING QUESTIONS RELATING TO
                        PREPARATION OF FIRST INTERIM FEE
                        APPLICATION
03/20/23   KLB         REVIEW GRANT THORNTON FIRST INTERIM FEE           0.40
                       APPLICATION (.3); EMAILS TO ROTHSCHILD
                        REGARDING AMOUNT OF ESTATE FUNDS FOR
                        INCLUSION IN FIRST INTERIM FEE APPLICATION
                        (.1)
03/20/23   MJN         CORRESPOND WITH GRANT THORNTON                    0.30
                        REGARDING FEE APPLICATIONS.
03/20/23   MJN         CORRESPOND WITH J. WEICHSELBAUM                   0.30
                        REGARDING FEE APPLICATIONS.
03/21/23   KLB         REVIEW AND RESPOND TO EMAILS FROM J.              0.20
                        WEICHSELBAUM REGARDING QUESTIONS ON
                        LATHAM & WATKINS' FIRST INTERIM FEE
                       APPLICATION
03/21/23   KLB         EMAILS REGARDING ROTHSCHILD FIRST                 0.20
                        INTERIM FEE APPLICATION AND REVIEW SAME
03/21/23   KLB         UPDATE FEE AND EXPENSE CHART REGARDING            0.40
                        MONTHLY FEE AND EXPENSE STATEMENTS
                        SUBMITTED AND INTERIM FEE APPLICATIONS
                        FILED
03/21/23   KLB         REVIEW EMAILS FROM COUNSEL TO GRANT               0.40
                        THORNTON REGARDING FILING OF GRANT
                        THORNTON'S FIRST INTERIM FEE APPLICATION
                        (.1); FORMAT AND E-FILE GRANT THORNTON'S
                        FIRST INTERIM FEE APPLICATION, AND EMAILS
                        TO STRETTO REGARDING SERVICE (.3)
03/21/23   KLB          DISCUSSIONS WITH J.GUSO REGARDING                1.10
                        BUDGETED FEES AND ACTUAL FEES AND
                        REVISE EXHIBIT TO FIRST INTERIM FEE
                        APPLICATION (.7); FURTHER UPDATE FEE
                        APPLICATION TO REFLECT STAFFING PLAN AND
                        BUDGETED FEE AMOUNTS (.4)
03/21/23   KLB          REVIEW EMAILS REGARDING COMMENTS TO              0.20
                        QUARLES & BRADY FIRST INTERIM FEE
                        APPLICATION, AND FIRST INTERIM FEE
                        APPLICATION OF ROTHSCHILD & CO
03/21/23   KLB          REVISE AND FINALIZE FIRST INTERIM FEE            0.50
                        APPLICATION OF BERGER SINGERMAN (.2);
                        COMPILE EXHIBITS AND FORMAT AND E-FILE
                        APPLICATION (.2); EMAILS TO AND FROM
                        STRETTO REGARDING SERVICE (.1)
03/21/23   KLB          REVISE AND FINALIZE QUARLES & BRADY'S            0.60
                        FIRST INTERIM FEE APPLICATION AND
                        TELEPHONE CALL TO C. COMBEST (.2); COMPILE
                        EXHIBITS TO APPLICATION AND FORMAT AND E-




                                                                                      26
           Case 22-17842-PDR            Doc 1683-1   Filed 07/21/23   Page 28 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                    PAGE: 27
                                                                            MATTER ID: 31679-0507

                              FILE APPLICATION (.3); EMAILS TO AND FROM
                              STRETTO REGARDING SERVICE AND EMAIL TO
                              C. COMBEST AND A. BEILFUSS WITH FILED
                              APPLICATION (.1)
03/21/23   KLB            REVIEW AND FORMAT FIRST INTERIM FEE                 0.30
                           APPLICATION OF ROTHSCHILD & CO AND E-FILE
                           SAME (.2); EMAILS TO STRETTO REGARDING
                           SERVICE AND EMAIL TO ROTHSCHILD COUNSEL
                           WITH FILED APPLICATION (.1)
03/21/23   JG             REVIEW AND ATTEND TO FINALIZING FIRST                2.80
                           INTERIM FEE APPLICATION (1.5); REVIEW OF
                           ROTHSCHILD FIRST INTERIM FEE APPLICATION;
                           MEMO TO J. KANG RE SAME (.9); REVIEW OF
                           LATHAM FIRST INTERIM FEE APPLICATION (.4).
03/22/23   KLB            REVIEW DOCKET AND GATHER HEARING                     0.20
                           NOTICES ON ALL FIRST INTERIM FEE
                           APPLICATIONS, AND EMAILS TO AND FROM
                           STRETTO REGARDING SERVICE
03/22/23   KLB            EMAILS FROM AND TO C. COMBEST REGARDING              0.10
                           SERVICE OF HEARING NOTICE ON FEE
                           APPLICATION OF QUARLES & BRADY , AND
                           EMAILS TO STRETTO REGARDING SAME
03/23/23   KLB            UPDATE FEE AND EXPENSE CHART BASED                   0.30
                           UPON ADDITIONAL FIRST INTERIM FEE
                           APPLICATIONS FILED AND MONTHLY FEE AND
                           EXPENSE STATEMENTS SUBMITTED
03/30/23   KLB            PREPARE ORDER APPROVING BERGER                       0.60
                           SINGERMAN'S FIRST INTERIM APPLICATION FOR
                           FEES AND EXPENSES, FOR UPCOMING FEE
                           HEARING
03/30/23   KLB            PREPARE PROPOSED ORDER AWARDING FIRST                0.60
                           INTERIM FEES AND EXPENSES OF ROTHSCHILD
                           &CO
03/31/23   MJN            CORRESPOND WITH M. MARGULIES REGARDING               0.30
                           GRANT THORNTON RETENTION.
03/31/23   KLB            EMAILS FROM S. PARKHURST REGARDING                   0.30
                           MONTHLY FEE STATEMENTS OF ESTATE
                           PROFESSIONALS (.1); GATHER FEE
                           STATEMENTS AND EMAILS TO HURON TEAM (.2)


                                                          SUB-TOTAL FEES:     28.70        10,367.00

                                        RATE SUMMARY
           Kerry L. Burns                 23.60   HOURS       295.00/HR         6,962.00
           Jordi Guso                      3.00   HOURS       750.00/HR         2,250.00
           Michael J. Niles                2.10   HOURS       550.00/HR         1,155.00
                               TOTAL      28.70




                                                                                               27
           Case 22-17842-PDR             Doc 1683-1       Filed 07/21/23   Page 29 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                        PAGE: 28
                                                                                MATTER ID: 31679-0509

                      A Berger singerman
                                  201 E. Las Olas Blvd. Suite 1500
                                  Fort Lauderdale, Florida 33301
                                  f: (954) 525-9900 F (954) 523-2872
                                                      :


                                       WWW.BERGERSINGERMAN.COM
                                           LIN# XX-XXXXXXX

VITAL PHARMACEUTICALS, INC., ET AL.
1600 N PARK DRIVE                                                              INVOICE DATE:04/17/23
WESTON, FL 33326                                                                  INVOICE NO. 264313


CLAIMS ADMINISTRATION AND OBJECTION                                            MATTER ID: 31679-0509


PROFESSIONAL FEES RENDERED THROUGH 03/31/23                                     HOURS
03/03/23   MJN                CORRESPOND WITH R. EMANUEL REGARDING                 0.50
                              U.S. BANK'S CLAIM.
03/06/23   MJN                CORRESPOND WITH COMPANY REGARDING                    0.50
                              CERTAIN PROOFS OF CLAIM
03/17/23   MJN                CORRESPOND WITH LATHAM & WATKINS TEAM                0.40
                              REGARDING MOTION TO FILE. LATE CLAIM (.2);
                              REVIEW MOTION (.2)
03/20/23   MJN                CORRESPOND WITH G. METZGER REGARDING                 0.40
                              CERTAIN PROOFS OF CLAIM


                                                             SUB-TOTAL FEES:       1.80        990.00

                                         RATE SUMMARY
           Michael J. Niles                 1.80   HOURS          550.00/HR           990.00
                               TOTAL        1.80
           Case 22-17842-PDR        Doc 1683-1       Filed 07/21/23   Page 30 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                   PAGE: 29
                                                                           MATTER ID: 31679-0512

                   A Berger singerman
                               201 E. Las Olas Blvd. Suite 1500
                               Fort Lauderdale, Florida 33301
                               f: (954) 525-9900 F (954) 523-2872
                                                 :


                                 WWW.BERGERSINGERMAN.COM
                                        LIN# XX-XXXXXXX

VITAL PHARMACEUTICALS, INC., ET AL.
1600 N PARK DRIVE                                                         INVOICE DATE:04/17/23
WESTON, FL 33326                                                             INVOICE NO. 264313


EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                  MATTER ID: 31679-0512


PROFESSIONAL FEES RENDERED THROUGH 03/31/23                                HOURS
03/01/23   JG           MEMOS TO AND FROM G. BUKOVI RE                        0.20
                        REJECTION OF INTRASTATE DISTRIBUTION
                        AGREEMENT.
03/02/23   JG           CONFERENCE WITH S. PARKHURST RE FIESTA                0.40
                        REJECTION; CHEP PALLET SURRENDER ISSUES.
03/02/23   MJN          CONFERENCE CALL WITH S. PARKHURST                    0.60
                        REGARDING KRIER FOODS AND OTHER
                        OUTSTANDING ISSUES.
03/02/23   MJN          REVIEW INTRASTATE DISTRIBUTING CONTRACT              0.60
                        AND RELATED CORRESPONDENCE (.3); REVIEW
                        AND REVISE MOTION TO REJECT AGREEMENT
                        (■3)
03/02/23   MJN          CORRESPOND WITH G. METZGER AND TEAM                   0.20
                        REGARDING MOTION TO REJECT INTRASTATE
                        AGREEMENT.
03/02/23   MJN          CORRESPOND WITH S. PARKHURST REGARDING                0.40
                        FIESTA WAREHOUSE REJECTION.
03/02/23   KLB          REVIEW INTRASTATE DISTRIBUTOR                         0.90
                        AGREEMENT (.2); PREPARE FOURTH MOTION TO
                        REJECT AGREEMENT WITH INTRASTATE
                        DISTRIBUTOR (.6); EMAILS TO AND FROM M.
                        NILES (.1)
03/03/23   MJN          CORRESPOND WITH A. ROSENBERG                          0.40
                        REGARDING LEASE PLAN USA
03/03/23   MJN          CORRESPOND WITH J. REITER REGARDING                   0.50
                        REJECTION OF INTRASTATE DISTRIBUTION
                        AGREEMENT (.3); REVISE MOTION TO
                        REJECTION (.2)
03/03/23   KLB          REVIEW EMAIL REGARDING COMMENTS TO                    0.30
                        FOURTH MOTION TO REJECT INTRASTATE
                        AGREEMENT (.1); REVISE MOTION TO REJECT
                        AND TELEPHONE CONFERENCE WITH M. NILES
                        REGARDING SAME (.2)
03/03/23   KLB          PREPARE ORDER GRANTING FOURTH MOTION                  0.60
           Case 22-17842-PDR      Doc 1683-1   Filed 07/21/23   Page 31 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                             PAGE: 30
                                                                     MATTER ID: 31679-0512

                        TO REJECT CONTRACT WITH INTRASTATE
                        DISTRIBUTING
03/03/23   KLB          REVISE AND FINALIZE FOURTH MOTION TO            0.40
                        REJECT AGREEMENT (.2); FORMAT AND E-FILE
                        MOTION AND EMAILS TO STRETTO REGARDING
                        SERVICE (.2)
03/06/23   MJN          CORRESPOND WITH COUNSEL FOR CABOT               0.40
                        PROPERTIES REGARDING LEASE AMENDMENT.
03/06/23   MJN          CORRESPOND WITH HURON TEAM REGARDING            0.20
                        CABOT PROPERTIES LEASE.
03/07/23   MJN          CORRESPOND WITH HURON TEAM REGARDING            0.40
                        FIESTA WAREHOUSE REJECTION.
03/08/23   KLB          EMAILS TO AND FROM STRETTO REGARDING            0.10
                        SERVICE OF NOTICE OF HEARING ON THIRD
                        OMNIBUS MOTION TO REJECT EXECUTORY
                        CONTRACTS
03/08/23   MJN          CORRESPOND WITH HURON AND DEBTOR                0.60
                        TEAMS REGARDING OUTSTANDING REAL
                        PROPERTY LEASES.
03/09/23   MJN          CORRESPOND WITH HURON TEAM REGARDING            0.30
                        SHERIDAN LEASE.
03/10/23   KLB          PREPARE MOTION TO REJECT ADDITIONAL             0.60
                        EXECUTORY CONTRACT WITH FIESTA (TAYMAN
                        ST. LOCATION)
03/10/23   KLB          DISSCUSSIONS WITH M. NILES REGARDING            0.10
                        UPCOMING HEARING ON MARCH 16, 2023 ON
                        THIRD OMNIBUS MOTION TO REJECT
                        EXECUTORY CONTRACTS AND ATTENDANCE AT
                        SAME
03/13/23   MJN          CORRESPOND WITH HURON TEAM REGARDING            0.30
                        SHERIDAN LEASE.
03/13/23   MJN          CORRESPOND WITH HURON TEAM REGARDING            0.40
                        FIESTA WAREHOUSE
03/14/23   PA           PREPARATION FOR HEARING ON OMNIBUS              0.40
                        MOTION TO REJECT EXECUTORY CONTRACTS
03/14/23   MJN          CORRESPOND WITH S. SOLOMON REGARDING            0.30
                        FIESTA LEASE REJECTION.
03/14/23   MJN          REVIEW INVOICES PROVIDED BY COUNSEL FOR         0.70
                        SEKO (.3); CORRESPOND WITH HURON TEAM
                        REGARDING THE INVOICES AND CURE
                        AMOUNTS (.4)
03/15/23   KLB          GATHER PLEADINGS AND PREPARE E-BINDER           0.80
                        FOR HEARING ON THIRD OMNIBUS MOTION TO
                        REJECT CONTRACTS AND LEASES (.7); EMAILS
                        TO AND FROM P. AVRON REGARDING HEARING
                        MATERIALS (.1)
03/15/23   MJN          CORRESPOND WITH HURON TEAM REGARDING            0.20
                        OPEN POST-PETITION INVOICES FOR FIESTA
                        WAREHOUSE.
03/15/23   MJN          CORRESPOND WITH COUNSEL FOR KRIER               0.50




                                                                                     30
           Case 22-17842-PDR      Doc 1683-1   Filed 07/21/23   Page 32 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                              PAGE: 31
                                                                      MATTER ID: 31679-0512

                        FOODS (.3); FOLLOW UP WITH HURON
                        REGARDING THE SAME (.2).
03/15/23   MJN          CORRESPOND WITH J. SPENCER REGARDING             0.50
                        DOGWOOD PROPCO LEASE (.3); FOLLOW UP
                        WITH HURON TEAM REGARDING THE SAME (.2)
03/15/23   MJN          CORRESPOND WITH S. SOLOMON REGARDING             0.20
                        FIESTA WAREHOUSE REJECTION.
03/16/23   PA           PREPARE FOR HEARING ON REJECTION MOTION          1.50
                        INCLUDING RESEARCH ON EFFECTIVE DATE
                        CASES CITED BY FIESTA IN LIMITED OBJECTION
                        (.90) ATTEND HEARING (.40) PREPARE POST­
                        HEARING STATUS MEMOS TO M. NILES AND J.
                        GUSO (.20)
03/16/23   KLB          REVISE AND FINALIZE ORDER GRANTING THIRD         0.30
                        MOTION TO REJECT EXECUTORY CONTRACTS
                        AND UNEXPIRED LEASES (.2); FORMAT AND
                        SUBMIT SAME (.1)
03/16/23   MJN          CORRESPOND WITH S. SOLOMON REGARDING             1.10
                        OBJECTION TO THIRD MOTION TO REJECT
                        FIESTA CONTRACT (.5); REVISE PROPOSED
                        ORDER (.2); CORRESPOND WITH S. SOLOMON
                        AND HURON TEAM REGARDING ADDITIONAL
                        REJECTION/ABANDONMENT MOTION (.4)
03/16/23   MJN          CORRESPOND WITH HURON TEAM REGARDING             0.20
                        OUTSTANDING AMOUNTS OWED ON FIESTA
                        WAREHOUSE CONTRACT AND OPEN INVOICES.
03/16/23   MJN          CORRESPOND WITH HURON TEAM REGARDING             0.20
                        KRIER FOODS ISSUE.
03/17/23   MJN          CORRESPOND WITH J. SCHWARTZ REGARDING           0.30
                        ASSEMBLERS (.2); REVIEW CORRESPONDENCE
                        REGARDING THE SAME (.1)
03/19/23   MJN          CORRESPOND WITH HURON REGARDING                 0.20
                        ASSEMBLERS CONTRACT.
03/19/23   MJN          FOLLOW UP WITH HURON TEAM REGARDING              0.20
                        LEASE PLAN USA
03/20/23   KLB          REVISE FIFTH OMNIBUS MOTION TO REJECT (.3);      0.80
                        PREPARE PROPOSED ORDER APPROVING
                        REJECTION (.5)
03/20/23   MJN          CONFERENCE CALL WITH J.SCHWARTZ                  0.60
                        REGARDING ASSEMBLERS CONTRACT (.4);
                        REVIEW CONTRACT AND CORRESPOND WITH
                        S.PARKHURST REGARDING THE SAME (.2).
03/20/23   MJN          REVISE MOTION AND NOTICE REGARDING               0.40
                        FIESTA AND KRIER FOODS REJECTIONS.
03/20/23   MJN          CORRESPOND WITH DEBTORS REGARDING                0.60
                        INTRASTATE DISTRIBUTORS AGREEMENT (.2);
                        CORRESPOND WITH C. ELLER REGARDING
                        MOTION TO REJECT AGREEMENT (.4)
03/20/23   MJN          CORRESPOND WITH J. SPENCER REGARDING             0.30
                        DOGWOOD PROPCO LEASE.




                                                                                      31
           Case 22-17842-PDR      Doc 1683-1    Filed 07/21/23   Page 33 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                               PAGE: 32
                                                                       MATTER ID: 31679-0512

03/21/23   MJN          CORRESPOND WITH S. PARKHURST REGARDING            0.20
                        FIESTA AND KRIER CONTRACTS AND
                        REJECTION.
03/21/23   MJN          CORRESPOND WITH S. PARKHURST REGARDING            0.20
                        POST-PETITION INVOICES OF ASSEMBLERS.
03/22/23   KLB          TELEPHONE CONFERENCE WITH M. NILES                0.30
                        REGARDING MOTION TO REJECT AND REVISE
                        MOTION
03/22/23   MJN          CORRESPOND WITH S. SOLOMON REGARDING              0.30
                        CURE NOTICE AND MOTION TO REJECT
                        CONTRACT.
03/22/23   MJN          CORRESPOND WITH HURON TEAM REGARDING              0.70
                        CERTAIN VEHICLES (.2); PREPARE MOTION TO
                        REJECT VEHICLE LEASES (.5).
03/22/23   MJN          CORRESPOND WITH G. ROBBINS REGARDING              0.30
                        REJECTION OF ALUMINUM CONTRACTS.
03/22/23   MJN          REVIEW CORRESPONDENCE REGARDING DAIRY            0.80
                        FARMERS OF AMERICA (.2); REVIEW PROOF OF
                        CLAIM AND PENDING LITIGATION (.3);
                        CORRESPOND WITH TEAM REGARDING
                        REMAINING INVENTORY (.3)
03/22/23   MJN          CORRESPOND WITH B. THEISEN REGARDING              0.60
                        EFL CONTRACT (.2); REVIEW EFL CONTRACT (.2);
                        CORRESPOND WITH N.MARINO REGARDING
                        CONTRACT (.2)
03/22/23   MJN          CORRESPOND WITH C. ELLER REGARDING               0.20
                        INTRASTATE DISTRIBUTORS AND REJECTION OF
                        CONTRACT
03/22/23   MJN          REVIEW LEASE AGREEMENT AND AMENDMENT              1.00
                        (.3); CONDUCT RESEARCH AND CORRESPOND
                        WITH A. GUPTA REGARDING THE SAME (.7).
03/23/23   MJN          CORRESPOND WITH J. SCHWARTZ REGARDING             0.20
                        ASSEMBLERS CONTRACT.
03/23/23   MJN          CORRESPOND WITH S. PARKHURST REGARDING            0.30
                        REJECTION OF FIESTA AND KRIER CONTRACTS.
03/23/23   MJN          REVIEW AND REVISE RELEASE/AMENDMENT               0.60
                        WITH VS CARBONICS(.4). CORRESPOND WITH J.
                        PAUL REGARDING THE SAME (.2).
03/23/23   MJN          CORRESPOND WITH A. ROSENBERG                      0.20
                        REGARDING LEASE PLAN USA AGREEMENT.
03/23/23   MJN          CORRESPOND WITH C. ELLER REGARDING                0.30
                        INTRASTATE DISTRIBUTORS AND REJECTION OF
                        CONTRACT.
03/23/23   MJN          CONFERENCE CALL WITH J. SCHWARTZ TO               0.40
                        DISCUSS ASSEMBLERS CONTRACT.
03/24/23   MJN          RESEARCH REGARDING LEASE AGREEMENTS               1.00
                        AND EXTENSIONS IN BANKRUPTCY
03/24/23   MJN          FINALIZE AND FILE MOTION TO REJECT (.5) AND       0.60
                        NOTICE OF ABANDONMENT (.2).




                                                                                       32
           Case 22-17842-PDR      Doc 1683-1    Filed 07/21/23   Page 34 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                              PAGE: 33
                                                                      MATTER ID: 31679-0512

03/24/23   MJN          CORRESPOND WITH S. SOLOMON REGARDING             0.30
                        FIESTA REJECTION AND UNPAID INVOICES (.2).
                        FOLLOW UP WITH HURON REGARDING THE
                        SAME (.1)
03/24/23   MJN          CORRESPOND WITH J. SCHWARTZ AND                  0.40
                        S.PARKHURST REGARDING ASSEMBLERS
                        AGREEMENT.
03/25/23   MJN          CORRESPOND WITH A. GUPTA REGARDING               0.60
                        ESCALADE LEASES(.2); RESEARCH REGARDING
                        THE SAME (.4)
03/26/23   MJN          CORRESPOND WITH A. GUPTA REGARDING               0.40
                        OWOC CADILLAC AGREEMENTS. REVIEW LEASE
                        AGREEMENTS PROVIDED BY HURON.
03/26/23   MJN          CORRESPOND WITH M.CRABB REGARDIGN                0.40
                        KUCKELMAN TORLINE KIRKLAND CURE NOTICE
                        OBJECTION; FOLLOW UP WITH HURON
                        REGARDING THE SAME.
03/27/23   MJN          REVIEW GM FINANCE AGREEMENT; WORK ON             0.60
                        REJECTION MOTION.
03/27/23   MJN          PREPARE GLOBAL LIST OF CURE NOTICE               0.60
                        OBJECTIONS; CORRESPOND WITH HURON
                        REGARDING THE SAME.
03/27/23   MJN          CORRESPOND WITH B. BUTLER REGARDING              0.30
                        CABOT PROPERTIES CURE AMOUNTS.
03/27/23   MJN          CORRESPOND WITH S. KALB REGARDING SEKO.          0.30
03/28/23   MJN          CORRESPOND WITH TEAM REGARDING                   0.30
                        CADILLAC LEASE AND FINANCE AGREEMENT.
03/28/23   JG           MEMO FROM AND TO J. PARRISH RE                   0.10
                        CALCULATION OF WESTON CURE AMOUNT.
03/29/23   KLB          TELEPHONE CONFERENCE WITH M. NILES               1.10
                        REGARDING HEARING ON MARCH 30, 2023 AND
                        GATHER DOCUMENTS FOR HEARING ON
                        OMNIBUS MOTION TO REJECT LEASES AND
                        OTHER MATTERS SCHEDULED (.6); PREPARE E-
                        BINDER FOR HEARING AND EMAILS TO Z.
                        MORTON AND M. NILES REGARDING SAME (.5)
03/29/23   KLB          REVISE AND FINALIZE SIXTH MOTION TO              0.70
                        REJECT EXECUTORY CONTRACT AND REVISE
                        PROPOSED ORDER APPROVING SAME (.3);
                        FORMAT AND E-FILE MOTION TO REJECT AND
                        GATHER SERVICE ADDRESSES FOR SAME (.3);
                        EMAILS TO AND FROM STRETTO REGARDING
                        SERVICE OF FILED MOTION TO REJECT (.1)
03/29/23   MJN          FINALIZE MOTION TO REJECT 2022 CADILLAC          0.70
                        LEASE (.4); CORRESPOND WITH GM LEASING
                        REGARDING THE SAME (.3)
03/30/23   MJN          CORRESPOND WITH GM FINANCIAL AND HURON           0.30
                        TEAM REGARDING 2022 CADILLAC LEASE.
03/30/23   KLB          REVIEW EMAIL FROM G. METZGER REGARDING           0.30
                        CONTRACT WITH LINKSQUARES AND
                        REJECTION OF SAME (.1); REVIEW DOCKET,




                                                                                      33
           Case 22-17842-PDR            Doc 1683-1   Filed 07/21/23   Page 35 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                   PAGE: 34
                                                                           MATTER ID: 31679-0512

                              GATHER PREVIOUSLY FILED MOTION TO
                              REJECT CONTRACT AND ORDER GRANTING
                              SAME AND EMAILS TO AND FROM G. METZGER
                              REGARDING SAME (.2)
03/30/23   KLB                EMAILS FROM AND TOM. NILES REGARDING            0.20
                              POTENTIAL RESOLUTION OF MOTION TO FILE
                              LATE CLAIM BY J. WILLIAMS AND PREPARATION
                              OF PROPOSED AGREED ORDER REGARDING
                              SAME
03/30/23   KLB                REVISE ORDER GRANTING FOURTH MOTION TO          0.20
                              REJECT EXECUTORY CONTRACTS
03/30/23   KLB                FINALIZE, FORMAT AND SUBMIT PROPOSED            0.20
                              ORDER GRANTING FOURTH MOTION TO REJECT
                              EXECUTORY CONTRACTS


                                                        SUB-TOTAL FEES:      35.40        17,785.50

                                        RATE SUMMARY
           Paul Avron                      1.90 HOURS        650.00/HR         1,235.00
           Kerry L. Burns                  7.90 HOURS        295.00/HR         2,330.50
           Jordi Guso                      0.70 HOURS        750.00/HR           525.00
           Michael J. Niles               24.90 HOURS        550.00/HR        13,695.00
                               TOTAL      35.40




                                                                                              34
           Case 22-17842-PDR        Doc 1683-1       Filed 07/21/23   Page 36 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                   PAGE: 35
                                                                           MATTER ID: 31679-0517

                   A Berger singerman
                               201 E. Las Olas Blvd. Suite 1500
                               Fort Lauderdale, Florida 33301
                               f: (954) 525-9900 F (954) 523-2872
                                                 :


                                 WWW.BERGERSINGERMAN.COM
                                        LIN# XX-XXXXXXX

VITAL PHARMACEUTICALS, INC., ET AL.
1600 N PARK DRIVE                                                         INVOICE DATE:04/17/23
WESTON, FL 33326                                                             INVOICE NO. 264313


SETTLEMENT AND COMPROMISE                                                 MATTER ID: 31679-0517


PROFESSIONAL FEES RENDERED THROUGH 03/31/23                                HOURS
03/01/23   MJN          CORRESPOND WITH S.SOLOMON REGARDING                   0.30
                        CHEP PALLET ISSUE.
03/01/23   KLB          PREPARE DECLARATION OF J. DIDONATO IN                 0.90
                        SUPPORT OF MOTION TO APPROVE
                        SETTLEMENT WITH SIDEL (.8); EMAILS AND
                        DISCUSSIONS WITH M. NILES REGARDING SAME
                        (■1)

03/01/23   KLB          EMAILS REGARDING STATUS OF AGREEMENT                  1.10
                        WITH CROWN CORK & SEAL AND REVISE
                        MOTION TO APPROVE SETTLEMENT (.4); EMAILS
                        WITH M. NILES REGARDING SHORTENING OF
                        TIME FOR HEARING AND PREPARE EX PARTE
                        MOTION TO SHORTEN TIME FOR HEARING ON
                        SETTLEMENT MOTION WITH CROWN CORK &
                        SEAL (.7)
03/01/23   KLB          PREPARE PROPOSED ORDER GRANTING                       0.50
                        MOTION TO SHORTEN TIME FOR HEARING ON
                        MOTION TO APPROVE SETTLEMENT WITH
                        CROWN CORK & SEAL
03/01/23   KLB          REVISE MOTION TO APPROVE SETTLEMENT                   1.50
                        WITH CROWN CORK & SEAL AND FINALIZE SAME
                        (.4); COMPILE EXHIBITS TO MOTION AND REVISE
                        AND FINALIZE PROPOSED ORDER APPROVING
                        SETTLEMENT (.3); FORMAT AND E-FILE MOTION
                        TO APPROVE SETTLEMENT (.2); REVISE AND
                        FINALIZE MOTION TO SHORTEN TIME FOR
                        HEARING ON MOTION TO APPROVE
                        SETTLEMENT WITH CROWN CORK & SEAL (.3);
                        FORMAT AND E-FILE MOTION AND REVISE,
                        FINALIZE, FORMAT AND SUBMIT PROPOSED
                        ORDER SHORTENING TIME (.3)
03/01/23   MJN          REVIEW AND REVISE 9019 SETTLEMENT MOTION              0.70
                        WITH CROWN EQUIPMENT (.5); DISCUSS
                        SCHEDULING OF PAYMENTS TO CROWN (.2).
03/01/23   MJN          REVIEW AND REVISE J. DIDONATO                         0.40
                        DECLARATION REGARDING SIDEL STATEMENT
            Case 22-17842-PDR     Doc 1683-1   Filed 07/21/23   Page 37 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                             PAGE: 36
                                                                     MATTER ID: 31679-0517

03/01/23   MJN          CORRESPOND WITH S. PARKHURST REGARDING          0.40
                        SIDEL 9019 MOTION.
03/01/23   MJN          CORRESPOND WITH J. GUSO AND HURON TEAM          0.30
                        REGARDING CROWN CORK & SEAL
                        SETTLEMENT
03/01/23   JG           CALL WITH OTHER PROFESSIONALS RE MARCH          0.50
                        9 COURT HEARING; SIDEL AND CROWN
                        AGREEMENTS (.5)
03/02/23   JG           CALL WITH G. ECKHOUSE RE NCAA                   0.20
                        SETTLEMENT PROPOSAL; REGISTRATION OF
                        MARKS.
03/03/23   KLB          EMAILS TO AND FROM M. WELDON REGARDING          0.20
                        ENTRY OF ORDER SHORTENING TIME FOR
                        HEARING ON MOTION TO APPROVE
                        SETTLEMENT WITH CROWN CORK & SEAL
03/06/23   KLB          REVISE, FINALIZE, FORMAT AND E-FILE            0.30
                        DECLARATION IN SUPPORT OF MOTION TO
                        APPROVE SETTLEMENT WITH SIDEL (.2); EMAILS
                        TO AND FROM STRETTO REGARDING SERVICE
                        (■1)

03/06/23   KLB          PREPARE INITIAL DRAFT OF DECLARATION OF         0.80
                        JOHN DIDONATO IN SUPPORT OF MOTION TO
                        APPROVE SETTLEMENT WITH CROWN CORK &
                        SEAL
03/06/23   MJN          FINALIZE J. DIDONATO DECLARATION FOR            0.40
                        CROWN SETTLEMENT HEARING.
03/06/23   MJN          CORRESPOND WITH J. DIDONATO REGARDING           0.20
                        CROWN SETTLEMENT.
03/06/23   MJN          CORRESPOND WITH COUNSEL FOR SIDEL               0.30
                        REGARDING SETTLEMENT MOTION.
03/07/23   KLB          REVIEW EMAILS FROM M. NILES AND J.              0.40
                        DIDONATO REGARDING DECLARATION IN
                        SUPPORT OF MOTION TO APPROVE
                        SETTLEMENT WITH CROWN (.1); REVISE,
                        FINALIZE, FORMAT AND E-FILE DECLARATION OF
                        J. DIDONATO (.3)
03/07/23   JG           REVIEW OF COMMENTS TO NCAA SETTLEMENT           0.20
                        AGREEMENT (.1); MEMO TO G. METZGER (.1).
03/07/23   JG           REVIEW AND REVISE DECLARATION OF J.             0.40
                        DIDONATO IN SUPPORT OF CROWN
                        SETTLEMENT AGREEMENT.
03/07/23   MJN          REVIEW DOCUMENTATION PROVIDED BY                0.60
                        COUNSEL FOR EASTGROUP REGARDING
                        DAMAGE TO FACILITY.
03/07/23   MJN          FURTHER DISCUSSION WITH J.DIDONATO              0.50
                        REGARDING CROWN SETTLEMENT (.2); REVISE
                        CROWN SETTLEMENT DECLARATION (.3)
03/08/23   KLB          REVISE AND FINALIZE AMENDED DECLARATION         0.30
                        OF J. DIDONATO IN SUPPORT OF MOTION TO
                        APPROVE SETTLEMENT WITH CROWN, AND
                        FORMAT AND E-FILE SAME (.2); EMAILS TO AND




                                                                                     36
           Case 22-17842-PDR      Doc 1683-1   Filed 07/21/23    Page 38 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                              PAGE: 37
                                                                      MATTER ID: 31679-0517

                        FROM STRETTO REGARDING SERVICE (.1)
03/08/23   KLB         ARRANGE FOR M. NILES TO ATTEND MARCH 9,           1.00
                       2023 HEARING ON SETTLEMENT MOTIONS AND
                        OTHER MATTERS SCHEDULED (.1); GATHER
                        PLEADINGS FOR MARCH 9, 2023 HEARING AND
                        PREPARE E-BINDER FOR M. NILES (.9)
03/08/23   MJN         PREPARE REVISED CROWN DECLARATION.                0.30
03/09/23   JG          PREPARE FOR AND ATTEND MARCH 9 OMNIBUS            2.50
                        HEARINGS.
03/09/23   MJN         ATTEND HEARING ON SIDEL/CROWN                     0.80
                        SETTLEMENT MOTIONS.
03/10/23   KLB         EMAILS REGARDING OUTCOME OF MARCH 9,              0.60
                       2023 HEARING (.1); REVISE PROPOSED ORDER
                        GRANTING MOTION TO APPROVE SETTLEMENT
                       WITH CROWN CORK & SEAL (.2); REVIEW
                        PROPOSED ORDER GRANTING MOTION TO
                       APPROVE SETTLEMENT WITH SIDEL (.2); EMAILS
                       TO AND FROM J. GUSO WITH PROPOSED
                        ORDERS (.1)
03/15/23   KLB         FINALIZE ORDER GRANTING MOTION TO                 0.20
                       APPROVE SETTLEMENT WITH CROWN CORK &
                        SEAL AND FORMAT AND SUBMIT SAME
03/15/23   JG          REVIEW AND FINALIZE ORDER APPROVING               0.30
                       AGREEMENT WITH SIDEL; MEMO TO COUNSEL
                       RE SAME (.3)
03/17/23   MJN         CORRESPOND WITH A. ROSENBERG                      0.30
                       REGARDING LEASE PLAN ISSUE.
03/20/23   KLB         DISCUSSIONS WITH M. NILES AND FINALIZE,           0.20
                       FORMAT AND SUBMIT PROPOSED ORDER
                       APPROVING SETTLEMENT WITH SIDEL
03/21/23   MJN         CORRESPOND WITH G. METZGER REGARDING              0.30
                       SIDEL ORDER.
03/22/23   KLB         PREPARE MOTION TO AMEND ORDER                     1.30
                       APPROVING SETTLEMENT WITH SIDEL (.6);
                        PREPARE PROPOSED ORDER GRANTING
                       MOTION TO AMEND ORDER APPROVING
                       SETTLEMENT WITH SIDEL (.5); PREPARE
                        REDLINE OF PROPOSED AMENDED ORDER TO
                        BE ATTACHED AS EXHIBIT TO MOTION TO
                       AMEND AND EMAILS TO AND FROM J. GUSO (.2)
03/22/23   KLB         FINALIZE AND FORMAT MOTION TO AMEND               0.70
                        SIDEL SETTLEMENT ORDER AND COMPILE
                        EXHIBITS TO SAME (.3); E-FILE MOTION TO
                       AMEND SIDEL SETTLEMENT ORDER AND
                        REVISE, FINALIZE, FORMAT AND SUBMIT
                        PROPOSED ORDER GRANTING SAME (.3);
                        EMAILS TO AND FROM STRETTO REGARDING
                        SERVICE OF FILED MOTION (.1)
03/24/23   MJN         REVIEW AND REVISE AMENDED SIDEL ORDER             0.30
                       (.2); CORRESPOND WITH TEAM REGARDING THE
                       SAME (.1).




                                                                                      37
         Case 22-17842-PDR          Doc 1683-1   Filed 07/21/23   Page 39 of 105
VITAL PHARMACEUTICALS, INC., ET AL.                                                 PAGE: 38
                                                                       MATTER ID: 31679-0517


                                                     SUB-TOTAL FEES:     20.20        9,380.00

                                    RATE SUMMARY
         Kerry L, Burns              10.00   HOURS       295.00/HR         2,950.00
         Jordi Guso                   4.10   HOURS       750.00/HR         3,075.00
         Michael J. Niles             6.10   HOURS       550.00/HR         3,355.00
                            TOTAL    20,20




                                                                                         38
            Case 22-17842-PDR     Doc 1683-1         Filed 07/21/23   Page 40 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                   PAGE: 39
                                                                           MATTER ID: 31679-0527

                   A Berger singerman
                             201 E. Las Olas Blvd. Suite 1500
                             Fort Lauderdale, Florida 33301
                             f: (954) 525-9900 F (954) 523-2872
                                                 :


                               WWW.BERGERSINGERMAN.COM
                                        LIN# XX-XXXXXXX

VITAL PHARMACEUTICALS, INC., ET AL.
1600 N PARK DRIVE                                                         INVOICE DATE:04/17/23
WESTON, FL 33326                                                             INVOICE NO. 264313


LITIGATION CONSULTING                                                     MATTER ID: 31679-0527


PROFESSIONAL FEES RENDERED THROUGH 03/31/23                                HOURS
03/01/23   JG           CALL FROM J. KUCERA RE SUBPOENAS SERVED               0.30
                        ON NON-DEBTORS; MOTION TO QUASH.
03/01/23   JG           CALLS (2X) WITH COUNSEL TO NCAA RE MARCH              0.30
                        MADNESS CAMPAIGN AND INJECTION.
03/01/23   KLB          UPDATE E-BINDER FOR MARCH 2, 2023 HEARING             0.40
                        ON MOTION TO QUASH AND FOR PROTECTIVE
                        ORDER WITH RESPECT TO COMMITTEE'S RULE
                        2004 NOTICES AND EMAILS TO S. CAPUANO
03/01/23   SJC          PREPARE FOR HEARING ON MOTION TO QUASH                0.80
                        AND FOR PROTECTIVE ORDER WITH RESPECT
                        TO COMMITTEE’S RULE 2004 NOTICES, AND
                        COMMUNICATIONS WITH COUNSEL FOR
                        SUBPOENA TARGETS, TEAM, AND CO-COUNSEL
                        REGARDING SAME
03/02/23   JG           CONFER WITH S. CAPUANO RE EVIDENTIARY                 0.30
                        PRESENTATION AT MARCH 2 HEARING ON
                        MOTION TO QUASH.
03/02/23   SJC          PREPARE FOR AND ATTEND EVIDENTIARY                    6.00
                        HEARING ON MOTION TO QUASH COMMITTEE
                        SUBPOENAS AND FOR PROTECTIVE ORDER
                        (3.0);, LEGAL RESEARCH IN CONNECTION WITH
                        SAME (1.0); VARIOUS TELEPHONE CALLS,
                        EMAILS, AND MEETINGS WITH COUNSEL FOR
                        COMMITTEE (.8), COUNSEL FOR SUBPOENA
                        TARGETS (.3), COUNSEL FOR CREDITOR, TEAM
                        (.1), AND CO-COUNSEL (. 8)
03/02/23   KLB          TELEPHONE CONFERENCE WITH S. CAPUANO                  0.60
                        REGARDING HEARING ON MOTION TO QUASH
                        AND FOR PROTECTIVE ORDER (.2); TELEPHONE
                        CONFERENCE WITH M. NILES REGARDING SAME
                        AND GATHER LOCAL RULE REGARDING
                        EXCHANGE OF EXHIBITS (.2); EMAILS TO AND
                        FROM S. CAPUANO REGARDING HEARING AND
                        ARRANGE FOR M. NILES TO ATTEND HEARING
                        REMOTELY (.2)
           Case 22-17842-PDR      Doc 1683-1   Filed 07/21/23   Page 41 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                             PAGE: 40
                                                                     MATTER ID: 31679-0527

03/02/23   KLB          DISCUSSIONS WITH S. CAPUANO REGARDING           0.80
                        PREPARATION OF EXHIBIT REGISTER (.1);
                        PREPARE COVER PAGE FOR EXHIBIT REGISTER
                        FOR HEARING ON MOTION TO QUASH (.5);
                        TELEPHONE CALLS TO AND FROM S. CAPUANO
                        AND EMAILS REGARDING SAME REGARDING
                        TIMING OF RECEIPT OF EXHIBITS, PREPARATION
                        OF HARD COPIES FOR HEARING, ETC. (.2)
03/02/23   KLB         MULTIPLE EMAILS REGARDING BINDER                 0.30
                       PREPARATION FOR MARCH 2, 2023. HEARING ON
                       MOTION TO QUASH AND CONFERENCES WITH S.
                       CAPUANO REGARDING SAME.
03/03/23   JG          MEMOS TO AND FROM G. METZGER AND D.              0.20
                       GEYSER RE PROSECUTION OF OBI APPEAL;
                       TERMINATING STAY AT CIRCUIT COURT.
03/06/23   JG          ATTEND TO FINALIZING MEMO RE: USURPATION         3.00
                       OF CORPORATE OPPORTUNITY AND ANALYSIS
                       OF CLAIMS FOR VIOLATION OF EMPLOYEE
                       MANUAL; REVIEW OF CASES RE SAME.
03/08/23   JG          MEMO FROM AND TO H. MURTAGH RE JOINT             0.20
                       MOTION TO STAY ADVERSARY PROCEEDING;
                       SCHEDULING ORDER AND STATUS.
03/08/23   MJN         PREPARE UPDATED STATUS REPORT FOR                0.40
                       APPELLATE MATTERS.
03/09/23   KLB         EMAILS REGARDING PREPARATION OF                  0.30
                       COMPLAINT FOR TURNOVER AND GATHER
                       INFORMATION FOR P. AVRON
03/09/23   KLB         REVISE COMPLAINT FOR TURNOVER AND                0.60
                       ACCOUNTING (.4); EMAILS TO AND FROM P.
                       AVRON REGARDING SAME (.2)
03/09/23   KLB         REVIEW DOCKET OF ADVERSARY PROCEEDING            0.70
                       COMMENCED BY VITAL PHARMACEUTICALS
                       AGAINST A. MACHADO (.1); PREPARE
                       PROPOSED ORDER DISMISSING ADVERSARY
                       PROCEEDING WITH PREJUDICE (.5); EMAILS TO
                       J. GUSO (.1)
03/09/23   PA          RESEARCH AND DRAFT FORM ADVERSARY                3.90
                       COMPLAINT FOR TURNOVER, USURPATION OF
                       CORPORATE OPPORTUNITY AND OTHER RELIEF
                       RE TRADEMARKS (3.6); EMAILS TO AND FROM
                       AND DISCUSSIONS WITH JORDI GUSO (.3)
03/09/23   JG          CONFER WITH P. AVRON RE TURNOVER                 0.30
                       COMPLAINT.
03/10/23   MJN         PREPARE STATUS UPDATE FOR ADDITIONAL             0.20
                       APPELLATE CASE.
03/10/23   KLB         FINALIZE, FORMAT AND SUBMIT ORDER                0.30
                        DISMISSING ADVERSARY PROCEEDING FILED
                        BY A. MACHADO
03/11/23   JG          CONFER WITH H. MURTAUGH RE POTENTIAL             0.30
                       TEMPORARY RESTRAINING ORDER TO COMPEL
                       SURRENDER OF SOCIAL MEDIA HANDLE;




                                                                                     40
            Case 22-17842-PDR     Doc 1683-1   Filed 07/21/23   Page 42 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                              PAGE: 41
                                                                      MATTER ID: 31679-0527

                        EMERGENCY MOTION.
03/13/23   MJN          REVIEW TURNOVER COMPLAINT AND MOTION             0.50
                        (.3); CORRESPOND WITH LATHAM & WATKINS
                        TEAM REGARDING THE SAME (.2).
03/13/23   JG           REVIEW AND REVISE COMPLAINT, MOTION FOR          0.90
                        TEMPORARY RESTRAINING ORDER AND
                        SUPPORTING DECLARATION (.6); MEMO TO W.
                        MORLEY RE SAME (.3).
03/14/23   KLB          REVIEW EMAILS FROM W. MORLEY AND E.              0.90
                        MORRIS REGARDING FILING OF ADVERSARY
                        COMPLAINT (.1); REVISE COMPLAINT FOR
                        DECLARATORY RELIEF AND FOR TURNOVER OF
                        ESTATE PROPERTY (.2); FINALIZE. FORMAT AND
                        E-FILE COMPLAINT (.6)
03/14/23   KLB          REVISE EMERGENCY MOTION FOR TEMPORARY            0.50
                        RESTRAINING ORDER AND FINALIZE SAME (.2);
                        FORMAT AND E-FILE MOTION (.2); EMAILS TO
                        COURTROOM DEPUTY TO ADVISE OF FILING OF
                        EMERGENCY MOTION (.1)
03/14/23   KLB          REVISE AND FINALIZE DECLARATION OF J.            1.00
                        DIDONATO IN SUPPORT OF EMERGENCY
                        MOTION FOR TEMPORARY RESTRAINING ORDER
                        (.2); ORGANIZE EXHIBITS TO DECLARATION AND
                        FORMAT SAME FOR FILING (.5); E-FILE
                        DECLARATION OF J. DIDONATO AND EXHIBITS
                        (■3)
03/14/23   KLB          REVIEW SUMMONS AND ORDER SETTING                 0.90
                        SCHEDULING CONFERENCE IN DECLARATORY
                        JUDGMENT ACTION FILED AGAINST J. AND M.
                        OWOC (.1); GATHER DOCUMENTS FOR SERVICE
                        AND PREPARE FOR SERVICE UPON J. OWOC
                        AND M. OWOC (.4); PREPARE, FINALIZE, FORMAT
                        AND E-FILE CERTIFICATE OF SERVICE (.4)
03/14/23   KLB          MULTIPLE EMAILS TO AND FROM PROCESS              0.30
                        SERVER AND J. GUSO REGARDING PERSONAL
                        SERVICE UPON J. AND M. OWOC OF
                        EMERGENCY MOTION FOR TEMPORARY
                        RESTRAINING ORDER AND NOTICE OF
                        EVIDENTIARY HEARING (.2); REVIEW EMAILS TO
                        AND FROM COUNSEL TO J. OWOC REGARDING
                        SAME (.1)
03/14/23   JG           MEMOS TO AND FROM J. LUNA RE COMPLAINT           0.70
                        FOR DECLARATORY RELIEF; TRO ETC. (.3);
                        MEMOS TO AND FROM LATHAM TEAM RE
                        EMERGENCY HEARING; SERVICE ETC. (.2);
                        MEMOS FROM AND TO COUNSEL TO MONSTER
                        RE THEIR REQUEST FOR MODIFICATION TO
                        BRIEFING; FOLLOW UP WITH LATHAM &
                        WATKINS TEAM (.2).



03/15/23   KLB          MULTIPLE EMAILS FROM AND TO PROCESS              0.20




                                                                                      41
           Case 22-17842-PDR       Doc 1683-1   Filed 07/21/23    Page 43 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                               PAGE: 42
                                                                       MATTER ID: 31679-0527

                        SERVER REGARDING SERVICE ATTEMPTS ON J.
                        AND M. OWOC OF EMERGENCY MOTION FOR
                        TEMPORARY RESTRAINING ORDER (.2);
03/15/23   MJN          RESEARCH REGARDING PENDING LITIGATION IN          0.30
                        LIGHT OF REMOVAL DEADLINE (.2);
                        CORRESPOND WITH LATHAM & WATKINS TEAM
                        REGARDING THE SAME (.1)
03/15/23   JG           REVIEW AND CALL TO DISCUSS J. LUNA’S              2.20
                        PROPOSAL TO RESOLVE TEMPORARY
                        RESTRAINING ORDER (.5); CALL WITH
                        MONSTER’S COUNSEL RE OBJECTION TO
                        SUBPOENA AND STIPULATION; MEMO TO AND
                        FROM A. QUARTAROLO RE SAME (.3); CONFER
                        WITH TEAM RE MOTION TO STAY AND COURT
                        HEARING (.5).
03/16/23   KLB          EMAILS FROM E. MORRIS REGARDING                   1.00
                        STIPULATION REGARDING TEMPORARY
                        RESTRAINING ORDER (.1); REVISE STIPULATION
                        AND FINALIZE SAME (.3); FORMAT AND E-FILE
                        STIPULATION REGARDING TEMPORARY
                        RESTRAINING ORDER (.2); REVISE AND FINALIZE
                        PROPOSED ORDER APPROVING STIPULATION
                        AND COMPILE EXHIBIT (.2); FORMAT AND
                        SUBMIT PROPOSED ORDER (.1); EMAILS TO
                        COURTROOM DEPUTY REGARDING FILING OF
                        STIPULATION AND SUBMISSION OF ORDER THAT
                        RESOLVES EVIDENTIARY HEARING (.1)
03/16/23   KLB          REVISE AND FINALIZE SECOND STIPULATION            0.70
                        REGARDING WARNER ADVERSARY
                        PROCEEDING (.2); FORMAT AND E-FILE
                        STIPULATION (.2); REVISE AND FINALIZE
                        PROPOSED ORDER APPROVING STIPULATION,
                        COMPILE EXHIBIT AND FORMAT AND SUBMIT
                        SAME (.3)
03/17/23   MJN          REVIEW AND REVISE RESPONSE TO                     0.70
                        MONSTER/OBI STAY RELIEF (.5); REVIEW EDITS
                        MADE BY UNSECURED CREDITOR TO
                        RESPONSE (.2).
03/17/23   KLB          EMAILS TO AND FROM J. WEICHSELBAUM OF             0.70
                        LATHAM & WATKINS REGARDING STATUS OF
                        OPPOSITION TO MOTION TO STAY FILED BY
                        ORANGE BANG, INC. AND MONSTER ENERGY
                        COMPANY (.2); REVISE AND FINALIZE
                        OPPOSITION AND FORMAT AND E-FILE SAME
                        (.4); EMAIL FROM AND TO J. WEICHSELBAUM
                        REGARDING SERVICE (.1)
03/17/23   MJN          CORRESPOND WITH LATHAM WATKINS TEAM               0.30
                        REGARDING J. WILLIAMS MOTION TO FILE LATE
                        CLAIM.
03/21/23   KLB          EMAILS TO AND FROM J. WEICHSELBAUM AND J.         0.20
                        GUSO REGARDING FILING OF RESPONSE TO
                        MOTION TO WITHDRAW THE REFERENCE AND




                                                                                       42
            Case 22-17842-PDR     Doc 1683-1   Filed 07/21/23   Page 44 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                             PAGE: 43
                                                                     MATTER ID: 31679-0527

                        SUPPLEMENTAL DECLARATION
03/21/23   KLB          GATHER PLEADINGS AND DOCUMENTS AND              0.90
                        PREPARE E-BINDER FOR MARCH 22, 2023
                        HEARING ON DEFENDANTS'MOTION TO STAY
                        (VITAL V. ORANGE BANG, INC. AND MONSTER
                        ENERGY COMPANY)
03/21/23   JG           REVIEW OF DEMAND LETTER TO J. OWOC RE           0.80
                        VIOLATION OF STIPULATION; MEMO TO AND
                        FROM A. QUARTAROLO RE SAME (.3); CONFER
                        WITH TEAM RE MOTION TO STAY AND COURT
                        HEARING (.5).
03/21/23   MJN          CORRESPOND WITH LATHAM & WATKINS TEAM           0.20
                        TEAM REGARDING RESPONSE TO MOTION TO
                        WITHDRAW THE REFERENCE
03/22/23   JG           CONFER WITH P, AVRON RE HEARING ON              1.00
                        MOTION FOR STAY (.2); REVIEW OF MOTION FOR
                        CONTEMPT; CASES FROM SOUTHERN DISTRICT
                        RE CONTEMPT STANDARD AND MEMO TO A.
                        QUARTAROLO RE SAME (.8).
03/22/23   KLB          DISCUSSION REGARDING FILING OF RESPONSE         0.20
                        TO MOTION TO WITHDRAW THE REFERENCE
                        AND EMAILS FROM W. MORLEY REGARDING
                        SAME
03/22/23   KLB          REVISE AND FINALIZE RESPONSE IN                 0.40
                        OPPOSITION TO MOTION TO WITHDRAW THE
                        REFERENCE TO BE FILED IN ADVERSARY
                        PROCEEDING AGAINST ORANGE BANG, INC.
                        AND MONSTER ENERGY COMPANY (.2); FORMAT
                        AND E-FILE RESPONSE (.2)
03/22/23   KLB          REVISE EMERGENCY MOTION FOR CONTEMPT            1.00
                        AGAINST J. AND M. OWOC AND DISCUSSIONS
                        WITH M. NILES (.6); COMPILE EXHIBIT TO
                        MOTION AND FINALIZE AND FORMAT SAME (.2);
                        E-FILE MOTION AND EMAILS TO COUNSEL FOR J.
                        AND M. OWOC WITH FILED MOTION (.2)
03/22/23   MJN          REVIEW AND REVISE OBJECTION TO                  1.00
                        REFERENCE WITHDRAWAL (.8); CORRESPOND
                        WITH WITH MORLEY REGARDING THE SAME. (.2)
03/23/23   KLB          EMAILS TO AND FROM COURTROOM DEPUTY             0.10
                        REGARDING FILING OF EMERGENCY MOTION
                        FOR CONTEMPT AGAINST J. AND M. OWOC AND
                        SCHEDULING OF HEARING TO CONSIDER SAME
03/23/23   KLB          EMAIL TO AND FROM COUNSEL FOR J. AND M.         0.10
                        OWOC WITH NOTICE OF HEARING, SCHEDULING
                        EMERGENCY HEARING ON EMERGENCY
                        MOTION FOR CONTEMPT
03/23/23   JG           CALL FROM J. FISCHER RE TEMPORARY               0.30
                        RESTRAINING ORDER (.1); FOLLOW UP MEMOS
                        TO AND FROM LATHAM TEAM RE OWOC’S
                        FAILURE TO DELIVER PASSWORDS TO COURT;
                        CONTINUED HEARING (.2).




                                                                                     43
           Case 22-17842-PDR      Doc 1683-1   Filed 07/21/23   Page 45 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                             PAGE: 44
                                                                     MATTER ID: 31679-0527

03/24/23   MJN         REVIEW AND REVISE REPLY TO SUMMARY               1.00
                       JUDGMENT MOTION TO BE FILED IN ADVERSARY
                        PROCEEDING AGAINST ORANGE BANG AND
                       MONSTER ENERGY COMPANY (.5); PREPARE
                        REPLY AND ASSIST IN FILING (.5)
03/24/23   JG          CONFERENCES WITH L. BLANCO RE                    1.80
                       OUTSTANDING COMMITTEE DISCOVERY
                        REQUESTS; STIPULATIONS ON ENFORCEMENT
                       OF DISCOVERY PROTOCOL (.7); FOLLOW UP
                       CALL WITH A. QUARTAROLO RE SAME (.2);
                       MEMO TO J. FISCHER REBOARD DEMANDS
                        UPON MR. OWOC; NOTICE OF BOARD MEETING
                       TO CONSIDER HIS TERMINATION; RELATED
                       MATTERS (.3); CONFERENCE WITH OWOC LEGAL
                       TEAM RE TEMPORARY RESTRAINNING ORDER
                       AND BRIEFING SCHEDULE; TIMING (.6).
03/25/23   JG          CONFERENCE WITH LATHAM AND G. METZGER            1.20
                        RE NEGOTIATIONS WITH MONSTER; CONSENT
                        RIGHTS.
03/27/23   MJN         PREPARE ORDERS REGARDING MOTION TO               0.90
                        STAY AND STATUS CONFERENCE (.6);
                        CORRESPOND WITH LATHAM & WATKINS TEAM
                        REGARDING STATUS CONFERENCE (.3).
03/27/23   JG          REVIEW AND REVISE ORDERS DENYING STAY            0.50
                       AND ORDER SCHEDULING STATUS
                       CONFERENCE ON ORDER TO SHOW CAUSE (.2);
                       MEMOS FROM A. SORKIN AND H. MURTAGH RE
                       STATUS OF NEGOTIATIONS WITH MONSTER;
                       MARCH 29 HEARING (.3);
03/28/23   JD          REVISE, FINALIZE, FORMAT AND FILE EXHIBIT        0.30
                        REGISTER AND EXHIBITS IN CONNECTION WITH
                        HEARING ON SUMMARY JUDGMENT MOTION
03/28/23   JG          PREPARE FOR AND ATTEND STATUS                    3.50
                        CONFERENCE IN VPX. V. OWOC (2.0); REVIEW
                        OF EXHIBITS FOR SUMMARY JUDGMENT
                        HEARING ON VPX. V. MONSTER; REVISED
                        EXHIBIT REGISTER AND MEMO TO H.
                        MURTAUGH RE SAME (1.2); CALL WITH A.
                        SORKIN AND TEAM RE DISCUSSIONS WITH
                        MONSTER RE REQUEST TO DEFER HEARING;
                        CONDITIONS (.3).
03/29/23   AK          REVIEW UNDERLYING ADVERSARY CASE                 2.40
                        FILINGS AND DISTRICT COURT FILINGS
                        REGARDING MOTION TO WITHDRAW
                        REFERENCE TO ADVISE REGARDING
                        EXPEDITED MOTION
03/29/23   AK          TELEPHONE CONFERENCE WITH J.GUSO                 0.10
                        REGARDING FILING OF EXPEDITED MOTION
03/29/23   PA          RESEARCH / DRAFT MOTION TO EXPEDITE              0.50
                        RULING ON MOTION TO WITHDRAW REFERENCE
03/29/23   JG          REVIEW OF DISTRICT COURT ORDER STAYING           1.50
                       ADVERSARY PROCEEDING; CONFERENCE WITH




                                                                                     44
            Case 22-17842-PDR     Doc 1683-1   Filed 07/21/23   Page 46 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                              PAGE: 45
                                                                      MATTER ID: 31679-0527

                        G. METZGER RE SAME (.5); CONFERENCE WITH
                        H. MURTAGH AND A. SORKIN RE PRESENTATION
                        TO COURT (.3); REVIEW OF MEMO FROM A.
                        KAUFMANN RE ANALYSIS RE EXPEDITED RELIEF
                        BEFORE THE DISTRICT COURT; CONFERENCE
                        CALL RE SAME (.5); MEMOS TO AND FROM A.
                        QUARTAROLO AND J. LUNA RE COMMITTEE’S
                        MOTION TO COMPEL DISCOVERY FROM OWOCS;
                        MARCH 30 HEARING (.2).



03/29/23   JG           PREPARE FOR AND ATTEND STATUS                    2.50
                        CONFERENCE IN MONSTER ADVERSARY (1.5);
                        CONFERENCE WITH A. SORKIN AFTER COURT
                        RE STRATEGY WITH RESPECT TO MOTION TO
                        WITHDRAW THE REFERENCE (.8); REVIEW OF
                        MOTION TO EXPEDITE CONSIDERATION OF
                        MOTION TO WITHDRAW THE REFERENCE (.2).
03/31/23   MJN          REVIEW AND REVISE MOTION FOR SUMMARY             0.80
                        JUDGMENT AGAINST OWOC (.6); FINALIZE FOR
                        FILING (.2)
03/31/23   KLB          REVIEW EMAILS REGARDING MOTION FOR               0.70
                        SUMMARY JUDGMENT AND DECLARATION OF J.
                        DIDONATO (.2); REVIEW LOCAL RULE 7067-1 AND
                        PREPARE NOTICE OF OPPOSING MOTION FOR
                        SUMMARY JUDGMENT (.4); EMAILS TO AND
                        FROM J. GUSO REGARDING FILING OF MOTION
                        AND SERVICE OF NOTICE PURSUANT TO LOCAL
                        RULE 7056-1 (.1)
03/31/23   KLB          PREPARE SCHEDULING ORDER REGARDING              0.90
                        MOTION FOR SUMMARY JUDGMENT TO BE FILED
                        IN VITAL V. OWOC ADVERSARY (.7); EMAILS TO
                        AND FROM J. GUSO AND EMAILS TO LATHAM &
                        WATKINS TEAM REGARDING SAME (.2)
03/31/23   KLB          EMAILS FROM AND TO W. MORLEY REGARDING           0.20
                        BRIEFING SCHEDULE ON MOTION FOR
                        SUMMARY JUDGMENT, AND EMAILS TO AND
                        FROM A. QUARTAROLO REGARDING SERVICE
                        OF MOTION
03/31/23   KLB          REVIEW EMAILS REGARDING FILING OF               2.00
                        SUMMARY JUDGMENT MOTION (.1); REVISE
                        MOTION FOR SUMMARY JUDGMENT AND
                        DECLARATION OF J. DIDONATO IN SUPPORT (.3);
                        FINALIZE AND FORMAT MOTION FOR SUMMARY
                        JUDGMENT AND E-FILE SAME (.3); FORMAT
                        EXHIBITS TO DECLARATION OF J. DIDONATO TO
                        PROPER FORMAT FOR FILING (.6); FINALIZE,
                        FORMAT AND E-FILE DECLARATION OF J.
                        DIDONATO AND EXHIBITS (.2); EMAILS TO AND
                        FROM STRETTO TEAM REGARDING SERVICE OF
                        MOTION AND DECLARATION, AND NOTICE
                        REGARDING OPPOSING SUMMARY JUDGMENT
                        MOTIONS PURSUANT TO LOCAL RULE 7056-1




                                                                                      45
           Case 22-17842-PDR        Doc 1683-1   Filed 07/21/23   Page 47 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                               PAGE: 46
                                                                       MATTER ID: 31679-0527

                         (.2); EMAILS TO LATHAM & WATKINS TEAM WITH
                         FILED DOCUMENTS AND REVISE, FINALIZE,
                         FORMAT AND SUBMIT PROPOSED SCHEDULING
                         ORDER (.3)
03/31/23   JG            MEMOS FROM ANDTO A. SORKIN AND J.                0.50
                         DIDONATO RE MONSTER PROPOSAL (.2);
                         REVIEW OF SUMMARY JUDGMENT MOTION IN
                         OWOC ADVERSARY PROCEEDING; SCHEDULING
                         ORDER (.3);


                                                     SUB-TOTAL FEES:     59.50        33,471.50

                                    RATE SUMMARY
           Paul Avron                 4.40   HOURS       650.00/HR         2,860.00
           Kerry L. Burns            16.90   HOURS       295.00/HR         4.985.50
           Samuel J. Capuano          6.80   HOURS       575.00/HR         3,910.00
           Janette Diaz               0.30   HOURS       295.00/HR            88.50
           Jordi Guso                22.30   HOURS       750.00/HR        16,725.00
           Ana Kauffmann              2.50   HOURS       575.00/HR         1.437.50
           Michael J. Niles           6.30   HOURS       550.00/HR         3,465.00
                            TOTAL    59.50




                                                                                          46
           Case 22-17842-PDR      Doc 1683-1         Filed 07/21/23   Page 48 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                   PAGE: 47
                                                                           MATTER ID: 31679-0528

                   A Berger singerman
                             201 E. Las Olas Blvd. Suite 1500
                             Fort Lauderdale, Florida 33301
                             f: (954) 525-9900 F (954) 523-2872
                                                 :


                               WWW.BERGERSINGERMAN.COM
                                        LIN# XX-XXXXXXX

VITAL PHARMACEUTICALS, INC., ET AL.
1600 N PARK DRIVE                                                         INVOICE DATE:04/17/23
WESTON, FL 33326                                                             INVOICE NO. 264313


RELIEF FROM STAY PROCEEDING/ADEQUATE PROTECTION                           MATTER ID: 31679-0528


PROFESSIONAL FEES RENDERED THROUGH 03/31/23                                HOURS
03/01/23   MJN          CORRESPOND WITH HURON TEAM AND GM                     0.40
                        LEASING REGARDING ADEQUATE PROTECTION
                        PAYMENTS
03/03/23   MJN          REVIEW DRAFT MOTION FOR RELIEF FROM                   0.50
                        STAY (.3); CORRESPOND WITH CLIENT
                        REGARDING THE SAME (.2)
03/03/23   JG           MEMO FROM AND TO H. MURTAGH RE AZ STAY                0.20
                        RELIEF MOTION AND OUTLINE.
03/06/23   MJN          CORRESPOND WITH ALLY BANK REGARDING                   0.60
                        ADEQUATE PROTECTION PAYMENTS.
03/07/23   JG           REVIEW OF MEMO FROM L. LLUBERAS RE                    0.50
                        ARIZONA LIEN RELEASES; MECHANICS
                        LIENHOLDERS’ REPLY IN SUPPORT OF STAY
                        RELIEF (.3); CALL FROM R. CHARBONNEAU RE
                        STAY RELIEF HEARING (.2).
03/07/23   MJN          CORRESPOND WITH RONALD BRUCKMAN                       0.30
                        REGARDING ARDAGH MOTION FOR RELIEF
                        FROM STAY.
03/07/23   MJN          PREPARE MOTION FOR ADEQUATE                           1.00
                        PROTECTION WITH ALLY BANK
03/13/23   MJN          CORRESPOND WITH COUNSEL FOR ARDAGH                    0.30
                        AND HURON REGARDING STATUS OF DUNNAGE
                        AND STAY RELIEF HEARING.
03/15/23   KLB          DISCUSSIONS REGARDING FILING OF MOTION                0.20
                        TO CONTINUE FINAL EVIDENTIARY HEARING ON
                        ARDAGH'S MOTION FOR RELIEF FROM STAY (.1);
                        EMAILS TO AND FROM STRETTO TEAM
                        REGARDING SERVICE OF MOTION (.1)
03/15/23   MJN          FOLLOW UP WITH HURON TEAM REGARDING                   0.20
                        ALLY BANK ADEQUATE PROTECTION.
03/15/23   MJN          REVIEW PROPOSED MOTION TO CONTINUE                    0.30
                        ARDAGH HEARING AND CORRESPOND WITH R.
                        BRUCKMANN REGARDING THE SAME.
03/18/23   MJN          REVIEW AND REVISE ALLY BANK MOTION FOR                0.40
           Case 22-17842-PDR           Doc 1683-1    Filed 07/21/23   Page 49 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                   PAGE: 48
                                                                           MATTER ID: 31679-0528

                              ADEQUATE PROTECTION.
03/22/23   MJN                CORRESPOND WITH S. PARKHURST REGARDING          0.60
                              ALLY BANK MOTION REGARDING ADEQUATE
                              PROTECTION (.2); REVISE MOTION (.4)


                                                        SUB-TOTAL FEES:       5.50        3,114.00

                                       RATE SUMMARY
           Kerry L. Burns                0.20   HOURS        295.00/HR            59.00
           Jordi Guso                    0.70   HOURS        750.00/HR           525.00
           Michael J. Niles              4.60   HOURS        550.00/HR         2,530.00
                              TOTAL      5.50




                                                                                             48
            Case 22-17842-PDR             Doc 1683-1       Filed 07/21/23   Page 50 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                         PAGE: 49
                                                                                 MATTER ID: 31679-0530

                       A Berger singerman
                                   201 E. Las Olas Blvd. Suite 1500
                                   Fort Lauderdale, Florida 33301
                                   f: (954) 525-9900 F (954) 523-2872
                                                       :


                                        WWW.BERGERSINGERMAN.COM
                                            LIN# XX-XXXXXXX

VITAL PHARMACEUTICALS, INC., ET AL.
1600 N PARK DRIVE                                                               INVOICE DATE:04/17/23
WESTON, FL 33326                                                                   INVOICE NO. 264313


NON-WORKING TRAVEL                                                              MATTER ID: 31679-0530


PROFESSIONAL FEES RENDERED THROUGH 03/31/23                                      HOURS
03/23/23    MJN                TRAVEL TO SOUTH FLORIDA FOR ATTENDANCE               3.00
                               AT MARCH 23, 2023 HEARING. (BILLED AT 72 OF
                               HOURLY RATE)
03/23/23    MJN                RETURN TRAVEL BACK FOLLOWING MARCH 23,               2.50
                               2023 HEARING (BILLED AT 1/2 OF HOURLY RATE)
03/30/23    MJN                TRAVEL TO SOUTH FLORIDA FOR HEARINGS                 3.00
                               AND UNSECURED CREDITORS’ COMMITTEE
                               INTERVIEWS.
03/31/23    MJN                RETURN TRAVEL FROM UNSECURED CREDITOR                3.00
                               INTERVIEWS AND HEARINGS


                                                              SUB-TOTAL FEES:      11.50        3,162.50

                                          RATE SUMMARY
            Michael J. Niles                11.50   HOURS          275.00/HR         3,162.50
                                TOTAL       11.50


                                                               TOTAL CURRENT BILLING:        182,032.65
                                                                      CREDITS APPLIED:            (0.00)
                                                               PREVIOUS BALANCE DUE:         129,516.50


                                                                            TOTAL DUE:       311,549.15



           PAYMENT DUE UPON RECEIPT. PLEASE NOTE ACCOUNT NUMBER ON CHECK.
                   Case 22-17842-PDR    Doc 1683-1       Filed 07/21/23       Page 51 of 105

« Berger Singerman
 201E. Las Olas Blvd. Suite 1500
 Fort Lauderdale, Florida 33301
 T: (954) 525-9900 F: (954) 523-2872
 WWW.BERGERSINGERMAM.COM
 BIN# XX-XXXXXXX



                                       Statement as of April 30, 2023
                                           Statement No. 265423

 VITAL PHARMACEUTICALS, INC., ETAL.
 1600 N PARK DRIVE
 WESTON, FL 33326



 31679.0001 CH. 11 BANKRUPTCY FILING                                          Current Fees:            0.00
                                                                          Current Expenses:        2,266.86
 31679.0501 CASE ADMINISTRATION                                               Current Fees:        2,494.00
                                                                          Current Expenses:            0.00

 31679.0502 BUSINESS OPERATIONS                                               Current Fees:       22,220.00
                                                                          Current Expenses:            0.00

 31679.0504 ASSET ANALYSIS AND RECOVERY                                       Current Fees:         220.00
                                                                          Current Expenses:            0.00

 31679.0505 ASSET DISPOSITION/PRESERVATION                                    Current Fees:        6,602.00
                                                                          Current Expenses:            0.00

 31679.0506 FINANCING                                                         Current Fees:        6,525.00
                                                                          Current Expenses:            0.00

 31679.0507 FEE/EMPLOYMENT APPLICATION                                        Current Fees:       15,228.00
                                                                          Current Expenses:            0.00

 31679.0509 CLAIMS ADMINISTRATION AND OBJECTION                               Current Fees:       10.414.50
                                                                          Current Expenses:            0.00

 31679.0512 EXECUTORY CONTRACTS AND UNEXPIRED                                 Current Fees:       25.260.50
 LEASES                                                                   Current Expenses:            0.00

 31679.0517 SETTLEMENT AND COMPROMISE                                         Current Fees:        3,170.00
                                                                          Current Expenses:            0.00

 31679.0518 PLAN AND DISCLOSURE STATEMENT                                     Current Fees:        1,375.00
                                                                          Current Expenses:            0.00

 31679.0527 LITIGATION CONSULTING                                             Current Fees:       23,263.00
                                                                          Current Expenses:            0.00

 31679.0528 RELIEF FROM STAY PROCEEDING/ADEQUATE                              Current Fees:        8,858.00
 PROTECTION                                                               Current Expenses:            0.00

                                                                         Total Current Fees:     125,630.00
                                                                    Total Current Expenses:        2,266.86
                                                                        Total Current Billing:   127,896.86
                                                                            Credits Applied:         (0.00)
                                                                     Previous Balance Due:       164,899.50
                                                                                 Total Due:      292,796.36
             Case 22-17842-PDR     Doc 1683-1        Filed 07/21/23   Page 52 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                    PAGE: 2
                                                                           MATTER ID: 31679-0001

                    A Berger singerman
                              201 E. Las Olas Blvd. Suite 1500
                              Fort Lauderdale, Florida 33301
                              f: (954) 525-9900 F (954) 523-2872
                                                 :


                                WWW.BERGERSINGERMAN.COM
                                        LIN# XX-XXXXXXX

VITAL PHARMACEUTICALS, INC., ET AL.
1600 N PARK DRIVE                                                         INVOICE DATE:05/15/23
WESTON, FL 33326                                                             INVOICE NO. 265423


CH. 11 BANKRUPTCY FILING                                                  MATTER ID: 31679-0001



  EXPENSES

04/12/23      VENDOR: OUELLETTE & MAULDIN COURT REPORTERS, INC;                 1.00      168.05
              INVOICE#: 973739; DATE: 4/12/2023 - 31679.0001 HEARING
              BEFORE JUDGE PETER RUSSIN, 0&1 - 29 PAGES, LITIGATION
              PACKAGE
04/14/23      VENDOR: OUELLETTE & MAULDIN COURT REPORTERS, INC;                 1.00      102.20
              INVOICE#: 973770; DATE: 4/14/2023 - 31679.0001 HEARING
              BEFORE JUDGE PETER RUSSIN, 0&1 - 16 PAGES, LITIGATION
              PACKAGE
04/17/23      VENDOR: OUELLETTE & MAULDIN COURT REPORTERS, INC;                 1.00      126.60
              INVOICE#: 973789; DATE: 4/17/2023 - 31679.0001 HEARING
              BEFORE JUDGE PETER RUSSIN, COPY 93 PAGES RUSH,
              LITIGATION PACKAGE
04/20/23      VENDOR: OUELLETTE & MAULDIN COURT REPORTERS, INC;                 1.00    1,039.40
              INVOICE#: 973809; DATE: 4/20/2023 - 31679.0001 2004 OF:
              JONATHAN W. OWOC, ONE COPY 226 PGS EXPEDITED,
              LITIGATION PACKAGE
04/25/23      VENDOR: OUELLETTE & MAULDIN COURT REPORTERS, INC;                 1.00       76.30
              INVOICE#: 973834; DATE: 4/25/2023 - 31679.0001 HRG JUDGE
              PETER RUSSIN, 0&1 -14 PAGES THREE DAY
04/25/23      VENDOR: OUELLETTE & MAULDIN COURT REPORTERS, INC;                 1.00       59.95
              INVOICE#: 973833; DATE: 4/25/2023 - 31679.0001 HRG JUDGE
              PETER RUSSIN, 0&1 -11 PAGES THREE DAY
04/25/23      VENDOR: OUELLETTE & MAULDIN COURT REPORTERS, INC;                 1.00      114.00
              INVOICE#: 973836; DATE: 4/25/2023 - 31679.0001 HRG JUDGE
              PETER RUSSIN, 0&1 - 20 PAGES THREE DAY
04/25/23      VENDOR: OUELLETTE & MAULDIN COURT REPORTERS, INC;                 1.00      135.80
              INVOICE#: 973835; DATE: 4/25/2023 - 31679.0001 HRG JUDGE
              PETER RUSSIN, 0&1 -24 PAGES, LITIGATION PACKAGE
                                                        COURT REPORTER                  1,822.30

04/01/23      PACER USAGE CHARGE                                                1.00        0.10
04/02/23      PACER USAGE CHARGE                                                1.00        0.10
04/03/23      PACER USAGE CHARGE                                                1.00        0.10
04/04/23      PACER USAGE CHARGE                                                4.00        0.40
04/05/23      PACER USAGE CHARGE                                                1.00        0.10
           Case 22-17842-PDR      Doc 1683-1    Filed 07/21/23     Page 53 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                 PAGE: 3
                                                                        MATTER ID: 31679-0001

04/06/23     PACER USAGE CHARGE                                              1.00       0.10
04/06/23     PACER USAGE CHARGE                                             28.00       2.80
04/07/23     PACER USAGE CHARGE                                              1.00       0.10
04/08/23     PACER USAGE CHARGE                                              1.00       0.10
04/09/23     PACER USAGE CHARGE                                              1.00       0.10
04/10/23     PACER USAGE CHARGE                                              1.00       0.10
04/11/23     PACER USAGE CHARGE                                              1.00       0.10
04/12/23     PACER USAGE CHARGE                                              1.00       0.10
04/13/23     PACER USAGE CHARGE                                              7.00       0.70
04/14/23     PACER USAGE CHARGE                                              1.00       0.10
04/15/23     PACER USAGE CHARGE                                              1.00       0.10
04/16/23     PACER USAGE CHARGE                                              1.00       0.10
04/17/23     PACER USAGE CHARGE                                              1.00       0.10
04/18/23     PACER USAGE CHARGE                                              1.00       0.10
04/19/23     PACER USAGE CHARGE                                              1.00       0.10
04/20/23     PACER USAGE CHARGE                                              1.00       0.10
04/21/23     PACER USAGE CHARGE                                              1.00       0.10
04/22/23     PACER USAGE CHARGE                                              1.00       0.10
04/23/23     PACER USAGE CHARGE                                              1.00       0.10
04/24/23     PACER USAGE CHARGE                                              1.00       0.10
04/25/23     PACER USAGE CHARGE                                              6.00       0.60
04/26/23     PACER USAGE CHARGE                                              1.00       0.10
04/27/23     PACER USAGE CHARGE                                              1.00       0.10
04/28/23     PACER USAGE CHARGE                                              1.00       0.10
04/29/23     PACER USAGE CHARGE                                              1.00       0.10
                                                      PACER CHARGE                      7.10

04/12/23     VENDOR: JORDI GUSO, P.A. INVOICE#: 0847844204 DATE:             1.00      16.00
             4/20/2023
             4/12/2023 - 101 TOWER - PARKING - ATTEND HEARING -
             OFFICE: MIA
                                                            PARKING                    16.00

04/06/23     POSTAGE                                                         1.00      67.35
04/06/23     POSTAGE                                                         1.00      21.50
04/06/23     POSTAGE                                                         1.00       0.51
04/06/23     POSTAGE                                                         1.00      22.00
04/06/23     POSTAGE                                                         1.00      29.59
                                                           POSTAGE                    140.95

04/05/23     REPRODUCTIONS                                                 227.00      34.05
04/05/23     REPRODUCTIONS                                                 228.00      34.20
04/11/23     REPRODUCTIONS                                                  29.00       4.35
04/11/23     REPRODUCTIONS                                                  17.00       2.55
04/11/23     REPRODUCTIONS                                                  29.00       4.35
04/11/23     REPRODUCTIONS                                                  31.00       4.65
04/11/23     REPRODUCTIONS                                                   4.00       0.60
04/11/23     REPRODUCTIONS                                                   8.00        1.20
04/11/23     REPRODUCTIONS                                                   2.00       0.30
04/11/23     REPRODUCTIONS                                                   1.00       0.15
04/11/23     REPRODUCTIONS                                                   2.00       0.30
04/11/23     REPRODUCTIONS                                                   3.00       0.45
04/11/23     REPRODUCTIONS                                                   1.00       0.15




                                                                                         3
           Case 22-17842-PDR      Doc 1683-1   Filed 07/21/23   Page 54 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                              PAGE: 4
                                                                     MATTER ID: 31679-0001

04/11/23     REPRODUCTIONS                                               18.00       2.70
04/12/23     REPRODUCTIONS                                               96.00      14.40
04/12/23     REPRODUCTIONS                                               95.00      14.25
04/12/23     REPRODUCTIONS                                                2.00       0.30
04/12/23     REPRODUCTIONS                                                6.00       0.90
04/12/23     REPRODUCTIONS                                                6.00       0.90
04/12/23     REPRODUCTIONS                                               21.00       3.15
04/12/23     REPRODUCTIONS                                                3.00       0.45
04/19/23     REPRODUCTIONS                                               19.00       2.85
04/19/23     REPRODUCTIONS                                               27.00       4.05
04/19/23     REPRODUCTIONS                                                1.00       0.15
04/19/23     REPRODUCTIONS                                                1.00       0.15
04/19/23     REPRODUCTIONS                                                1.00       0.15
04/19/23     REPRODUCTIONS                                                1.00       0.15
04/19/23     REPRODUCTIONS                                                1.00       0.15
04/19/23     REPRODUCTIONS                                                1.00       0.15
04/19/23     REPRODUCTIONS                                                2.00       0.30
04/20/23     REPRODUCTIONS                                                9.00       1.35
04/20/23     REPRODUCTIONS                                                5.00       0.75
04/20/23     REPRODUCTIONS                                                9.00       1.35
04/24/23     REPRODUCTIONS                                              524.00      78.60
04/24/23     REPRODUCTIONS                                                1.00       0.15
04/25/23     REPRODUCTIONS                                                7.00       1.05
04/25/23     REPRODUCTIONS                                                5.00       0.75
04/27/23     REPRODUCTIONS                                                7.00       1.05
                                                     REPRODUCTION                  217.50

04/04/23     WESTLAW RESEARCH                                             1.00      19.97
04/06/23     WESTLAW RESEARCH                                             1.00      21.52
04/12/23     WESTLAW RESEARCH                                             1.00      10.76
04/24/23     WESTLAW RESEARCH                                             1.00      10.76
                                                 WESTLAW CHARGE                     63.01



                                                                   SUB-TOTAL      2,266.86




                                                                                      4
           Case 22-17842-PDR           Doc 1683-1       Filed 07/21/23   Page 55 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                       PAGE: 5
                                                                              MATTER ID: 31679-0501

                      A Berger singerman
                                  201 E. Las Olas Blvd. Suite 1500
                                  Fort Lauderdale, Florida 33301
                                  f: (954) 525-9900 F (954) 523-2872
                                                    :


                                     WWW.BERGERSINGERMAN.COM
                                          LIN# XX-XXXXXXX

VITAL PHARMACEUTICALS, INC., ET AL.
1600 N PARK DRIVE                                                            INVOICE DATE:05/15/23
WESTON, FL 33326                                                                INVOICE NO. 265423


CASE ADMINISTRATION                                                          MATTER ID: 31679-0501


PROFESSIONAL FEES RENDERED THROUGH 04/30/23                                   HOURS
04/03/23   KLB                MULTIPLE EMAILS TO AND FROM STRETTO                0.20
                              REGARDING SERVICE OF VARIOUS ENTERED
                              ORDERS
04/10/23   MJN                REVIEW REQUEST FOR STATUS REPORT AND               0.40
                              CORRESPOND WITH PARTIES REGARDING THE
                              SAME.
04/11/23   JG                 CALL WITH PROFESSIONALS REGARDING                  0.70
                              PENDING ISSUES AND DISCUSSION WITH
                              LENDERS.
04/13/23   MJN                PROVIDE VPX STATUS UPDATE TO GEOFF                 0.20
                              ZELLEY.
04/19/23   MJN                CORRESPOND WITH R. PANMAN REGARDING                0.30
                              BANKRUPTCY UPDATE.
04/20/23   MJN                ATTEND CALL ON WINDDOWN EXPENSES WITH              0.50
                              A. GUPTA AND AMY QUARTAROLO.
04/26/23   MJN                CORRESPOND WITH B. CHAUHAN REGARDING               0.30
                              MONTHLY OPERATING REPORTS
04/28/23   MJN                REVIEW BANK ACCOUNT INFORMATION FOR                0.30
                              MONTHLY OPERATING REPORTS
04/29/23   MJN                REVIEW MONTHLY OPERATING REPORTS                   0.40
04/29/23   KLB                REVIEW EMAILS REGARDING FILING OF                  2.00
                              OPERATING REPORTS (.2); FINALIZE MONTHLY
                              OPERATING REPORTS AND ORGANIZE
                              ATTACHMENTS (.8); FORMAT AND E-FILE SEVEN
                              MONTHLY OPERATING REPORTS AND
                              ATTACHMENTS (1.0)


                                                           SUB-TOTAL FEES:       5.30         2,494.00

                                        RATE SUMMARY
           Kerry L. Burns                 2.20    HOURS         295.00/HR            649.00
           Jordi Guso                     0.70    HOURS         750.00/HR            525.00
           Michael J. Niles               2.40    HOURS         550.00/HR          1,320.00
         Case 22-17842-PDR      Doc 1683-1   Filed 07/21/23   Page 56 of 105
VITAL PHARMACEUTICALS, INC., ET AL.                                              PAGE: 6
                                                                   MATTER ID: 31679-0501

                                 RATE SUMMARY
                       TOTAL          5.30




                                                                                    6
           Case 22-17842-PDR          Doc 1683-1       Filed 07/21/23   Page 57 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                      PAGE: 7
                                                                             MATTER ID: 31679-0502

                   A Berger singerman
                                 201 E. Las Olas Blvd. Suite 1500
                                 Fort Lauderdale, Florida 33301
                                 f: (954) 525-9900 F (954) 523-2872
                                                   :


                                   WWW.BERGERSINGERMAN.COM
                                         LIN# XX-XXXXXXX

VITAL PHARMACEUTICALS, INC., ET AL.
1600 N PARK DRIVE                                                           INVOICE DATE:05/15/23
WESTON, FL 33326                                                               INVOICE NO. 265423


BUSINESS OPERATIONS                                                         MATTER ID: 31679-0502


PROFESSIONAL FEES RENDERED THROUGH 04/30/23                                  HOURS
04/01/23   MJN          REVIEW CORRESPONDENCE RELATED TO WILD                   1.00
                        FLAVORS(.S); RESEARCH TIMING OF CLAIMS (.4):
                        CORRESPOND WITH TEAM REGARDING THE
                        SAME (.3)
04/03/23   JG           PREPARE FOR AND ATTEND BOARD MEETING                    1.60
                        (1.6).
04/03/23   MJN          ATTEND BUSINESS OPS CALL WITH HURON AND                 0.40
                        LATHAM & WATKINS WATKINS TEAMS.
04/04/23   MJN          REVIEW AND ADVISE ON WAGE MOTION (.3);                  0.60
                        RESEARCH REGARDING THE SAME (.3)
04/04/23   JG           DAILY CTO CALL WITH CO-ADVISORS (.5).                   0.50
04/05/23   MJN          ATTEND PROFESSIONAL CALL                                0.50
04/06/23   JG           PREPARE FOR AND ATTEND BOARD MEETING.                   1.70
04/06/23   MJN          REVIEW WORK IN PROGRESS FOR CALL.                       0.30
04/06/23   MJN          REVIEW EXECUTIVE SESSION PRESENTATION.                  0.20
04/06/23   MJN          ATTEND CALL WITH HURON AND LATHAM AND                   0.40
                        WATKINS TEAMS.
04/07/23   JG           MEMO TO B. SHRAIBERG RE D&O INSURANCE.                  0.60
                        (.1); CALL WITH CTO AND ADVISOR TEAM (.5);
04/07/23   MJN          CORRESPOND WITH DEBTOR TEAM REGARDING                   0.20
                        D&O INSURANCE.
04/07/23   MJN          ATTEND CALL WITH HURON AND LATHAM &                     0.50
                        WATKINS TEAMS.
04/07/23   MJN          CORRESPOND WITH S. PARKHURST REGARDING                  0.30
                        GPI CRITICAL VENDOR AGREEMENT.
04/10/23   MJN          ATTEND CALL WITH HURON AND LATHAM &                     0.50
                        WATKINS REGARDING BUSINESS OPERATIONS.
04/10/23   MJN          CORRESPOND WITH G. METZGER REGARDING                    0.30
                        POST-PETITION CONTRACTS.
04/10/23   MJN          CORRESPOND WITH J.REITER REGARDING                      0.20
                        INTRASTATE DISTRIBUTION TERMINATION.
04/10/23   MJN          CORRESPOND WITH S. PARKHURST REGARDING                  0.30
           Case 22-17842-PDR      Doc 1683-1    Filed 07/21/23   Page 58 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                               PAGE: 8
                                                                      MATTER ID: 31679-0502

                        FOREIGN VENDORS
04/10/23   JG           PREPARE FOR AND ATTEND BOARD MEETING.            1.50
04/11/23   JG           CALL WITH G. METZGER RE PROPOSED                 0.50
                        TREATMENT OF POST-PETITION DISTRIBUTOR
                        AGREEMENTS.
04/11/23   MJN          CORRESPOND WITH G. METZGER REGARDING             0.30
                        POST-PETITION AGREEMENTS.
04/11/23   MJN          CORRESPOND WITH S. PARKHURST REGARDING           0.20
                        ASSEMBLERS.
04/11/23   MJN          CORRESPOND WITH G. BUKOVI AND DEBTOR             0.30
                        TEAM REGARDING CABOT LEASE AMENDMENT.
04/11/23   MJN          ATTEND BUSINESS OPERATIONS CALL WITH             0.50
                        LATHAM & WATKINS AND HURON TEAMS.
04/12/23   MJN          CORRESPOND WITH JEFF SCHWARTZ                    0.20
                        REGARDING ASSEMBLERS.
04/13/23   MJN          ATTEND CALL WITH HURON AND LATHAM &              0.60
                        WATKINS TO DISCUSS BUSINESS OPERATIONS.
04/13/23   JG           PREPARE FOR AND ATTEND BOARD MEETING.            1.70
04/14/23   MJN          CORRESPOND WITH AYUSH JAJOO REGARDING            0.30
                        CHEP>
04/14/23   MJN          CORRESPOND WITH AKERMAN REGARDING                0.50
                        CHEP AND STATUS AS CRITICAL VENDOR.
04/14/23   MJN          CORRESPOND WITH S. PARKHURST REGARDING           0.30
                        ASSEMBLERS AND POTENTIAL LIQUIDATOR.
04/17/23   MJN          ATTEND DAILY OPERATIONS CALL WITH HURON          0.50
                        AND LATHAM & WATKINS.
04/17/23   MJN          REVIEW BOARD PRESENTATION MATERIALS.             0.30
04/17/23   JG           PREPARE FOR AND ATTEND BOARD MEETING.            1.00
04/17/23   JG           DAILY CTO CALL WITH ADVISORS RE PENDING          0.50
                        ISSUES (.5)
04/18/23   MJN          ATTEND OPERATIONS CALL WITH HURON,               0.50
                        LATHAM & WATKINS AND ROTHSCHILD.
04/18/23   JG           DAILY CALL WITH CTO TEAM AND ADVISORS (.5).      0.50
04/19/23   JG           DAILY CTO CALL WITH CO-ADVISORS (.5);            0.80
                        CONFERENCE WITH A. SORKIN RE APRIL 21
                        HEARINGS (.3).
04/19/23   MJN          ATTEND CALL WITH HURON AND LATHAM                0.60
                        REGARDING BUSINESS OPERATIONS.
04/20/23   MJN          PREPARE FOR AND ATTEND WORK IN                   0.50
                        PROGRESS CALL WITH LATHAM & WATKINS
                        TEAM MEMBERS.
04/20/23   MJN          ATTEND OPERATIONS CALL WITH HURON AND            0.50
                        LATHAM TEAMS.
04/20/23   JG           DAILY CTO CALL WITH ADVISORS (.5).              0.50
04/21/23   MJN          ATTEND LENDER CALL.                             0.70
04/21/23   MJN          CORRESPOND WITH D. KIRK REGARDING PHX            0.60
                        PROPERTY AND CHUBB PAYMENTS (.3); FOLLOW




                                                                                       8
           Case 22-17842-PDR           Doc 1683-1   Filed 07/21/23   Page 59 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                   PAGE: 9
                                                                          MATTER ID: 31679-0502

                              UP WITH DEBTOR AND HURON REGARDING THE
                              SAME (.3)
04/21/23   MJN            ATTEND AND PARTICIPATE IN DAILY BUSINESS           0.60
                           OPERATIONS CALL WITH HURON, LATHAM &
                           WATKINS AND ROTHCHILD TEAMS.
04/21/23   MJN            CORRESPOND WITH COUNSEL FOR CHEP (.4);             0.60
                           FOLLOW UP WITH DEBTOR AND HURON TEAMS
                              (.2).
04/21/23   JG             DAILY CTO CALL RE PENDING MATTERS (.5)             0.50
04/24/23   JG             PREPARE FOR AND ATTEND BOARD MEETING.              1.50
04/24/23   MJN            ATTEND BUSINESS OPERATIONS CALL WITH               0.60
                           HURON AND LATHAM TEAMS.
04/25/23   JG             ATTEND DAILY CTO CALL WITH ADVISORS.               0.50
04/26/23   MJN            CORRESPOND WITH TEAM REGARDING                     1.20
                          SHERIDAN A PROPERTY (.4); CONDUCT LEGAL
                           RESEARCH REGARDING THE SAME (.8).
04/26/23   MJN            CORRESPOND WITH S. MILLER AND M. KRAMER            0.20
                           REGARDING CHEP STATUS.
04/26/23   MJN            CORRESPONND WITH HURON TEAM                        0.90
                           REGARDING SHERIDAN A PROPERTY (.3);
                           RESEARCH REGARDING THE SAME (.6).
04/26/23   MJN            ATTEND BUSINESS OPERATIONS CALL WITH               0.50
                           HURON AND LATHAM AND WATKINS.
04/27/23   JG             PREPARE FOR AND ATTEND BOARD MEETING.              1.50
04/27/23   MJN            PREPARE FOR AND ATTEND WORK IN                     0.60
                           PROGRESS CALL WITH LATHAM AND WATKINS
                           TEAM
04/27/23   MJN            ATTEND BUSINESS OPERATIONS CALL WITH               0.50
                           HURON AND LATHAM & WATKINS.
04/28/23   MJN            ATTEND BUSINESS OPERATIONS CALL WITH               0.60
                           HURON AND LATHAM


                                                        SUB-TOTAL FEES:     34.80        22,220.00

                                       RATE SUMMARY
           Jordi Guso                   15.40   HOURS       750.00/HR        11,550.00
           Michael J. Niles             19.40   HOURS       550.00/HR        10,670.00
                               TOTAL    34.80




                                                                                              9
           Case 22-17842-PDR            Doc 1683-1       Filed 07/21/23   Page 60 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                       PAGE: 10
                                                                               MATTER ID: 31679-0504

                      A Berger singerman
                                  201 E. Las Olas Blvd. Suite 1500
                                  Fort Lauderdale, Florida 33301
                                  f: (954) 525-9900 F (954) 523-2872
                                                     :


                                      WWW.BERGERSINGERMAN.COM
                                          LIN# XX-XXXXXXX

VITAL PHARMACEUTICALS, INC., ET AL.
1600 N PARK DRIVE                                                             INVOICE DATE:05/15/23
WESTON, FL 33326                                                                 INVOICE NO. 265423


ASSET ANALYSIS AND RECOVERY                                                   MATTER ID: 31679-0504


PROFESSIONAL FEES RENDERED THROUGH 04/30/23                                    HOURS
04/03/23   MJN                REVIEW RECOVERY ANALYSIS.                           0.40


                                                            SUB-TOTAL FEES:       0.40 '      220.00

                                        RATE SUMMARY
           Michael J. Niles               0.40   HOURS           550.00/HR           220.00
                              TOTAL       0.40
           Case 22-17842-PDR      Doc 1683-1         Filed 07/21/23   Page 61 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                   PAGE: 11
                                                                           MATTER ID: 31679-0505

                   A Berger singerman
                             201 E. Las Olas Blvd. Suite 1500
                             Fort Lauderdale, Florida 33301
                             f: (954) 525-9900 F (954) 523-2872
                                                 :


                               WWW.BERGERSINGERMAN.COM
                                        LIN# XX-XXXXXXX

VITAL PHARMACEUTICALS, INC., ET AL.
1600 N PARK DRIVE                                                         INVOICE DATE:05/15/23
WESTON, FL 33326                                                             INVOICE NO. 265423


ASSET DISPOSITION/PRESERVATION                                            MATTER ID: 31679-0505


PROFESSIONAL FEES RENDERED THROUGH 04/30/23                                HOURS
04/03/23   MJN          CORRESPOND WITH N. MARINO REGARDING                   0.20
                        CURE NOTICE WITH TARO PATCH HOLDINGS.
04/03/23   MJN          CORRESPOND WITH J. PAUL REGARDING VS                  0.20
                        CARBONICS AND CURE NOTICE.
04/03/23   MJN          CORRESPOND WITH B.BUTLER REGARDING                    0.30
                        CURE AMOUNT.
04/03/23   MJN          CORRESPOND WITH M.SHRIRO REGARDING                    0.20
                        CURE AMOUNT FOR LEASE AGREEMENT.
04/03/23   MJN          CORRESPOND WITH DEBTOR AND ICON                       0.30
                        REGARDING CURE AMOUNTS.
04/03/23   MJN          CONFERENCE CALL WITH HURON AND LW TEAM                0.80
                        TO DISCUSS CURE NOTICES.
04/05/23   MJN          REVIEW KRONES CURE NOTICE OBJECTION AND               0.40
                        INVOICES (.2); FOLLOW UP WITH HURON AND
                        KRONES REGARDING THE SAME (.2).
04/05/23   MJN          CORRESPOND WITH MATT LEE REGARDING                    0.50
                        KRONES AND CURE OBJECTION (.2); FOLLOW UP
                        WITH N. MARINO REGARDING THE SAME AND
                        PROVIDE ADDITIONAL ANALYSIS (.3)
04/06/23   JG           CONFERENCE WITH CTO AND ADVISORY TEAM                 0.60
                        RE SALE STRATEGY.
04/06/23   MJN          CORRESPOND WITH J. PAUL REGARDING VS                  0.30
                        CARBONICS AND CURE AMOUNT.
04/06/23   MJN          REVIEW AGREED ORDER REGARDING VS                      0.30
                        CARBONICS OBJECTION TO NOTICE OF
                        EXECUTORY CONTRACTS AND LEASES THAT
                        MAY BE ASSUMED
04/07/23   JG           CONFERENCE WITH D. MELVILLE RE SHERIDAN               0.50
                        SALE TRANSACTION; LEASE OPTIONS.
04/07/23   MJN          CORRESPOND WITH N. MARINO REGARDING                   0.20
                        KRONES CURE NOTICE OBJECTION.
04/10/23   MJN          CORRESPOND WITH N. MARINO REGARDING                   0.30
                        KRONES CURE AMOUNT.
           Case 22-17842-PDR           Doc 1683-1   Filed 07/21/23   Page 62 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                   PAGE: 12
                                                                           MATTER ID: 31679-0505

04/10/23   MJN            CORRESPOND WITH MATT LEE REGARDING                  0.20
                           KRONES EXTENSION.
04/10/23   JG             CONFERENCE WITH CLIENT AND COUNSEL TO               0.40
                          VS CARBONICS RE PROPOSES RESOLUTION OF
                           CURE CLAIM; SURRENDER OF EQUIPMENT ETC.
04/11/23   MJN            CORRESPOND WITH N. MARINO REGARDING                 0.30
                           THE KRONES CURE AMOUNT.
04/18/23   JG             MEMOS FROM AND TO LATHAM AND                        0.20
                          ROTHSCHILD TEAMS RE PROPOSED REVISED
                          SALE TIME LINE.
04/20/23   JG             CALL WITH A. SORKIN RE REVISED SALE                 0.30
                           TIMELINE; STATUS OF DISCUSSIONS WITH OBI
                          AND LENDERS.
04/21/23   MJN            CORRESPOND WITH S. KNAPP REGARDING                  0.30
                           NELSON MULLINS CLAIMS AND CURE AMOUNTS.
04/21/23   JG             CONFERENCE WITH A. SORKIN RE STATUS OF              0.20
                           DISCUSSIONS WITH MONSTER AND LENDERS
                           RE BIDDING.
04/22/23   JG             CONFERENCE CALL WITH ROTHSCHILD TEAM                1.00
                           RE ANALYSIS OF ASSUMED LIABILITIES UNDER
                          ASSET PURCHASE AGREEMENT.
04/26/23   JG             CALL WITH ROTHSCHILD AND HURON TEAMS RE             0.50
                           STATUS OF SALE MATTERS, INCLUDING
                           DISCUSSIONS WITH MONSTER.
04/27/23   JG             CALL WITH. LATHAM & WATKINS TEAM RE WORK            1.00
                           IN PROCESS ON PENDING ISSUES; SALE
                           TIMELINE (1.0)
04/28/23   MJN            REVIEW NOTICE OF AUCTION REVISED DATES.             0.20
04/28/23   KLB            REVISE AND FINALIZE NOTICE OF EXTENSION             0.60
                           OF CERTAIN SALE RELATED DEADLINES AND
                           EMAILS REGARDING SERVICE (.2); REVIEW
                           PRIOR NOTICE AND CERTIFICATE OF SERVICE
                           REGARDING SAME REGARDING SERVICE
                           PARTIES (.1); FORMAT AND E-FILE NOTICE, AND
                           EMAILS TO AND FROM STRETTO REGARDING
                           SERVICE (.3)
04/28/23   JG                 MEMO TO AND FROM E. CHAFETZ RE VS               0.20
                              CARBONICS CURE CLAIM RESOLUTION.


                                                         SUB-TOTAL FEES:     10.50        6,602.00

                                        RATE SUMMARY
           Kerry L. Burns                 0.60   HOURS       295.00/HR           177.00
           Jordi Guso                     4.90   HOURS       750.00/HR         3,675.00
           Michael J. Niles               5.00   HOURS       550.00/HR         2,750.00
                              TOTAL      10.50




                                                                                             12
            Case 22-17842-PDR         Doc 1683-1       Filed 07/21/23   Page 63 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                     PAGE: 13
                                                                             MATTER ID: 31679-0506

                   A Berger singerman
                                 201 E. Las Olas Blvd. Suite 1500
                                 Fort Lauderdale, Florida 33301
                                 f: (954) 525-9900 F (954) 523-2872
                                                   :


                                   WWW.BERGERSINGERMAN.COM
                                         LIN# XX-XXXXXXX

VITAL PHARMACEUTICALS, INC., ET AL.
1600 N PARK DRIVE                                                           INVOICE DATE:05/15/23
WESTON, FL 33326                                                               INVOICE NO. 265423


FINANCING                                                                   MATTER ID: 31679-0506


PROFESSIONAL FEES RENDERED THROUGH 04/30/23                                  HOURS
04/11/23    JG          CALL WITH LENDERS AND ADVISORS.                         0.30
04/13/23    JG          CONFERENCE WITH LENDER ADVISORS RE                      1.00
                        MONSTER INJUNCTION.
04/14/23    JG          CALL WITH ADVISORS TO PREPARE FOR                       1.30
                        LENDER PRESENTATION (.5); CONFERENCE
                        WITH LENDERS AND ADVISORS RE OPERATIONS
                        AND MONSTER INJUNCTION (.6); FOLLOW UP
                        MEMOS TO AND FROM HCG RE RE-BRANDING
                        BUDGETING ETC. (.2).
04/21/23    JG          REVIEW OF LENDER PRESENTATION AND CALL                  1.50
                        WITH HURON TEAM TO PREPARE FOR LENDER
                        MEETING (.5); ATTEND LENDER MEETING RE
                        STATUS OF OPERATIONS AND SALE MATTERS
                        (1.0).
04/25/23    JG          CONFERENCE WITH HURON AND LATHAM                        0.50
                        TEAMS RE LENDERS’ CURRENT POSITION ON
                        FUTURE FUNDING; DISCUSSIONS WITH
                        BIDDERS.
04/26/23    JG          REVIEW OF DRAFT LIQUIDATION ANALYSIS (.5);              1.30
                        CALLS (2X) WITH HURON AND ROTHSCHILD
                        TEAMS RE DIFFERENT RECOVERY SCENARIOS
                        (.8).
04/28/23    JG          REVIEW LENDER PRESENTATION; CALL WITH                   1.50
                        HURON TEAM IN PREPARATION FOR LENDER
                        MEETING (.5); PREPARE FOR AND ATTEND
                        LENDER CALL (1.0).
04/28/23    JG          REVIEW LENDER PRESENTATION; CALL WITH                  0.50
                        HURON TEAM IN PREPARATION FOR LENDER
                        MEETING (.5); PREPARE FOR AND ATTEND
                        LENDER CALL (1.0).
04/29/23    JG          REVIEW OF UPDATED PROJECTED                            0.80
                        DISBURSEMENTS FROM SALE PROCEEDS; SET
                        ASIDE FOR ADMINISTRATIVE CLAIMS (.3); CALL
                        WITH HURON AND LATHAM TEAMS RE SAME (.5).
         Case 22-17842-PDR      Doc 1683-1      Filed 07/21/23   Page 64 of 105
VITAL PHARMACEUTICALS, INC., ET AL.                                                 PAGE: 14
                                                                       MATTER ID: 31679-0506


                                                     SUB-TOTAL FEES:      8.70        6,525.00

                                 RATE SUMMARY
         Jordi Guso                   8.70   HOURS       750.00/HR         6,525.00
                       TOTAL          8.70




                                                                                          14
           Case 22-17842-PDR      Doc 1683-1         Filed 07/21/23   Page 65 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                   PAGE: 15
                                                                           MATTER ID: 31679-0507

                   A Berger singerman
                             201 E. Las Olas Blvd. Suite 1500
                             Fort Lauderdale, Florida 33301
                             f: (954) 525-9900 F (954) 523-2872
                                                 :


                               WWW.BERGERSINGERMAN.COM
                                        LIN# XX-XXXXXXX

VITAL PHARMACEUTICALS, INC., ET AL.
1600 N PARK DRIVE                                                         INVOICE DATE:05/15/23
WESTON, FL 33326                                                             INVOICE NO. 265423


FEE/EMPLOYMENT APPLICATION                                                MATTER ID: 31679-0507


PROFESSIONAL FEES RENDERED THROUGH 04/30/23                                HOURS
04/03/23   KLB          BEGIN PREPARATION OF E-BINDER FOR                     0.60
                        UPCOMING HEARING ON FIRST INTERIM FEE
                        APPLICATIONS OF ESTATE PROFESSIONALS
04/04/23   KLB          PREPARE PROPOSED ORDER AWARDING FIRST                 0.60
                        INTERIM FEES AND EXPENSES TO QUARLES &
                        BRADY FOR UPCOMING FEE HEARING
04/05/23   KLB          PREPARE ORDER AWARDING FIRST INTERIM                  0.60
                        FEES AND EXPENSES TO SPECIAL COUNSEL,
                        SANCHEZ FISCHER LEVINE
04/10/23   KLB          REVIEW EMAIL FROM K. FRAZIER OF SKLAR                 0.20
                        KIRSH REGARDING ADDITIONAL ENGAGEMENT
                        LETTER BETWEEN DEBTORS AND GRANT
                        THORNTON AND SUPPLEMENTAL RETENTION
                        APPLICATION
04/11/23   MJN          REVIEW GRANT THORTON STATEMENT OF                     0.40
                        WORK REGARDING TAX CONSULTING.
04/12/23   KLB          PREPARATION OF FEE AND EXPENSE                        0.30
                        STATEMENT OF BERGER SINGERMAN FOR
                        MONTH OF MARCH, 2023, AND EMAILS TO J.
                        GUSO REGARDING SAME
04/13/23   MJN          REVIEW SUPPLEMENTAL STATEMENT OF WORK                 0.50
                        FOR GRANT THORNTON (.3); CORRESPOND
                        WITH HURON TEAM REGARDING THE SAME (.2)
04/13/23   KLB          EMAILS FROM ROTHSCHILD REGARDING FILING               0.50
                        OF FOURTH SUPPLEMENTAL DECLARATION IN
                        SUPPORT OF ROTHSCHILD RETENTION (.1);
                        FORMAT AND E-FILE REDACTED VERSION OF
                        FOURTH SUPPLEMENTAL DECLARATION AND
                        EMAILS TO ROTHSCHILD WITH SAME (.2);
                        EMAILS TO AND FROM STRETTO REGARDING
                        SERVICE AND EMAIL TO US TRUSTEE WITH
                        UNREDACTED VERSION OF FOURTH
                        SUPPLEMENTAL DECLARATION (.2)
04/13/23   KLB          UPDATE E-BINDER FOR APRIL 20, 2023 HEARING            0.30
                        ON INTERIM FEE APPLICATIONS OF ESTATE
            Case 22-17842-PDR     Doc 1683-1   Filed 07/21/23   Page 66 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                             PAGE: 16
                                                                     MATTER ID: 31679-0507

                        PROFESSIONALS
04/14/23   MJN          CORRESPOND WITH A. GUPTA REGARDING             0.60
                        GRANT THORNTON STATEMENT OF WORK (.3);
                        REVIEW ADDITIONAL STATEMENT OF WORK. (.3)
04/17/23   MJN          REVIEW GRANT THORNTON SUPPLEMENTAL             0.50
                        STATEMENT OF WORK (.2); FOLLOW UP WITH
                        DEBTOR AND HURON REGARDING THE SAME
                        (.3).
04/17/23   MJN          REVIEW TAX AUDIT LETTER (.2); REVISE GRANT      0.90
                        THORNTON SUPPLEMENTAL APPLICATION (.3);
                        CORRESPOND WITH J. GUSO REGARDING
                        GRANT THORNTON SUPPLEMENTAL
                        APPLICATION (.2); CORRESPOND WITH
                        COMMITTEE REGARDING GRANT THORNTON
                        SUPPLEMENTAL APPLICATION (.2)
04/17/23   JG           REVIEW OF GRANT THORNTON’S                      0.30
                        SUPPLEMENTAL SCOPE OF WORK (.1); MEMO TO
                        AND FROM VPX RE: SAME (.2).
04/17/23   KLB          FINALIZE MARCH 2023 FEE STATEMENT OF            0.70
                        BERGER SINGERMAN AND PREPARE LETTER TO
                        APPLICATION RECIPIENTS (.5); FINALIZE
                        CORRESPONDENCE AND PREPARE EMAIL TO
                        COUNSEL WITH BERGER SINGERMAN'S MARCH
                        2023 FEE AND EXPENSE STATEMENT (.2)
04/17/23   KLB          EMAILS FROM J. GUSO REGARDING UPCOMING          0.70
                        FEE HEARING AND INFORMATION REQUESTED
                        BY A. SORKIN (.2); GATHER INFORMATION FOR
                        UPCOMING FEE HEARING AND EMAILS TO AND
                        FROM A. SORKIN REGARDING SAME (.5)
04/17/23   KLB          UPDATE E-BINDER FOR APRIL 20, 2023 HEARING      0.40
                        ON INTERIM FEE APPLICATIONS AND STATUS
                        CONFERENCE REGARDING 503(B)(9) CLAIMS
                        RECONCILIATION
04/18/23   MJN          FINALIZE GRANT THORNTON SUPPLEMENTAL           0.30
                        APPLICATION FOR FILING.
04/18/23   KLB          FINALIZE E-BINDER FOR APRIL 20, 2023            0.70
                        HEARINGS ON INTERIM FEE APPLICATIONS AND
                        CIRCULATE SAME
04/18/23   KLB          REVISE AND FINALIZE SUPPLEMENTAL               1.00
                        APPLICATION TO EMPLOY GRANT THORNTON
                        (.3); REVISE AND FINALIZE DECLARATION IN
                        SUPPORT (.2); COMPILE EXHIBITS AND FORMAT
                        PROPOSED ORDER (.3); E-FILE SUPPLEMENTAL
                        APPLICATION AND EMAILS TO STRETTO
                        REGARDING SERVICE (.2)
04/18/23   KLB          EMAILS TO COUNSEL FOR GRANT THORNTON            0.50
                        REGARDING SUPPLEMENTAL APPLICATION TO
                        EMPLOY AND ARRANGE FOR ATTENDANCE AT
                        UPCOMING FEE HEARING BY S. JEWKES (.2);
                        EMAILS TO COURTROOM DEPUTY REGARDING
                        SCHEDULING OF HEARING ON SUPPLEMENTAL
                        RETENTION APPLICATION (.1); EMAILS TO S.




                                                                                     16
            Case 22-17842-PDR     Doc 1683-1   Filed 07/21/23   Page 67 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                              PAGE: 17
                                                                      MATTER ID: 31679-0507

                        JEWKES AND TO COUNSEL FOR GRANT
                        THORNTON (.2)
04/18/23   KLB          EMAILS FROM D. LEVINE REGARDING                  0.20
                        ATTENDANCE AT UPCOMING HEARING ON FIRST
                        INTERIM FEE APPLICATION OF SANCHEZ,
                        FISCHER & LEVINE, AND ARRANGE FOR
                        ATTENDANCE AT HEARING VIA ZOOM
04/19/23   KLB          UPDATE E-BINDER FOR APRIL 20, 2023 HEARING       0.50
                        WITH OBJECTIONS FILED TO TWO INTERIM FEE
                        APPLICATIONS, AND EMAILS TO M. NILES
04/19/23   KLB          EMAILS REGARDING INFORMATION REQUESTED          0.30
                        BY J. GUSO FOR FEE HEARING (.2); EMAILS TO
                        AND FROM ACCOUNTING AND EMAILS TO J.
                        GUSO WITH REQUESTED INFORMATION (.1)
04/19/23   KLB          PREPARE EX PARTE MOTION TO RESCHEDULE            1.00
                        HEARING ON SUPPLEMENTAL APPLICATION TO
                        EMPLOY GRANT THORNTON LLP AS FINANCIAL
                        ADVISOR TO THE DEBTORS (.8); EMAILS AND
                        DISCUSSIONS WITH M. NILES REGARDING SAME
                        (■2)

04/19/23   KLB          PREPARE PROPOSED AGREED ORDER                   0.70
                        GRANTING MOTION TO RESCHEDULE HEARING
                        ON SUPPLEMENTAL APPLICATION TO RETAIN
                        GRANT THORNTON (.6); REVIEW EMAILS FROM
                        COMMITTEE COUNSEL AND U.S. TRUSTEE
                        REGARDING SAME (.1)
04/19/23   KLB          REVIEW AND RESPOND TO MULTIPLE EMAILS            0.20
                        FROM J. WEICHSELBAUM REGARDING ORDERS
                        AWARDING INTERIM FEES, PROCESS FOR
                        SUBMISSION IN THE SOUTHERN DISTRICT OF
                        FLORIDA, ETC.
04/19/23   KLB          REVISE EX PARTE MOTION TO RESCHEDULE             0.60
                        HEARING ON SUPPLEMENTAL APPLICATION TO
                        EMPLOY GRANT THORNTON AND FINALIZE
                        MOTION (.2); REVISE AND FINALIZE PROPOSED
                        ORDER AND FORMAT AND E-FILE MOTION (.2);
                        FORMAT AND SUBMIT PROPOSED EX PARTE
                        ORDER AND EMAILS TO STRETTO REGARDING
                        SERVICE (.2)
04/19/23   JG           CALLS (2X) WITH L. SKLAR RE FEE HEARING AND      0.90
                        COMMITTEE’S RESERVATION OF RIGHTS (.3);
                        CONFERENCE WITH D. MUTH AND C. COMBEST
                        RE QUARLES & BRADY APPLICATION AND
                        PRESENTATION; FOLLOW UP WITH C. COMBEST
                        RE COMMITTEE RESERVATION OF RIGHTS (.4)
                        CALL WITH A. QUARTAROLO RE SANCHEZ
                        LEVINE; FEE HEARING (.2).
04/19/23   MJN          REVIEW AND REVISE MOTION TO RESCHEDULE           0.30
                        HEARING ON GRANT THORNTON
                        SUPPLEMENTAL APPLICATION
04/19/23   MJN          CORRESPOND WITH COMMITTEE COUNSEL AND            0.20
                        S. WILKES REGARDING MOTION TO




                                                                                      17
            Case 22-17842-PDR     Doc 1683-1   Filed 07/21/23    Page 68 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                              PAGE: 18
                                                                      MATTER ID: 31679-0507

                        RESCHEDULE GRANT THORNTON
                        SUPPLEMENTAL RETENTION APPLICATION.
04/20/23   MJN          CORRESPOND WITH K. FRAZIER REGARDING             0.20
                        GRANT THORNTON SUPPLEMENTAL
                        APPLICATION AND HEARING.
04/20/23   KLB          EMAILS FROM AND TO A. SORKIN OF LATHAM &         0.20
                        WATKINS REGARDING ATTENDANCE AT APRIL
                        20, 2023 HEARING AND ARRANGE FOR A.
                        SORKIN TO ATTEND HEARING VIA ZOOM
04/20/23   KLB          DISCUSSIONS WITH J. GUSO FOLLOWING               0.30
                        HEARING REGARDING PREPARATION OF
                        PROPOSED ORDERS AWARDING FIRST INTERIM
                        FEES TO ESTATE PROFESSIONALS (.2); EMAILS
                        TO COURTROOM DEPUTY REGARDING INTERIM
                        FEE APPLICATIONS (.1)
04/20/23   KLB          REVISE ORDER AWARDING FIRST INTERIM FEES         0.20
                        AND EXPENSES TO BERGER SINGERMAN
04/20/23   JG           PREPARE FOR AND PRESENT FIRST INTERIM            3.50
                        FEE APPLICATIONS OF BERGER SINGERMAN,
                        ROTHSCHILD, QUARLES & BRADY, GRANT
                        THORNTON, SANCHEZ LEVINE, AS DEBTORS’
                        PROFESSIONALS.
04/20/23   MJN          PREPARE FOR AND ATTEND HEARINGS ON               2.00
                        503(B)(9) AND FEE APPLICATIONS.
04/20/23   MJN          CORRESPOND WITH K.FRAZIER REGARDING              0.20
                        GRANT THORNTON APPLICATION.
04/20/23   MJN          CORRESPOND WITH K.BURNS REGARDING                0.20
                        NOTICE OF FILING FEE APPLICATIONS
                        (AMENDED)
04/21/23   KLB          EMAILS TO AND FROM J. GUSO REGARDING             0.70
                        FIRST INTERIM FEE APPLICATIONS (.2);
                        PREPARE NOTICE OF FILING TEXT-SEARCHABLE
                        VERSION OF LATHAM & WATKINS FEE
                        APPLICATION (.4); EMAILS TO AND FROM J
                        GUSO WITH NOTICES OF FILING AND INTERIM
                        APPLICATIONS (.1)
04/21/23   KLB          FINALIZE, FORMAT AND E-FILE NOTICES OF           0.70
                        FILING OF TEXT-SEARCHABLE VERSIONS OF
                        FIRST INTERIM FEE APPLICATIONS
04/21/23   KLB          REVISE ORDER AWARDING FIRST INTERIM FEES         1.20
                        AND EXPENSES TO BERGER SINGERNAN (.2);
                        REVISE PROPOSED ORDER AWARDING FIRST
                        INTERIM FEES AND EXPENSES OF QUARLES &
                        BRADY (.2); REVISE PROPOSED ORDER
                        AWARDING FIRST INTERIM FEES AND EXPENSES
                        TO ROTHSCHILD & CO (.2); PREPARE PROPOSED
                        ORDER AWARDING FIRST INTERIM FEES TO
                        GRANT THORNTON (.6)
04/21/23   KLB          EMAILS FROM J. GUSO REGARDING FEE                0.70
                        ORDERS (.1); PREPARE PROPOSED ORDER
                        AWARDING FIRST INTERIM FEES AND EXPENSES
                        OF LATHAM & WATKINS (.5); EMAILS TO AND




                                                                                      18
            Case 22-17842-PDR     Doc 1683-1   Filed 07/21/23   Page 69 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                              PAGE: 19
                                                                      MATTER ID: 31679-0507

                        FROM A. SORKIN AND J. WEICHESELBAUM WITH
                        FEE ORDER (.1)
04/21/23   KLB          EMAILS TO REPRESENTATIVES OF AND                 0.30
                        COUNSEL FOR GRANT THORNTON REGARDING
                        RESCHEDULING OF HEARING TO CONSIDER
                        SUPPLEMENTAL RETENTION APPLICATION AND
                        AMENDED HEARING NOTICE TO REFLECT
                        REMOTE ATTENDANCE AT HEARING (.2);
                        ARRANGE FOR ATTENDANCE AT HEARING
                        REMOTELY BY M. MARGULIES AND EMAILS TO
                        SAME (.1)
04/21/23   JG           ATTEND TO FINALIZING INTERIM                     0.30
                        COMPENSATION ORDERS FOR PROFESSIONALS
                        (.3).
04/24/23   KLB          REVISE AND FINALIZE PROPOSED ORDER               0.30
                        AWARDING FIRST INTERIM FEES TO SANCHEZ
                        FISCHER LEVINE AND FORMAT AND SUBMIT
                        SAME
04/24/23   KLB          REVISE AND FINALIZE PROPOSED ORDER               0.30
                        AWARDING FIRST INTERIM FEES TO QUARLES &
                        BRADY (.2): FORMAT AND SUBMIT PROPOSED
                        ORDER (.1)
04/24/23   KLB          ORGANIZE MONTHLY FEE STATEMENTS                  0.30
                        RECEIVED AND RESPOND TO EMAIL FROM K.
                        MCGUINNESS OF HURON REGARDING SAME
04/24/23   KLB          PREPARE NOTICE OF FILING TEXT SEARCHABLE         0.60
                        VERSION OF QUARLES & BRADY INTERIM FEE
                        APPLICATION AND FORMAT FIRST INTERIM FEE
                        APPLICATION TO PDF-A FORMAT (.5); EMAILS TO
                        AND FROM C. COMBEST WITH NOTICE AND TEXT
                        SEARCHABLE INTERIM FEE APPLICATION (.1)
04/24/23   KLB          FINALIZE, FORMAT AND E-FILE NOTICE OF            0.30
                        FILING OF TEXT-SEARCHABLE VERSION OF
                        QUARLES & BRADY INTERIM FEE APPLICATION
04/24/23   KLB          FINALIZE, FORMAT AND SUBMIT ORDER                0.30
                        AWARDING FIRST INTERIM FEES AND EXPENSES
                        OF BERGER SINGERMAN
04/24/23   KLB          REVISE, FINALIZE, FORMAT AND SUBMIT ORDER        0.20
                        AWARDING FIRST INTERIM FEES TO GRANT
                        THORNTON
04/24/23   KLB          EMAILS TO J. GUSO AND M. NILES WITH              0.10
                        PROPOSED ORDERS AWARDING FIRST INTERIM
                        FEES AND EXPENSES TO ROTHSCHILD AND
                        LATHAM & WATKINS
04/26/23   MJN          REVIEW OBJECTION FILED BY J. OWOC TO             1.30
                        GRANT THORNTON SUPPLEMENTAL RETENTION
                        APPLICATION (.2); CORRESPOND WITH GRANT
                        THORNTON COUNSEL AND M. MARGULIES
                        REGARDING OBJECTION FILED BY JACK OWOC
                        (■5);
                        RESEARCH REGARDING THE SAME (.6)




                                                                                      19
           Case 22-17842-PDR      Doc 1683-1   Filed 07/21/23   Page 70 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                             PAGE: 20
                                                                     MATTER ID: 31679-0507

04/26/23   KLB         UPDATE FEE CHART TO REFLECT MONTHLY FEE          0.70
                       STATEMENTS RECEIVED FROM ESTATE
                       PROFESSIONALS
04/26/23   KLB         EMAILS REGARDING OBJECTION TO                    0.30
                       SUPPLEMENTAL APPLICATION TO EMPLOY
                       GRANT THORNTON AND ARRANGE FOR C.
                       STATHOPOULOS TO ATTEND HEARING (.2);
                        EMAILS TO AND FROM GRANT THORNTON
                        REPRESENTATIVES AND COUNSEL REGARDING
                        HEARING (.1)
04/26/23   KLB         REVISE AND FINALIZE ORDER AWARDING FIRST         0.30
                       INTERIM FEE APPLICATION OF ROTHSCHILD
                       AND FORMAT AND SUBMIT SAME
04/26/23   KLB         EMAILS WITH FEE ORDERS ON GRANT                  0.20
                       THORNTON APPLICATION, AND QUARLES &
                        BRADY APPLICATION (.1); EMAILS TO AND FROM
                       STRETTO REGARDING SERVICE OF ORDERS (.1)
04/26/23   KLB         PREPARE SEPARATE INDEX AND BINDER FOR            0.50
                       APRIL 27, 2023 HEARING ON SUPPLEMENTAL
                       APPLICATION TO EMPLOY GRANT THORNTON
                       AND EMAILS TO AND FROM Z. MORTON
                        REGARDING SAME
04/26/23   JG          CONFERENCE WITH GRANT THORNTON TEAM              0.90
                       RE OWOC OBJECTION TO SUPPLEMENTAL
                       RETENTION APPLICATION (.6); FOLLOW UP WITH
                       M. NILES RE SUPPLEMENTAL DECLARATION (.3).
04/27/23   KLB         FINALIZE, FORMAT AND SUBMIT ORDER                0.20
                       AWARDING FIRST INTERIM FEES AND EXPENSES
                       TO LATHAM & WATKINS, AND EMAILS TO AND
                        FROM J. GUSO REGARDING SAME
04/27/23   KLB         DISCUSSIONS WITH M. NILES REGARDING              0.80
                       ORDER CONTINUING HEARING ON GRANT
                       THORNTON SUPPLEMENTAL RETENTION
                       APPLICATION (.2); PREPARE PROPOSED ORDER
                       CONTINUING HEARING AND EMAILS TO M. NILES
                        (■6)

04/27/23   KLB         EMAILS TO ROTHSCHILD REGARDING ORDER             0.10
                       AWARDING FIRST INTERIM FEES AND EXPENSES
                       AND EMAILS TO AND FROM C. TARRANT OF
                        LATHAM & WATKINS REGARDING MONTHLY FEE
                       STATEMENT FOR MARCH 2023
04/27/23   MJN         CORRESPOND WITH M. MARGULIES REGARDING           0.40
                       SUPPLEMENTAL EMPLOYMENT APPLICATION.
04/28/23   MJN         PREPARE SUPPLEMENTAL DECLARATION (.4);           0.70
                       CORRESPOND WITH COUNSEL FOR GRANT
                       THORNTON REGARDING SUPPLEMENTAL
                        DECLARATION (.3)


                                                   SUB-TOTAL FEES:     35.00     15,228.00

                                   RATE SUMMARY




                                                                                     20
         Case 22-17842-PDR          Doc 1683-1   Filed 07/21/23   Page 71 of 105
VITAL PHARMACEUTICALS, INC., ET AL.                                                 PAGE: 21
                                                                       MATTER ID: 31679-0507

                                    RATE SUMMARY
         Kerry L. Burns              20.40   HOURS       295.00/HR         6,018.00
         Jordi Guso                   5.90   HOURS       750.00/HR         4,425.00
         Michael J. Niles             3.70   HOURS       550.00/HR         4,785.00
                            TOTAL    35.00




                                                                                       21
           Case 22-17842-PDR      Doc 1683-1         Filed 07/21/23   Page 72 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                   PAGE: 22
                                                                           MATTER ID: 31679-0509

                   A Berger singerman
                             201 E. Las Olas Blvd. Suite 1500
                             Fort Lauderdale, Florida 33301
                             f: (954) 525-9900 F (954) 523-2872
                                                 :


                               WWW.BERGERSINGERMAN.COM
                                        LIN# XX-XXXXXXX

VITAL PHARMACEUTICALS, INC., ET AL.
1600 N PARK DRIVE                                                         INVOICE DATE:05/15/23
WESTON, FL 33326                                                             INVOICE NO. 265423


CLAIMS ADMINISTRATION AND OBJECTION                                       MATTER ID: 31679-0509


PROFESSIONAL FEES RENDERED THROUGH 04/30/23                                HOURS
04/02/23   JG           MEMOS FROM AND TO G.METZFER RE                        0.20
                        ADMINISTRATIVE CLAIMS.
04/04/23   MJN          CORRESPOND WITH G.METZGER REGARDING                   0.30
                        PROOFS OF CLAIM.
04/05/23   JG           REVIEW OF CIRCLE K’S PROPOSED MOTION TO               0.20
                        ALLOW LATE FILED CLAIMS; MEMO FROM AND
                        TO G. METZGER RE SAME.
04/05/23   KLB          REVIEW EMAIL FROM J. WEICHSELBAUM                     0.30
                        REGARDING PREPARATION OF AGREED ORDER
                        RESOLVING MOTION TO ALLOW LATE CLAIM OF
                        J. WILLIAMS (.1); REVISE AND FORMAT
                        PROPOSED AGREED ORDER AND EMAIL TO J.
                        WEICHSELBAUM REGARDING SAME (.2)
04/05/23   MJN          CORRESPOND WITH LATHAM & WATKINS TEAM                 0.40
                        REGARDING AGREED ORDER ON LATE CLAIM.
04/05/23   MJN          REVIEW MOTIONS SET FOR HEARING ON APRIL               0.40
                        13, 2023 ON CLAIM RELATED MATTERS (.2);
                        PREPARE FOR HEARINGS (.2)
04/06/23   MJN          REVIEW MOTION FOR ADMINISTRATIVE CLAIM                0.50
                        (.2); REVIEW D&O POLICY REGARDING THE
                        SAME (.3).
04/07/23   MJN          REVIEW MOTION TO ALLOW LATE CLAIM AND                 0.70
                        MOTION TO ALLOW ADMINISTRATIVE EXPENSE
                        CLAIM (.3); CONDUCT RESEARCH REGARDING
                        THE SAME (.4)
04/10/23   MJN          REVIEW MOTION FOR ADMINISTRATIVE CLAIM                0.40
                        (.2); FOLLOW UP WITH DEBTOR TEAM
                        REGARDING THE SAME (.2)
04/10/23   MJN          CORRESPOND WITH CREDITOR'S COMMITTEE                  0.30
                        AND LUIS LUBERAS REGARDING RESOLUTION
                        OF CLAIMS.
04/10/23   JG           REVIEW AND REVISE AGREED ORDER ON                     0.20
                        KATHLEEN COLE'S ADMINISTRATIVE EXPENSE
                        CLAIM.
           Case 22-17842-PDR      Doc 1683-1   Filed 07/21/23   Page 73 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                             PAGE: 23
                                                                     MATTER ID: 31679-0509

04/11/23   JG          DRAFT AND REVISE PROPOSED STIPULATION            1.00
                        AND ORDER RESOLVING VS CARBONICS’ CURE
                        CLAIM; RETURN OF EQUIPMENT; REJECTION
                        DAMAGE CLAIM.
04/11/23   MJN         CORRESPOND WITH T.WRIGHT REGARDING               0.40
                        CLAIM AGAINST PHX FACILITY.
04/12/23   KLB         EMAILS REGARDING SUBMISSION OF AGREED            0.20
                        ORDER RESOLVING MOTION FOR ALLOWANCE
                        OF ADMINISTRATIVE EXPENSE CLAIM OF K.
                        COLE, AND HEARING SET FOR APRIL 13, 2023
04/13/23   KLB         TELEPHONE CALL WITH CLAIMANT REGARDING           0.20
                        FILED CLAIM AND STATUS OF CHAPTER 11 CASE
04/14/23   JG           MEMO FROM AND TO A. WERNICK RE ORDER ON         0.10
                        K. COLE APPLICATION FOR ALLOWANCE AND
                        PAYMENT OF ADMINISTRATIVE EXPENSE (.1)
04/17/23   MJN          REVIEW MOTION TO ALLOW LATE FILED CLAIM.        0.20
04/17/23   MJN          RESEARCH INTO 503(B)(9) CLAIMS (.3);            0.60
                        RESEARCH REGARDING DIOZ GROUP (.3).
04/17/23   KLB          REVIEW DOCKET REGARDING MATTERS                 0.60
                        SCHEDULED FOR HEARING ON APRIL 20, 2023,
                        AND EMAILS TO AND FROM M. NILES
                        REGARDING STATUS CONFERENCE SCHEDULED
                        WITH RESPECT TO SETTING OF PROCEDURES
                        FOR RECONCILIATION OF SECTION 503(B)(9)
                        CLAIMS (.3); GATHER PRIOR COURT ORDER AND
                        EMAILS REGARDING SECTION 503(B)(9) CLAIMS
                        FILED (.3)
04/17/23   KLB         TELEPHONE CONFERENCE WITH M. NILES              0.30
                        REGARDING 503(B)(9) CLAIMS AND REVIEW
                        CLAIMS REGISTER REGARDING CLAIMS OF DIOZ
                        GROUP
04/17/23   KLB         REVIEW EMAIL FROM A. GALVAN OF STRETTO          1.20
                        REGARDING SECTION 503(B)(9) CLAIMS AND
                        SPREADSHEET REGARDING SAME (.2);
                        DOWNLOAD AND ORGANIZE CLAIMS (.7); EMAILS
                        TO AND FROM M. NILES AND UPDATE BINDER
                        FOR UPCOMING HEARING TO INCLUDE SECTION
                        503(B)(9) CLAIMS (.3)
04/18/23   MJN         REVIEW MOTION TO ALLOW LATE FILED CLAIM          0.30
                        FILED BY FAEGRE DRINKER.
04/18/23   KLB         PREPARE BINDER OF SECTION 503(B)(9) CLAIMS       0.80
                        AND PREPARE INDEX TO SAME FOR APRIL 20,
                        2023 STATUS HEARING
04/18/23   KLB         EMAILS TO AND FROM STRETTO REGARDING             0.30
                        SERVICE OF ORDER, SECTION 503(B)(9) NOTICE
                        AND CLAIM FORM UPON CLAIMANT AND REVIEW
                        EMAIL FROM S. RODRIGUEZ REGARDING
                        STATUS OF PAYMENT
04/19/23   KLB         EMAILS TO AND FROM J. GUSO AND M. NILES          0.20
                        REGARDING STATUS CONFERENCE SET FOR
                        APRIL 20, 2023 TO CONSIDER PROCEDURE FOR




                                                                                     23
           Case 22-17842-PDR      Doc 1683-1    Filed 07/21/23   Page 74 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                              PAGE: 24
                                                                      MATTER ID: 31679-0509

                        ALLOWANCE AND RECONCILIATION OF SECTION
                        503(B)(9) CLAIMS, AND REVIEW EMAIL FROM
                        COURTROOM DEPUTY REGARDING SAME
04/19/23   JG           CALL FROM M. NILES RE 503(B)(9) STATUS           0.10
                        REPORT TO COURT.
04/19/23   MJN          REVIEW CORRESPONDENCE AND CLAIMS                0.70
                        REGARDING 503(B)((9) (.3); PREPARE FOR
                        HEARING (.4).
04/19/23   MJN          CONFERENCE CALL WITH CREDITORS'                 0.20
                        COMMITTEE COUNSEL REGARDING 503(B)(9)
                        CLAIMS.
04/22/23   JG           MEMO FROM A. GUPTA RE EMPLOYEE CLAIMS;           0.50
                        REVIEW OF WOLOV CLAIM AND EMPLOYMENT
                        AGREEMENT.
04/26/23   EMH          REVIEW AND ANALYZE WEBB & GERRITSEN,             0.40
                        INC.'S MOTION FOR ALLOWING LATE FILED
                        CLAIM
04/26/23   EMH          RESEARCH CASE LAW IN PREPARATION FOR             0.60
                        OBJECTION TO WEBB & GERRITSEN, INC.
                        MOTION FOR ALLOWING THE LATE FILED CLAIM
04/27/23   EMH          RESEARCH CASE LAW IN FURTHERANCE OF              1.10
                        PREPARING OBJECTION TO THE WEBB &
                        GERRITSEN, INC. MOTION FOR ALLOWING THE
                        LATE FILED CLAIM
04/27/23   EMH          ANALYZE RECENT DECISIONS IN FURTHERANCE          0.70
                        OF DRAFTING AN OBJECTION TO THE WEBB &
                        GERRITSEN, INC. MOTION FOR ALLOWING THE
                        LATE FILED CLAIM.
04/27/23   EMH          ANALYZE UPDATED COURT OPINIONS IN                1.10
                        FURTHERANCE OF DRAFTING AN OBJECTION TO
                        THE WEBB & GERRITSEN, INC. MOTION FOR
                        ALLOWING THE LATE FILED CLAIM.
04/27/23   EMH          PREPARE PRELIMINARY STATEMENT IN                0.30
                        RESPONSE IN OPPOSITION TO THE WEBB &
                        GERRITSEN, INC. MOTION FOR ALLOWING THE
                        LATE FILED CLAIM.
04/27/23   EMH          PREPARE BACKGROUND FACTUAL SECTION IN            0.60
                        RESPONSE IN OPPOSITION TO THE WEBB &
                        GERRITSEN, INC. MOTION FOR ALLOWING THE
                        LATE FILED CLAIM.
04/27/23   EMH          PREPARE THE LEGAL STANDARD GOVERNING            0.80
                        "EXCUSABLE NEGLECT" FOR ALLOWING LATE-
                        FILED CLAIMS IN RESPONSE TO THE WEBB &
                        GERRITSEN, INC. MOTION FOR ALLOWING THE
                        LATE FILED CLAIM.
04/27/23   EMH          PREPARE THE LEGAL ANALYSIS OF "NEGLECT"          0.80
                        IN THE RESPONSE IN OPPOSITION TO THE
                        WEBB & GERRITSEN, INC. MOTION FOR
                        ALLOWING THE LATE FILED CLAIM.
04/27/23   EMH          PREPARE THE LEGAL ANALYSIS FOR                   0.90
                        "EXCUSABLE" IN THE RESPONSE IN OPPOSITION




                                                                                      24
           Case 22-17842-PDR           Doc 1683-1   Filed 07/21/23   Page 75 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                   PAGE: 25
                                                                           MATTER ID: 31679-0509

                              TO THE WEBB & GERRITSEN, INC. MOTION FOR
                              ALLOWING THE LATE FILED CLAIM.
04/27/23   EMH                REVISE THE RESPONSE IN OPPOSITION TO THE        0.90
                              WEBB & GERRITSEN, INC. MOTION FOR
                              ALLOWING THE LATE FILED CLAIM BY ADDING
                              ADDITIONAL ASSERTIONS AND FOCUSING THE
                              LEGAL ARGUMENTS.


                                                         SUB-TOTAL FEES:     20.00        10,414.50

                                        RATE SUMMARY
           Kerry L. Burns                 4.10   HOURS       295.00/HR         1,209.50
           Jordi Guso                     2.30   HOURS       750.00/HR         1,725.00
           Erin M. Hoskins                8.20   HOURS       550.00/HR         4,510.00
           Michael J. Niles               5.40   HOURS       550.00/HR         2,970.00
                               TOTAL     20.00




                                                                                              25
           Case 22-17842-PDR      Doc 1683-1         Filed 07/21/23   Page 76 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                   PAGE: 26
                                                                           MATTER ID: 31679-0512

                   A Berger singerman
                             201 E. Las Olas Blvd. Suite 1500
                             Fort Lauderdale, Florida 33301
                             f: (954) 525-9900 F (954) 523-2872
                                                 :


                               WWW.BERGERSINGERMAN.COM
                                        LIN# XX-XXXXXXX

VITAL PHARMACEUTICALS, INC., ET AL.
1600 N PARK DRIVE                                                         INVOICE DATE:05/15/23
WESTON, FL 33326                                                             INVOICE NO. 265423


EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                  MATTER ID: 31679-0512


PROFESSIONAL FEES RENDERED THROUGH 04/30/23                                HOURS
04/02/23   MJN          CORRESPOND WITH DEBTOR TEAM REGARDING                 0.30
                        LEASE TERMINATION AND REJECTION.
04/03/23   MJN          REVIEW CONTRACT OBJECTION CHART (.3):                 1.30
                        REVIEW INDIVIDUAL OBJECTIONS (.6); REVISE
                        CONTRACT OBJECTION CHART (.4)
04/05/23   MJN          CORRESPOND WITH M. BOYER REGARDING                    0.20
                        REJECTION OF CERTAIN LEASES.
04/05/23   MJN          CORRESPOND WITH J. WIECHSELBAUM                       0.40
                        REGARDING LEASE EXTENSIONS.
04/05/23   MJN          CORRESPOND WITH G. METZGER REGARDING                  0.30
                        CIRCLE K.
04/06/23   MJN          CORRESPOND WITH N. MARINO REGARDING                   0.80
                        DOEHLER CONTRACT (.2); REVIEW AND REVISE
                        CONTRACT (.6).
04/06/23   MJN          REVIEW LANDLORD LISTING (.3); CORRESPOND              0.60
                        WITH LATHAM TEAM (.3).
04/06/23   MJN          REVIEW LEASE AMENDMENT AND MOTION TO                  0.50
                        APPROVE LEASE AMENDMENT.
04/07/23   MJN          CORRESPOND WITH G.METZGER REGARDING                   0.80
                        LEASE REJECTIONS AND EXECUTIONS POST­
                        PETITION.
04/07/23   MJN          CORRESPOND WITH N. MARINO REGARDING                   0.20
                        FIESTA.
04/07/23   MJN          CORRESPOND WITH M. BOYER REGARDING                    0.30
                        ALLY BANK.
04/10/23   MJN          CORRESPOND WITH S. PARKHURST REGARDING                0.20
                        LEASE REJECTIONS.
04/10/23   MJN          CORRESPOND WITH J.SCHWARTZ REGARDING                  0.40
                        ASSEMBLERS (.2); FOLLOW UP WITH S.
                        PARKHURST REGARDING THE SAME (.2)
04/10/23   KLB          REVIEW EMAILS REGRADING ADDITIONAL                    0.20
                        CONTRACTS TO REJECT AND DISCUSSIONS
                        WITH M. NILES
           Case 22-17842-PDR      Doc 1683-1   Filed 07/21/23   Page 77 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                              PAGE: 27
                                                                      MATTER ID: 31679-0512

04/11/23   KLB          REVIEW EMAILS REGARDING REJECTION OF             1.00
                        STATES LOGISTICS CONTRACT AND LEASE
                        WITH EVOX FL FOR PEMBROKE PINES, FL
                        PROPERTY (.2); PREPARE SEVENTH OMNIBUS
                        MOTION TO REJECT NON-RESIDENTIAL REAL
                        PROPERTY LEASE AND WAREHOUSE.
                        CONTRACT (.7); EMAILS TO AND FROM AND
                        TELEPHONE CONFERENCE WITH M. NILES
                        REGARDING REJECTION OF LEASE (.1)
04/11/23   MJN         CORRESPOND WITH S.PARKHURST REGARDING             0.40
                       LEASE REJECTIONS (.2); REVIEW AND REVISE.
                       SEVENTH MOTION TO REJECT (.2)
04/11/23   MJN         CORRESPOND WITH S. KNAPP REGARDING                0.30
                       NELSON MULLINS EXECUTORY CONTRACTS.
04/11/23   MJN         CORRESPOND WITH B. BUTLER REGARDING               0.30
                       CABOT PROPERTIES LEASE AMENDMENT.
04/11/23   MJN         CORRESPOND WITH J.PAUL REGARDING                  0.30
                       CONTRACT REJECTIONS.
04/11/23   MJN         CORRESPOND WITH DEBTOR REGARDING                  0.30
                       CHEP.
04/11/23   MJN         CORRESPOND WITH J.WEICHSELBAUM                    0.30
                       REGARDING LEASE REJECTIONS/ASSUMPTIONS.
04/12/23   KLB         PREPARE ORDER GRANTING SEVENTH                    0.80
                        OMNIBUS MOTION TO REJECT AND EMAILS TO
                       AND FROM M. NILES (.6); REVIEW EMAILS
                        REGARDING VACATING OF PREMISES IN
                        PEMBROKE PINES, FL AND ADDITIONAL
                        INFORMATION NEEDED FOR MOTION TO REJECT
                        (■2)

04/12/23   KLB         REVISE SEVENTH OMNIBUS MOTION TO REJECT          0.70
                        LEASES TO INCLUDE ADDITIONAL WAREHOUSE
                       CONTRACT (.5); REVISE PROPOSED ORDER
                       GRANTING SEVENTH OMNIBUS MOTION TO
                        REJECT AND EMAILS TO AND FROM M. NILES (.2)
04/12/23   KLB         REVIEW LEASE AND CONTRACTS SUBJECT OF            0.30
                       SEVENTH OMNIBUS MOTION TO REJECT AND
                       GATHER SERVICE ADDRESSES PER NOTICE
                       PROVISIONS, FOR SERVICE OF OMNIBUS
                       MOTION
04/12/23   MJN         REVIEW AND REVISE SEVENTH MOTION TO               0.50
                       REJECT LEASES (.3); CORRESPOND WITH
                       DEBTORS’ REPRESENTATIVES REGARDING THE
                       SAME (.2)
04/12/23   MJN         CORRESPOND WITH DEBTORS’                          0.30
                       REPRESENTATIVES REGARDING FIRST
                       AMENDMENT TO CABOT LEASE.
04/12/23   MJN         REVIEW UPDIKE WAREHOUSE AGREEMENT (.2);           0.40
                       REVIEW REVISED REJECTION MOTION (.2)
04/12/23   MJN         CORRESPOND WITH S. MILLER REGARDING               0.30
                       CHEP (.1). FOLLOW UP WITH THE DEBTORS’
                       REPRESENTATIVES REGARDING THE SAME (.2).




                                                                                      27
           Case 22-17842-PDR      Doc 1683-1    Filed 07/21/23   Page 78 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                              PAGE: 28
                                                                      MATTER ID: 31679-0512

04/13/23   MJN         CORRESPOND WITH COUNSEL FOR                       0.80
                        ASSEMBLERS (.5); FOLLOW UP WITH THE S.
                        PARKHURST REGARDING THE SAME (.3)
04/13/23   MJN         CORRESPOND WITH S. SOLOMON REGARDING              0.20
                        FIESTA WAREHOUSE.
04/13/23   JG          MEMO FROM G. METZGER RE THREATENED                0.30
                        EVICTION FROM SHERIDAN A PROPERTY;
                        REVIEW OF LEASE AGREEMENT.
04/13/23   MJN         REVIEW AND REVISE MOTION TO EXTEND                0.60
                        ASSUMPTION/REJECTION (.4); CORRESPOND
                        WITH LATHAM & WATKINS WATKINS REGARDING
                        THE SAME (.2)
04/14/23   EMH         RESEARCH RECENT CASE LAW CONSIDERING A            1.10
                        LEASE RENEWED POST-PETITION AND THE
                        APPLICATION OF 11 U.S.C. 365 TO THE LEASE.
04/14/23   EMH         PREPARE ANALYSIS OF RECENT CASE LAW               0.40
                        DISCUSSING APPLICATION OF 11 U.S.C. 365 TO
                        AN AUTOMATICALLY RENEWED LEASE.
04/14/23   KLB         REVIEW EMAILS REGARDING FILING OF MOTION          0.20
                        TO EXTEND DEADLINE TO ASSUME OR REJECT
                        LEASES, HEARING DATE FOR SAME, ETC.
04/14/23   JG          REVIEW OF CASES ON ABILITY TO ASSUME OR           0.50
                        REJECT LEASE OF NON-RESIDENTIAL REAL
                        PROPERTY WHERE LEASE AUTOMATICALLY
                        RENEWS POST-PETITION
04/14/23   MJN         CORRESPOND WITH S. SOLOMON REGARDING              0.30
                        FIESTA AND KRIER EXECUTORY CONTRACTS
04/14/23   MJN         CORRESPOND WITH J. PAUL REGARDING CABOT           0.30
                        LEASE AMENDMENT.
04/16/23   MJN         CORRESPOND WITH LATHAM & WATKINS                  0.40
                        REGARDING EXTENSION MOTION (.3); FOLLOW
                        UP WITH UST REGARDING THE SAME (.1)
04/17/23   MJN         CORRESPOND WITH LATHAM & WATKINS TEAM             0.40
                        REGARDING LEASES.
04/17/23   MJN         REVIEW AND REVISE 365(D)(4) MOTION (.5);          0.70
                        CORRESPOND WITH LATHAM WATKINS TEAM
                        REGARDING THE SAME (.2)
04/17/23   MJN         CORRESPOND WITH B. BUTLER REGARDING               0.30
                        LEASE AMENDMENT.
04/17/23   MJN         RESEARCH REGARDING 365(D)(4) MOTIONS.             0.60
04/17/23   KLB         REVIEW EMAILS REGARDING REVISED MOTION            0.20
                        TO EXTEND TIME TO ASSUME OR REJECT
                        LEASES AND DISCUSSIONS WITH M. NILES
                        REGARDING FILING OF SAME


04/17/23   KLB          REVIEW EMAIL FROM J.WEICHSELBAUM                 0.30
                        REGARDING ASSUMPTION OF EXECUTORY
                        CONTRACTS AND LEASES (.1); DISCUSSIONS
                        WITH M. NILES AND REVIEW EMAILS REGARDING
                        SAME (.2)




                                                                                      28
           Case 22-17842-PDR      Doc 1683-1    Filed 07/21/23   Page 79 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                              PAGE: 29
                                                                      MATTER ID: 31679-0512

04/18/23   MJN          REVIEW UPDATED LANDLORD SPREADSHEET              0.30
                        (.2); CORRESPOND WITH J.WEICHSELBAUM
                        REGARDING ASSUMPTION MOTIONS (.1).
04/18/23   KLB          REVIEW EMAILS REGARDING ASSUMPTION OF            0.20
                        LEASES, PREPARATION OF MOTION TO ASSUME,
                        ETC.
04/18/23   MJN          CORRESPOND WITH J. WEICHSELBAUM                  0.40
                        REGARDING LEASE REJECTIONS AND
                        ASSUMPTIONS.
04/18/23   MJN          CORRESPOND WITH J. JOHN AND S.                   0.20
                        PARKHURST REGARDING ASSEMBLERS.
04/18/23   KLB          EMAILS REGARDING SERVICE OF VARIOUS              0.20
                        HEARING NOTICES REGARDING LEASE
                        RELATED MOTIONS
04/18/23   JG           DRAFT AND REVISE LETTER TO D. MELVILLE RE        0.20
                        ELECTION NOT TO RENEW LEASE ON SHERIDAN
                        A PROPERTY (.3);
04/19/23   MJN          PREPARE MOTION TO ASSUME TARO PATCH              0.90
                        LEASE (.6); CORRESPOND WITH J.
                        WEICHSELBAUM AND K. BURNS REGARDING
                        THE SAME (.3)
04/19/23   KLB          EMAILS REGARDING ASSUMPTION OF LEASES,           0.20
                        DEADLINE TO FILE MOTIONS TO ASSUME, ETC.
04/19/23   KLB          ATTEND CALL WITH M. NILES AND J.                 0.30
                        WEICHSELBAUM TO DISCUSS PROCESS FOR
                        FILING MOTION TO ASSUME CERTAIN LEASES
                        AND TO REJECT LEASES
04/19/23   KLB          REVISE MOTION TO ASSUME LEASE WITH TARO          0.50
                        PATCH HOLDINGS AND REVISE PROPOSED
                        ORDER GRANTING SAME
04/19/23   KLB          REVISE AND FINALIZE MOTION TO ASSUME             0.70
                        LEASE WITH TARO PATCH HOLDINGS AND
                        COMPILE ATTACHMENTS TO SAME (.3); FORMAT
                        AND E-FILE MOTION AND GATHER SERVICE
                        ADDRESSES FROM LEASE (.3); EMAILS TO AND
                        FROM STRETTO REGARDING SERVICE OF FILED
                        MOTION TO ASSUME (.1)
04/19/23   MJN          CORRESPOND WITH J.WEICHSELBAUM AND               0.40
                        L.BURTON REGARDING LEASES.
04/19/23   MJN          CORRESPOND WITH B. BUTLER REGARDING              0.30
                        LEASE AMENDMENT,
04/19/23   MJN          CORRESPOND WITH S. SOLOMON REGARDING             0.80
                        REJECTION OF FIESTA AND KRIER LEASES (.3):
                        REVIEW KRIER CONTRACT REGARDING
                        STORAGE PAYMENTS AND FOLLOW UP WITH
                        HURON TEAM REGARDING THE SAME (.5)
04/20/23   MJN          REVIEW LEASE EXTENSION STIPULATION (.2);         0.60
                        CORRESPOND WITH J. WEICHSELBAUM
                        REGARDING POTENTIAL MOTION AND OTHER
                        REJECTION/ASSUMPTION ISSUES (.4)




                                                                                      29
           Case 22-17842-PDR      Doc 1683-1   Filed 07/21/23   Page 80 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                             PAGE: 30
                                                                     MATTER ID: 31679-0512

04/20/23   MJN          REVIEW AND REVISE STIPULATIONS;                0.50
                        CORRESPOND WITH J. WEICHSELBAUM
                        REGARDING MOTION TO APPROVE
                        STIPULATIONS.
04/20/23   MJN          CORRESPOND WITH S. SOLOMON REGARDING            0.30
                        KRIER WAREHOUSE AGREEMENT AND
                        REJECTION HEARING.
04/20/23   JG           CALL WITH LATHAM & WATKINS RE UPCOMING          0.30
                        DEADLINES, INCLUDING ASSUMPTION DEADLINE
                        (■3)
04/21/23   KLB          TELEPHONE CONFERENCE WITH M. NILES             0.70
                        REGARDING MOTION TO AMEND LEASE AND
                        REVISE MOTION (.3); REVISE AND FORMAT
                        PROPOSED ORDER GRANTING MOTION TO
                        AMEND LEASE AND DISCUSSIONS WITH M.
                        NILES (.3); REVIEW EMAILS TO AND FROM
                        COUNSEL FOR LANDLORD REGARDING
                        REVISION TO MOTION (.1)
04/21/23   KLB          EFILE JOINT MOTION TO AMEND LEASE AND           0.30
                        EMAILS TO AND FROM STRETTO REGARDING
                        SERVICE
04/21/23   KLB          REVIEW NUMEROUS AMENDED HEARING                0.30
                        NOTICES WITH RESPECT TO REMOTE HEARING
                        ON OMNIBUS MOTIONS TO REJECT LEASES,
                        AND MULTIPLE EMAILS TO AND FROM STRETTO
                        REGARDING SERVICE
04/21/23   KLB          EMAILS FROM M, NILES REGARDING REJECTION        0.10
                        OF PEMBROKE PINES LEASE AND EMAILS TO J.
                        WEICHSELBAUM REGARDING REJECTION
                        MOTION AND ORDER
04/21/23   MJN          CORRESPOND WITH J. ENRIGHT REGARDING           0.30
                        LEASE ASSUMPTION.
04/21/23   MJN          CORRESPOND WITH B. BUTLER REGARDING             0.50
                        LEASE AMENDMENT AND ASSUMPTION (.3);
                        REVISE LEASE AMENDMENT MOTION (.2)
04/21/23   MJN          CORRESPOND WITH J. WEICHSELBAUM                 0.30
                        REGARDING REXFORD STIPULATION.
04/21/23   MJN          CORRESPOND WITH S. PARKHURST AND TEAM           0.40
                        REGARDING CADILLAC REPO
04/21/23   MJN          CORRESPOND WITHJ. WEICHSELBAUM                  0.30
                        REGARDING LEASE REJECTIONS.
04/23/23   MJN          CORRESPOND WITH DEBTOR TEAM REGARDING           0.20
                        REJECTION OF CERTAIN CONTRACTS.
04/24/23   KLB          REVIEW EMAIL FROM M. GLUHANECH OF HURON         0.30
                        REGARDING STATUS OF LEASE REJECTION AND
                        VACATING OF PREMISES (.2); REVIEW
                        RESPONSES FROM M. NILES TO QUESTIONS OF
                        HURON RELATING TO LEASE REJECTION AND
                        ABANDONMENT OF REMAINING PERSONAL
                        PROPERTY (.1)
04/24/23   KLB          REVIEW EMAIL REGARDING COMMENTS TO              0.20




                                                                                     30
           Case 22-17842-PDR      Doc 1683-1    Filed 07/21/23   Page 81 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                               PAGE: 31
                                                                       MATTER ID: 31679-0512

                        PROPOSED ORDERS ON LEASE REJECTIONS
                        AND ADDITIONAL LANGUAGE TO INCLUDE IN
                        ORDER
04/24/23   KLB          DISCUSSIONS WITH M. NILES REGARDING               0.90
                        REQUEST TO CONTINUE HEARING ON MOTION
                        FOR ORDER RULING ON 365 (.1); DRAFT AGREED
                        EX PARTE MOTION TO CONTINUE HEARING AND
                        EMAILS TOM. NILES (.8)
04/24/23   MJN          REVIEW STATUS OF LEASE ISSUES (.4);               0.60
                        CORRESPOND WITH J.WEICHSELBAUM
                        REGARDING THE SAME.
04/24/23   MJN          REVIEW LEASE EXTENSION STIPULATIONS FOR           0.40
                        SIGNATURE.
04/24/23   MJN          CORRESPOND WITH S.SOLOMON REGARDING               0.20
                        REVISED REJECTION LANGUAGE.
04/24/23   MJN          CORRESPOND WITH M. GLUHANICH REGARDING            0.40
                        LEASE REJECTIONS.
04/24/23   MJN          REVISE MOTION TO REQUEST CONTINUATION             0.30
                        OF HEARING ON 365(D)(4)
04/24/23   MJN          REVIEW REVISIONS TO BUCKEYE STIPULATION;          0.30
                        CORRESPOND WITH J. WEICHSELBAUM
                        REGARDING THE SAME.
04/24/23   MJN          RESEARCH REGARDING STAY RELIEF AND                0.80
                        EXPIRATION OF LEASES
04/24/23   MJN          ADDITIONAL RESEARCH REGARDING FLORIDA             0.60
                        LEASE ISSUES.
04/25/23   KLB          ARRANGE FOR M. NILES AND J. GUSO TO               0.20
                        ATTEND APRIL 27, 2023 HEARING ON LEASE AND
                        CONTRACT REJECTION MOTIONS AND EMAILS
                        REGARDING SAME
04/25/23   KLB          REVIEW COMMENTS TO PROPOSED ORDER ON              0.50
                        KRIER LEASE REJECTION AND REVISE
                        PROPOSED ORDER GRANTING REJECTION (.3);
                        EMAILS TO AND FROM M. NILES REGARDING
                        REVISIONS TO PROPOSED ORDER (.2)
04/25/23   KLB          GATHER PLEADINGS FOR APRIL 27, 2023               0.80
                        HEARING AND PREPARE E-BINDER FOR SAME
04/25/23   KLB          PREPARE PROPOSED AGREED ORDER                     0.70
                        GRANTING MOTION TO CONTINUE HEARING ON
                        DEBTORS' MOTION FOR ORDER RULING
                        SECTION 365 AS AMENDED APPLIES TO
                        DEADLINE TO ASSUME OR REJECT LEASES (.6);
                        EMAILS TO AND FROM M. NILES REGARDING
                        ORDER AND STATUS OF FINALIZING MOTION (.1)
04/25/23   KLB          DISCUSSIONS WITH AND REVIEW EMAILS FROM           0.20
                        M. NILES REGARDING STATUS OF FILING OF
                        MOTION TO CONTINUE APRIL 27, 2023 HEARING
04/25/23   KLB          REVISE AND FINALIZE AGREED MOTION TO              0.70
                        CONTINUE APRIL 27, 2023 HEARING (.2); REVISE
                        PROPOSED ORDER AND FORMAT AND E-FILE
                        MOTION (.2); EMAILS TO STRETTO REGARDING




                                                                                       31
           Case 22-17842-PDR      Doc 1683-1   Filed 07/21/23   Page 82 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                             PAGE: 32
                                                                     MATTER ID: 31679-0512

                        SERVICE OF MOTION, AND FINALIZE, FORMAT
                        AND SUBMIT PROPOSED AGREED ORDER (.3)
04/25/23   MJN         CORRESPOND WITH COUNSEL FOR COMMITTEE            0.20
                        REGARDING MOTION TO CONTINUE HEARING
                        ON 365(B)(4) EXTENSION.
04/25/23   MJN         RESEARCH REGARDING 362(B)(10) (.3);              0.60
                        CORRESPOND WITH J. GUSO REGARDING
                        LEASE ISSUES. (.3)
04/25/23   MJN         CORRESPOND WITH J.ENRIGHT REGARDING              0.30
                        LEASE EXTENSION; REVIEW STIPULATION.
04/25/23   MJN         CORRESPOND WITH HURON AND LATHAM &               0.60
                        WATKINS TEAMS REGARDING CERTAIN LEASE
                        REJECTIONS.
04/26/23   MJN         REVIEW OBJECTION REGARDING CADILLAC (.2);        0.50
                        RESEARCH REGARDING REJECTION EFFECTIVE
                        DATE (.3).
04/26/23   MJN         FOLLOW UP WITH J. WEICHSELBAUM AND               0.80
                        HURON TEAM REGARDING LEASES AND LEASE
                        EXTENSIONS.
04/26/23   MJN         PREPARE FOR HEARINGS ON APRIL 27, 2023 ON        0.50
                        LEASE REJECTION MOTIONS
04/26/23   MJN         CORRESPOND WITH S. SOLOMON REGARDING             0.50
                        PROPOSED ORDER ON REJECTIONS OF KRIER
                        AND FIESTA MOTION (.3); REVISE ORDER (.2)
04/26/23   MJN         REVIEW LEASE AND SUBLEASE AGREEMENT              0.40
                        FOR BROOKSHIRE BLVD NC.
04/26/23   KLB         MULTIPLE EMAILS REGARDING FILING OF              0.20
                       AGREED MOTION TO CONTINUE APRIL 27, 2023
                        HEARING ON MOTION FOR RULING REGARDING
                        SECTION 365 AS AMENDED APPLYING TO THE
                        DEADLINE TO ASSUME OR REJECT LEASES, AND
                        CONTINUED HEARING
04/26/23   KLB         UPDATE E-BINDER FOR APRIL 27, 2023 HEARING       0.60
                        ON LEASE REJECTION MOTION AND CIRCULATE
                        SAME
04/26/23   KLB         REVIEW RESPONSE BY GM FINANCIAL TO               0.30
                        MOTION TO REJECT VEHICLE LEASE (.1);
                        UPDATE PROPOSED ORDER GRANTING MOTION
                        TO REJECT LEASE (.2)
04/26/23   JG          CONFERENCE WITH S. PARKHURST RE:                 0.50
                        OPTIONS WITH RESPECT TO SHERIDAN A
                        LOCATION; REJECTION OF EQUIPMENT LEASES.
04/27/23   KLB         REVISE ORDER GRANTING MOTION TO REJECT           0.40
                        GM FINANCIAL LEASE
04/27/23   KLB         REVISE, FINALIZE, FORMAT AND SUBMIT ORDER        0.20
                        GRANTING FIFTH MOTION TO REJECT LEASES
04/27/23   JG          REVIEW OF ORDER APPROVING REJECTION OF           0.20
                        LEASES; MEMO FROM AND TO C. THOMPSON RE
                        REJECTION OF VEHICLE LEASE.
04/27/23   MJN         CORRESPOND WITH J. WEICHSELBAUM AND M.           0.80




                                                                                     32
           Case 22-17842-PDR           Doc 1683-1   Filed 07/21/23   Page 83 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                  PAGE: 33
                                                                          MATTER ID: 31679-0512

                              GLUHANICH REGARDING OUTSTANDING LEASES
                              AND EXTENSIONS.
04/27/23   MJN            FOLLOWUP WITH B.SHRAIBERG AND                      0.20
                           C.THOMPSON REGARDING PROPOSED ORDER
                           ON REJECTION OF GE VEHICLE LEASE.
04/27/23   JG             PREPARE FOR AND ATTEND APRIL 27 COURT              1.00
                           HEARINGS ON LEASE REJECTION MOTIONS (1.0).
04/28/23   MJN            FINALIZE ORDERS FROM HEARING ON APRIL 27,          0.40
                           2023 ON LEASE REJECTION MOTIONS
04/28/23   MJN            REVIEW AND REVISE SEVENTH REJECTION                0.50
                           MOTION (.3); CORRESPOND WITH HURON TEAM
                           REGARDING THE SAME (.2).
04/28/23   MJN            CORRESPOND WITH S. SOLOMON REGARDING               0.20
                           REJECTION MOTION.
04/28/23   MJN            FURTHER REVISE PROPOSED ORDERS ON                  0.30
                           LEASE REJECTIONS (.2); CORRESPOND WITH
                           OPPOSING COUNSEL REGARDING THE SAME
                              (.1).
04/28/23   MJN            REVIEW AND REVISE REJECTION MOTION (.3);           0.40
                           CORRESPOND WITH M. GLUHANICH REGARDING
                           THE SAME (.1).
04/28/23   KLB            REVIEW EMAILS REGARDING REJECTION OF               0.80
                           LEASES AND INCLUSION OF ADDITIONAL LEASE
                           FOR REJECTION. EFFECTIVE AS OF JULY 1,2023
                           (.2); UPDATE MOTION AND PROPOSED ORDER
                           AND EMAILS TO M. NILES (.6)
04/28/23   KLB            REVIEW MULTIPLE EMAILS TO AND FROM B.              0.70
                           SHRAIBERG, S. WILKES, ETC. REGARDING
                           LEASE REJECTION AND LANGUAGE FOR
                           INCLUSION IN ORDER (.2); REVISE ORDER
                           GRANTING MOTION TO REJECT LEASE WITH GM
                           FINANCIAL LEASING (.4); EMAILS TO AND FROM
                           M. NILES (.1)
04/28/23   JG             CALL FROM B. SHRAIBERG RE TURNOVER OF              0.40
                           PERSONAL PROPERTY (.2); MEMOS FROM AND
                           TO MR. WILKES RE SAME (.2).


                                                        SUB-TOTAL FEES:     51.60         25,260.50

                                       RATE SUMMARY
           Kerry L. Burns               14.90   HOURS       295.00/HR          4,395.50
           Jordi Guso                    3.40   HOURS       750.00/HR          2,550.00
           Erin M. Hoskins               1.50   HOURS       550.00/HR            825.00
           Michael J. Niles             31.80   HOURS       550.00/HR         17,490.00
                               TOTAL    51.60




                                                                                              33
           Case 22-17842-PDR      Doc 1683-1         Filed 07/21/23   Page 84 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                   PAGE: 34
                                                                           MATTER ID: 31679-0517

                   A Berger singerman
                             201 E. Las Olas Blvd. Suite 1500
                             Fort Lauderdale, Florida 33301
                             f: (954) 525-9900 F (954) 523-2872
                                                 :


                               WWW.BERGERSINGERMAN.COM
                                        LIN# XX-XXXXXXX

VITAL PHARMACEUTICALS, INC., ET AL.
1600 N PARK DRIVE                                                         INVOICE DATE:05/15/23
WESTON, FL 33326                                                             INVOICE NO. 265423


SETTLEMENT AND COMPROMISE                                                 MATTER ID: 31679-0517


PROFESSIONAL FEES RENDERED THROUGH 04/30/23                                HOURS
04/02/23   JG           REVIEW OF SETTLEMENT PROPOSAL AND SIDE                1.60
                        LETTER FROM MONSTER (.4); CALL WITH
                        ADVISORY TEAM RE SAME AND RE BUYER
                        EVALUATION (1.2).
04/04/23   JG           REVIEW OF FIRST DRAFT OF MARCH MADNESS                0.30
                        SETTLEMENT AND RELEASE AGREEMENT (.2);
                        MEMO TO G. ECKHOUSE RE SAME (.1).
04/07/23   MJN          REVIEW FINALIZED GPI CV AGREEMENT.                    0.30
04/11/23   JG           REVIEW OF MARCH MADNESS AGREEMENT;                    0.20
                        MEMO TO G. ECKHOUSE RE SAME.
04/11/23   MJN          CORRESPOND WITH A. ARIELLE REGARDING                  0.20
                        SETTLEMENT PROCEDURES AND POTENTIAL
                        SETTLEMENT.
04/11/23   MJN          CORRESPOND WITH G.METZGER REGARDING                   0.20
                        BRIGHTFRACTAL SETTLEMENT.
04/14/23   MJN          CORRESPOND WITH COMMITTEE AND DEBTOR                  0.30
                        REGARDING BRIGHTFRACTAL AGREEMENT.
04/14/23   MJN          FOLLOW UP CORRESPONDENCE WITH G.                      0.30
                        METZGER REGARDING SETTLEMENT
                        AGREEMENTS.
04/25/23   MJN          CORRESPOND WITH A. QUARTAROLO                         0.30
                        REGARDING SETTLEMENT AGREEMENT.
04/26/23   MJN          CORRESPOND WITH UCC REGARDING EUROPA                  0.30
                        SPORTS SETTLEMENT.
04/27/23   MJN          REVIEW SETTLEMENT AGREEMENT (.3);                     0.60
                        CORRESPOND WITH G.METZGER REGARDING
                        THE SAME (.3)
04/30/23   MJN          REVIEW CORRESPONDENCE REGARDING                       0.40
                        BRIGHTFRACTAL/EUROPA/INTRASTATE
                        RESOLUTIONS. .


                                                        SUB-TOTAL FEES:       5.00      3,170.00
         Case 22-17842-PDR          Doc 1683-1   Filed 07/21/23   Page 85 of 105
VITAL PHARMACEUTICALS, INC., ET AL.                                                 PAGE: 35
                                                                       MATTER ID: 31679-0517

                                    RATE SUMMARY
         Jordi Guso                   2.10   HOURS       750.00/HR         1,575.00
         Michael J. Niles             2.90   HOURS       550.00/HR         1,595.00
                            TOTAL     5.00




                                                                                       35
            Case 22-17842-PDR             Doc 1683-1       Filed 07/21/23   Page 86 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                         PAGE: 36
                                                                                 MATTER ID: 31679-0518

                      A Berger singerman
                                     201 E. Las Olas Blvd. Suite 1500
                                     Fort Lauderdale, Florida 33301
                                     f: (954) 525-9900 F (954) 523-2872
                                                       :


                                       WWW.BERGERSINGERMAN.COM
                                             LIN# XX-XXXXXXX

VITAL PHARMACEUTICALS, INC., ET AL.
1600 N PARK DRIVE                                                               INVOICE DATE:05/15/23
WESTON, FL 33326                                                                   INVOICE NO. 265423


PLAN AND DISCLOSURE STATEMENT                                                   MATTER ID: 31679-0518


PROFESSIONAL FEES RENDERED THROUGH 04/30/23                                      HOURS
04/04/23   JG                 REVIEW ELEVENTH CIRCUIT CASES ON                      1.00
                              STANDARDS FOR CRAMDOWN OF JOINT,
                              MULTIPLE DEBTOR PLANS.
04/13/23   MJN                REVIEW AND REVISE MOTION TO EXTEND                    0.30
                              EXCLUSIVITY (.3)
04/14/23   KLB                REVIEW EMAILS REGARDING FILING OF SECOND              0.80
                              MOTION TO EXTEND EXCLUSIVITY (.2); REVISE
                              AND FINALIZE MOTION AND EMAILS TO AND
                              FROM J. GUSO REGARDING FILING OF SAME (.3);
                              FORMAT AND E-FILE MOTION TO EXTEND
                              EXCLUSIVITY AND EMAILS TO AND FROM
                              STRETTO TEAM REGARDING SERVICE (.3)
04/14/23   MJN                REVIEW PLAN EXCLUSIVITY MOTION FOR FILING             0.30
                              (■3)
04/18/23   KLB                EMAILS TO AND FROM COURTROOM DEPUTY                   0.20
                              REGARDING SECOND MOTION TO EXTEND
                              EXCLUSIVITY AND REQUEST FOR HEARING ON
                              MAY 4, 2023 AND FILING OF EXTENSION MOTION
                              REGARDING ASSUMPTION AND REJECTION OF
                              LEASES AND HEARING


                                                              SUB-TOTAL FEES:       2.60        1,375.00

                                           RATE SUMMARY
           Kerry L. Burns                    1.00    HOURS         295.00/HR           295.00
           Jordi Guso                        1.00    HOURS         750.00/HR           750.00
           Michael J. Niles                  0.60    HOURS         550.00/HR           330.00
                               TOTAL         2.60
            Case 22-17842-PDR     Doc 1683-1         Filed 07/21/23   Page 87 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                   PAGE: 37
                                                                           MATTER ID: 31679-0527

                   A Berger singerman
                             201 E. Las Olas Blvd. Suite 1500
                             Fort Lauderdale, Florida 33301
                             f: (954) 525-9900 F (954) 523-2872
                                                 :


                               WWW.BERGERSINGERMAN.COM
                                        LIN# XX-XXXXXXX

VITAL PHARMACEUTICALS, INC., ET AL.
1600 N PARK DRIVE                                                         INVOICE DATE:05/15/23
WESTON, FL 33326                                                             INVOICE NO. 265423


LITIGATION CONSULTING                                                     MATTER ID: 31679-0527


PROFESSIONAL FEES RENDERED THROUGH 04/30/23                                HOURS
04/02/23   JG           REVIEW OF TRANSCRIPT IN VPX V. MONSTER                0.50
                        (.3); REVIEW OF MEMO FROM A. QUARTAROLO
                        RE SAME (.2).
04/03/23   KLB          REVIEW EMAILS REGARDING STATEMENT OF                  0.70
                        UNDISPUTED MATERIAL FACTS (.1); PREPARE
                        STATEMENT OF FACTS AND EMAILS TO J. GUSO
                        AND LATHAM TEAM REGARDING SAME (.6)
04/03/23   KLB          FINALIZE, FORMAT AND E-FILE STATEMENT OF              0.30
                        UNDISPUTED MATERIAL FACTS AND EMAILS TO
                        STRETTO TEAM REGARDING SERVICE
04/03/23   JG           MEMO FROM AND TO A. QUARTAROLO RE                     0.60
                        SUMMARY JUDGMENT MOTION IN OWOC
                        ADVERSARY PROCEEDING (.1); CALL FROM G.
                        METZGER RE MONSTER WITHDRAWAL OF THE
                        REFERENCE AND STATUS OF CONSENT (.2);
                        CALL WITH A. SORKIN RE STATUS OF
                        DISCUSSIONS WITH MONSTER AND FEEDBACK
                        FROM BIDDERS ON PROPOSAL (.3).
04/04/23   MJN          ATTEND UCC INTERVIEW.                                 1.50
04/04/23   KLB          GATHER DOCUMENTS FOR APRIL 6, 2023                    0.80
                        HEARING ON EXPEDITED MOTION TO COMPEL
                        OWOCS TO COMPLY WITH DISCOVERY
                        REQUESTS AND PREPARE E-BINDER FOR SAME
04/05/23   JG           MEMO TO B. SHRAIBERG OUTLINING MATERIAL               0.20
                        TERMS OF PROPOSED RESOLUTION OF TRO (.2).
04/05/23   KLB          UPDATE E-BINDER FOR APRIL 6, 2023 HEARING             0.40
                        AND EMAILS REGARDING SAME
04/05/23   KLB          PREPARE E-BINDER FOR APRIL 6, 2023 HEARING            0.40
                        ON MOTION TO COMPEL JACK AND MEG OWOC
                        TO PRODUCE DOCUMENTS
04/05/23   KLB          EMAILS TO AND FROM COURTROOM DEPUTY                   0.20
                        REGARDING ORDER SETTING BRIEFING
                        SCHEDULE AND HEARING ON MOTION FOR
                        SUMMARY JUDGMENT AGAINST J. AND M. OWOC
                        (.1); EMAILS TO AND FROM STRETTO
           Case 22-17842-PDR      Doc 1683-1   Filed 07/21/23   Page 88 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                             PAGE: 38
                                                                     MATTER ID: 31679-0527

                        REGARDING SERVICE OF ORDER (.1)
04/06/23   PA          REVIEW AND REVISE MOTION TO EXPEDITE             0.50
                        RULING ON MOTION TO WITHDRAW REFERENCE
                        (.30) FOLLOW-UP RESEARCH AND MEMO TO
                       JORDI GUSO (.20)
04/06/23   JG          REVIEW AND REVISE MOTION FOR EXPEDITED           1.40
                       CONSIDERATION OF MOTION TO WITHDRAW
                       THE REFERENCE; MEMO TO LATHAM TEAM RE
                       SAME (.4); CONFERENCE WITH A. SORKIN AND H.
                       MURTAGH RE SAME AND RE POTENTIAL
                       CONSENT TO WITHDRAWAL OF REFERENCE;
                       STRATEGY RE MONSTER (.5); ATTEND HEARING
                       ON MOTION FOR CONTEMPT AGAINST OWOC
                        (.5).
04/10/23   JG          CALL WITH A. QUARTOROLO AND G. METZGER           0.50
                        RE MONSTER LITIGATION AND SETTLEMENT
                        DISCUSSIONS (.2); REVIEW OF SOCIAL MEDIA
                        POST MADE BY MR. OWOC IN VIOLATION OF
                        STIPULATION AND COURT ORDER; CALL WITH A.
                        QUARTAROLO RE SAME AND RE RENEWED
                        MOTION FOR CONTEMPT (.3).
04/11/23   MJN         REVIEW MOTION FOR CONTEMPT AGAINST J.            0.30
                       OWOC AND ATTACHMENTS.
04/11/23   MJN         REVIEW AND REVISE CONTEMPT MOTION (.3);          0.50
                       CORRESPOND WITH LW TEAM REGARDING THE
                       SAME (.2)
04/12/23   JG          PREPARE FOR AND ATTEND EVIDENTIARY               4.80
                        HEARING ON MOTION FOR CONTEMPT (4.5);
                        FOLLOW UP CONFERENCE WITH LATHAM TEAM
                        RE SUPPLEMENTAL BRIEF IN SUPPORT OF
                        MOTION (.3).
04/12/23   KLB         REVIEW MULTIPLE EMAILS REGARDING FILING          0.10
                       OF EMERGENCY MOTION FOR EXPEDITED
                        DETERMINATION OF MOTION TO WITHDRAW
                        REFERENCE
04/12/23   KLB         FORMAT EMERGENCY MOTION FOR EXPEDITED            0.80
                        DETERMINATION OF MOTION TO WITHDRAW
                        REFERENCE AND FORMAT ALL EXHIBITS (.5); E-
                        FILE EMERGENCY MOTION AND EXHIBITS AND
                        EMAILS TO LATHAM AND WATKINS ATTORNEYS
                        REGARDING FILING OF MOTION (.3)
04/12/23   MJN         ATTEND HEARING ON DEBTORS' MOTION TO             2.50
                        COMPEL
04/12/23   MJN         ATTEND FOLLOW UP DISCUSSION WITH LATHAM          1.20
                        & WATKINS TO DISCUSS SUPPLEMENTAL BRIEF
                        (.4); RESEARCH REGARDING THE SAME (.8)
04/12/23   MJN         REVIEW MOTION TO EXPEDITE REGARDING              0.30
                        RULING ON MOTION TO WITHDRAW THE
                        REFERENCE (.2); CORRESPOND WITH LATHAM &
                       WATKINS REGARDING THE SAME (.1)
04/13/23   MJN         REVIEW SUPPLEMENTAL BRIEF REGARDING              0.50




                                                                                     38
           Case 22-17842-PDR      Doc 1683-1    Filed 07/21/23   Page 89 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                              PAGE: 39
                                                                      MATTER ID: 31679-0527

                        SOCIAL MEDIA POSTS AND STIPULATION.
04/13/23   JG           CALL WITH COUNSEL TO K. COLE RE APRIL 13         1.10
                        COURT HEARING (.2); PREPARE FOR AND
                        ATTEND APRIL 13 HEARINGS (.4); CALL WITH
                        CTO AND PROFESSIONAL TEAM RE INJUNCTION
                        (.5).
04/13/23   JG          REVIEW AND REVISE BRIEF IN SUPPORT OF             0.50
                        MOTION FOR CONTEMPT; CONFER WITH
                        LATHAM TEAM RE SAME (.3); FOLLOW UP
                        MEMOS TO AND FROM G. METZGER RE
                       ADDITIONAL POST BY MR. OWOC AND
                        SUPPLEMENT TO BRIEF (.2).
04/13/23   KLB         GATHER RESPONSE FILED BY MONSTER AND              0.20
                        ORANGE BANG AND EMAILS TO AND FROM
                        LATHAM & WATKINS TEAM WITH RESPONSE
04/14/23   KLB         REVIEW EMAIL REGARDING FILING OF                  0.70
                        SUPPLEMENTAL MEMO REGARDING CONTEMPT
                        MOTION (.1); COMPILE EXHIBITS TO
                        SUPPLEMENTAL MEMO AND FORMAT MEMO
                        FOR FILING (.4); E-FILE SUPPLEMENTAL MEMO
                       AND EMAILS TO STRETTO REGARDING SERVICE
                        (-2)
04/14/23   JG          REVIEW OF FINAL DRAFT OF SUPPLEMENTAL             0.50
                        BRIEF (.5);
04/14/23   MJN         REVIEW REVISED BRIEF AND PREPARE FOR              0.40
                        FILING (.3); CORRESPOND WITH E. MORRIS
                        REGARDING THE SAME (.1).
04/14/23   JG          CALL WITH C. DELO AND F. MCDONALD RE              0.30
                        SOCIAL MEDIA POSTINGS (.3).
04/15/23   JG          CONFERENCE WITH A. SORKIN RE STATUS OF            0.50
                        MATTERS WITH MONSTER; LENDER
                        INFORMATION REQUESTS AND UPCOMING
                        HEARINGS.
04/17/23   KLB         REVIEW DOCKETS OF ADVERSARY                       0.40
                        PROCEEDINGS REGARDING STATUS
                        CONFERENCES REFLECTED ON COURT'S
                        CALENDAR FOR APRIL 19, 2023 (.2); EMAILS TO
                       AND FROM J. GUSO AND EMAILS TO AND FROM
                        COURTROOM DEPUTY REGARDING SAME (.2)
04/18/23   MJN         CORRESPOND WITH ELIZABETH MORRIS                  0.20
                       REGARDING SUMMARY JUDGMENT REPLIES.
04/18/23   JG          MEET AND CONFER WITH B. SHRAIBERG AND A.          0.70
                       QUARTAROLO RE DEMAND FOR TURNOVER (.5);
                       MEMOS TO AND FROM G. METZGER AND A.
                       QUARTAROLO RE PROPOSED MONSTER
                       STIPULATION (.2).
04/19/23   JG          REVIEW OF OWOCS’ SUPPLEMENTAL BRIEF (.4);         0.60
                       MEMOS FROM AND TO L. COHEN RE KASSEN
                       SETTLEMENT DEMAND; INSURANCE COVERAGE
                        (.2).
04/21/23   KLB         REVIEW AMENDED HEARING NOTICE ON                  0.20




                                                                                      39
           Case 22-17842-PDR      Doc 1683-1   Filed 07/21/23    Page 90 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                              PAGE: 40
                                                                      MATTER ID: 31679-0527

                        MOTION FOR SUMMARY JUDGMENT (.1);
                        REVIEW EMAILS FROM H. MURTAGH AND
                        DISCUSSIONS WITH M. NILES REGARDING SAME
                        (.1)
04/21/23   KLB          REVISE AND FINALIZE PLAINTIFFS' REPLY IN         0.80
                        SUPPORT OF MOTION FOR SUMMARY
                        JUDGMENT AGAINST J. AND M. OWOC (.2);
                        FORMAT AND E-FILE REPLY (.1); REVISE AND
                        FINALIZE REPLY TO STATEMENT OF MATERIAL
                        FACTS AND FORMAT AND E-FILE SAME (.3);
                        REVISE, FINALIZE, FORMAT AND E-FILE
                        OBJECTIONS TO EVIDENCE OFFERED BY
                        DEFENDANTS IN SUPPORT OF THEIR RESPONSE
                        TO SUMMARY JUDGMENT MOTION (.2)
04/21/23   KLB         DISCUSSIONS WITH M. NILES REGARDING               0.10
                        HEARING ON MOTION FOR SUMMARY
                       JUDGMENT IN ADVERSARY PROCEEDING AND
                       ARRANGE FOR M. NILES TO ATTEND SAME
                        REMOTELY
04/21/23   MJN         REVIEW AND REVISE REPLY IN SUPPORT OF             0.90
                       SOCIAL MEDIA MOTION FOR SUMMARY
                       JUDGMENT AND ANCILLARY DOCUMENTS (.7);
                        PREPARE FOR FILING (.2).
04/21/23   MJN         CORRESPOND WITH DEBTORS’                          0.30
                        REPRESENTATIVES AND R. EMANUEL
                        REGARDING NOTICE OF DEFAULT FROM U.S
                        BANK.
04/21/23   JG          CONFERENCE WITH A. QUARTAROLO AND B.              0.50
                       SHRAIBERG RE SUMMARY JUDGMENT HEARING;
                       OPEN ISSUES ON DEMAND FOR TURNOVER,
04/21/23   JG          CALL FROM G. METZGER RE STATUS OF                 0.20
                        MOTION TO WITHDRAW REFERENCE;
                        PENDING ISSUES (.2)
04/24/23   EMH         ANALYZE RECENT CASE LAW AND CONTINUE              0.70
                        DRAFTING AN OBJECTION TO THE WEBB &
                        GERRITSEN, INC. MOTION FOR RELIEF FROM
                        STAY
04/24/23   KLB         GATHER PLEADINGS AND OTHER MATERIALS,             1.30
                       AND PREPARE EBINDER FOR APRIL 25, 2023
                        HEARING ON SUMMARY JUDGMENT MOTION
04/24/23   KLB         EMAILS REGARDING FILING OF EXHIBIT                0.20
                        REGISTER FOR APRIL 25, 2023 HEARING ON
                        MOTION FOR SUMMARY JUDGMENT IN VITAL V.
                        OWOC ADVERSARY PROCEEDING
04/24/23   KLB         REVIEW EMAILS REGARDING FILING OF EXHIBIT         0.20
                        REGISTER AND PROPOSED EXHIBITS FOR APRIL
                       25, 2023 HEARING ON MOTION FOR SUMMARY
                       JUDGMENT IN VITAL V. OWOC ADVERSARY
                        PROCEEDING
04/24/23   JG          CALL WITH A. QUARTAROLO RE SUMMARY                0.30
                       JUDGMENT HEARING AND DISCOVERY




                                                                                      40
           Case 22-17842-PDR      Doc 1683-1    Filed 07/21/23     Page 91 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                PAGE: 41
                                                                        MATTER ID: 31679-0527

                        REQUEST FROM COMMITTEE (.3);
04/24/23   MJN          REVIEW EXHIBIT BINDER AND BINDERS FOR              0.30
                        SUMMARY JUDGMENT HEARING.
04/24/23   MJN          CORRESPOND WITH QUARLES & BRADY TEAM               0.30
                        REGARDING STATUS UPDATE.
04/25/23   KLB          EMAILS REGARDING FILING OF EXHIBIT                 0.20
                        REGISTER AND EXHIBITS FOR APRIL 25, 2023
                        HEARING ON MOTION FOR SUMMARY
                        JUDGMENT
04/25/23   KLB          GATHER ADDITIONAL PAPERS SET FOR                   0.20
                        HEARING ON APRIL 25, 2023 AND EMAILS TO J.
                        GUSO AND M. NILES
04/25/23   KLB          EMAILS FROM AND TO W. MORLEY REGARDING             2.20
                        SUBMISSION OF EXHIBIT REGISTER AND
                        EXHIBITS FOR APRIL 25, 2023 HEARING ON
                        SUMMARY JUDGMENT MOTION (.2); REVISE,
                        FINALIZE AND FORMAT EXHIBIT REGISTER (.3);
                        FORMAT EXHIBITS TO PROPER FORMAT FOR
                        SUBMISSION AND SUBMIT EXHIBIT REGISTER
                        AND EXHIBITS FOR HEARING (1.1); PREPARE E-
                        BINDER OF EXHIBIT REGISTER AND EXHIBITS
                        FOR HEARING ON SUMMARY JUDGMENT
                        MOTION (.6)
04/25/23   JG           REVIEW OF ORDER GRANTING MOTION FOR                3.40
                        CONTEMPT AND MEMO TO TEAM RE SAME (.3);
                        PREPARE FOR AND ATTEND HEARINGS ON
                        COMMITTEE’S MOTION TO COMPEL
                        PRODUCTION FROM OWOCS AND SUMMARY
                        JUDGMENT (2.5); CALL WITH SANCHEZ FISCHER
                        LEVINE COUNSEL AND G. METZGER RE
                        MONSTER LITIGATION (.3); CALL WITH L. BLANCO
                        AND FOLLOW UP EMAILS RE 2004 EXAMINATION
                        OF S. RODRIGUEZ; DEADLINE FOR DOCUMENTS
                        TO BE PRODUCED (.3).
04/25/23   MJN          REVIEW CONTEMPT ORDER.                             0.20
04/25/23   MJN          ATTEND HEARING ON OWOC SUMMARY                     1.40
                        JUDGMENT.
04/27/23   MJN          REVIEW COEXISTENCE AGREEMENT PROVIDED              0.30
                        BY G.ECKHOUSE AND PROVIDE COMMENTS.
04/28/23   JG           MEMO FROM D. LEVINE AND REVIEW                     0.50
                        DOCUMENTS PRODUCED BY MONSTER.
04/29/23   MJN          CONFERENCE CALL WITH G.METZGER AND                0.30
                        TEAM REGARDING OBI APPEAL AND STATUS
                        REPORT.
04/29/23   JG           CONFERENCE WITH APPELLATE COUNSEL RE               0.30
                        STATUS REPORT TO NINTH CIRCUIT.
04/30/23   MJN          REVIEW CA9 OBI APPEAL STATUS REPORT AND           0.30
                        RELATED EMAILS.


                                                    SUB-TOTAL FEES:       40.70     23,263.00




                                                                                        41
         Case 22-17842-PDR          Doc 1683-1   Filed 07/21/23   Page 92 of 105
VITAL PHARMACEUTICALS, INC., ET AL.                                                 PAGE: 42
                                                                       MATTER ID: 31679-0527

                                    RATE SUMMARY
         Paul Avron                   0.50   HOURS       650.00/HR           325.00
         Kerry L. Burns              10.40   HOURS       295.00/HR         3,068.00
         Jordi Guso                  17.40   HOURS       750.00/HR        13,050.00
         Erin M. Hoskins              0.70   HOURS       550.00/HR           385.00
         Michael J. Niles            11.70   HOURS       550.00/HR         6,435.00
                            TOTAL    40.70




                                                                                       42
           Case 22-17842-PDR      Doc 1683-1         Filed 07/21/23   Page 93 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                   PAGE: 43
                                                                           MATTER ID: 31679-0528

                   A Berger singerman
                             201 E. Las Olas Blvd. Suite 1500
                             Fort Lauderdale, Florida 33301
                             f: (954) 525-9900 F (954) 523-2872
                                                 :


                               WWW.BERGERSINGERMAN.COM
                                        LIN# XX-XXXXXXX

VITAL PHARMACEUTICALS, INC., ET AL.
1600 N PARK DRIVE                                                         INVOICE DATE:05/15/23
WESTON, FL 33326                                                             INVOICE NO. 265423


RELIEF FROM STAY PROCEEDING/ADEQUATE PROTECTION                           MATTER ID: 31679-0528


PROFESSIONAL FEES RENDERED THROUGH 04/30/23                                HOURS
04/07/23   JG           CALL FROM M. BOYER RE ALLY ADEQUATE                   0.20
                        PROTECTION PAYMENTS; MEMO TO M. NILES RE
                        SAME.
04/10/23   MJN          CORRESPOND WITH A. GUPTA REGARDING ALLY               0.40
                        BANK AND REVISE ADEQUATE PROTECTION
                        MOTION.
04/17/23   MJN          REVIEW MOTION TO LIFT STAY FILED BY WEBB &            0.20
                        GERRITSEN
04/17/23   JG           MEMO TO AND FROM C. COMBAST RE WEBB &                 0.20
                        GERRITSEN STAY RELIEF MOTION (.2).
04/21/23   EMH          ANALYZE THE WEBB & GERRITSEN, INC. MOTION             0.40
                        FOR RELIEF FROM STAY AND CONSIDER
                        ARGUMENTS IN OPPOSITION TO THE
                        REQUESTED RELIEF.
04/21/23   EMH          BEGIN DEVELOPING ARGUMENTS IN                         1.10
                        OPPOSITION TO THE WEBB & GERRITSEN, INC.
                        MOTION FOR RELIEF FROM THE AUTOMATIC
                        STAY.
04/21/23   MJN          REVIEW MOTION FOR RELIEF FROM STAY                    0.90
                        (WEBB & GERRITSEN)(.3); CONFERENCE CALL
                        WITH E. HOSKINS (.3); CORRESPOND WITH
                        DEBTOR TEAM REGARDING THE SAME (.3).
04/21/23   EMH          RESEARCH RECENT DECISIONS IN CONNECTION               0.90
                        WITH STAY RELIEF MOTION FILED BY WEBB &
                        GERRITSEN, IN FURTHERANCE OF DRAFTING AN
                        OBJECTION TO THE MOTION
04/22/23   MJN          REVIEW FURTHER CORRESPONDENCE FROM G.                 0.30
                        METZGER REGARDING MOTION FOR RELIEF
                        FROM STAY.
04/24/23   EMH          CRAFT BACKGROUND STATEMENTS TO                        0.40
                        SUPPORT THE OBJECTION TO WEBB &
                        GERRITSEN INC.'S MOTION FOR RELIEF FROM
                        STAY.
04/24/23   EMH          RESEARCH RECENT CASE LAW IN                           0.90
           Case 22-17842-PDR      Doc 1683-1   Filed 07/21/23    Page 94 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                              PAGE: 44
                                                                      MATTER ID: 31679-0528

                        FURTHERANCE OF PREPARING AN OBJECTION
                        TO THE WEBB & GERRITSON, INC. MOTION FOR
                        RELIEF FROM STAY.
04/24/23   EMH          RESEARCH RECENT DECISIONS RELATING TO            1.30
                        ADEQUATE PROTECTION IN FURTHERANCE OF
                        PREPARING THE OBJECTION TO THE WEBB &
                        GERRITSON, INC. MOTION FOR RELIEF FROM
                        STAY.
04/24/23   EMH         PREPARE THE LEGAL STANDARD FOR STAY               0.90
                        RELIEF IN THE OBJECTION TO THE WEBB &
                        GERRITSON, INC. MOTION FOR RELIEF FROM
                        STAY.
04/24/23   EMH         PREPARE THE ANALYSIS ON THE FIRST FACTOR          0.70
                        FOR CONSIDERING CAUSE IN GRANTING STAY
                        RELIEF IN THE OBJECTION TO THE WEBB &
                        GERRITSON, INC. MOTION FOR RELIEF FROM
                        STAY.
04/24/23   EMH         PREPARE ANALYSIS AND REVISE OBJECTION TO          0.80
                        STAY RELIEF MOTION FILED BY WEBB &
                        GERRITSON, INC.
04/24/23   EMH         RESEARCH RECENT DECISIONS DISCUSSING              1.20
                       APPLICATION OF THE THIRD FACTOR COURTS
                        CONSIDER WHEN DECIDING WHETHER TO
                        GRANT RELIEF FROM STAY IN SUPPORT OF THE
                        OBJECTION TO THE WEBB & GERRITSEN, INC.
                        MOTION FOR RELIEF FROM STAY.
04/24/23   JG          CONFERENCE WITH E. HOSKINS AND M NILES            0.40
                        RE OBJECTION TO WEBB & GERRITSEN MOTION
                        FOR STAY RELIEF.
04/24/23   MJN         CORRESPOND WITH J.GUSO AND E.HOSKINS              0.40
                        REGARDING STAY RELIEF OBJECTION.
04/25/23   EMH         PREPARE THE ANALYSIS ON THE THIRD FACTOR          0.80
                        FOR CONSIDERING CAUSE IN GRANTING STAY
                        RELIEF IN THE OBJECTION TO THE WEBB &
                        GERRITSON, INC. MOTION FOR RELIEF FROM
                        STAY.
04/25/23   EMH         FINALIZE THE INITIAL DRAFT OF THE OBJECTION       1.20
                        TO THE WEBB & GERRITSEN, INC. MOTION FOR
                        RELIEF FROM STAY
04/25/23   MJN         CORRESPOND WITH E. HOSKINS REGARDING              1.00
                        STAY RELIEF MOTION (.2); REVIEW WEBB &
                        GERRITSEN DOCKET (.2); REVIEW AND REVISE
                        STAY RELIEF MOTION (.4); CORRESPOND WITH
                        LATHAM & WATKINS TEAM REGARDING THE
                        SAME (.2)
04/25/23   MJN         CORRESPOND WITH R.EMANUEL REGARDING               0.40
                        U.S BANK ADEQUATE PROTECTION PAYMENTS.
                        FOLLOW UP WITH HURON REGARDING THE
                        SAME.
04/27/23   KLB         REVISE AND FINALIZE OBJECTION TO MOTION           0.40
                        FOR RELIEF FROM STAY BY WEBB & GERRITSON
                        (.2); FORMAT AND E-FILE OBJECTION AND




                                                                                      44
            Case 22-17842-PDR           Doc 1683-1   Filed 07/21/23   Page 95 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                    PAGE: 45
                                                                            MATTER ID: 31679-0528

                               EMAILS TO AND FROM STRETTO REGARDING
                               SERVICE (.2)
04/27/23    MJN            FINALIZE OBJECTION TO RELIEF FROM STAY;            0.30
                            CORRESPOND WITH LATHAM & WATKINS TEAM
                            REGARDING THE SAME.
04/28/23    MJN            CORRESPOND WITH M.KYE REGARDING                    0.30
                            MITSUBISHI HC CAPITAL AMERICA.


                                                          SUB-TOTAL FEES:     16.00        8,858.00

                                        RATE SUMMARY
            Kerry L. Burns                 0.40   HOURS       295.00/HR           118.00
            Jordi Guso                     0.80   HOURS       750.00/HR           600.00
            Erin M. Hoskins               10.60   HOURS       550.00/HR         5,830.00
            Michael J. Niles               4.20   HOURS       550.00/HR         2,310.00
                               TOTAL      16.00


                                                          TOTAL CURRENT BILLING:       127,896.86
                                                                CREDITS APPLIED:             (0.00)
                                                          PREVIOUS BALANCE DUE:        164,899.50


                                                                      TOTAL DUE:       292,796.36



           PAYMENT DUE UPON RECEIPT. PLEASE NOTE ACCOUNT NUMBER ON CHECK.




                                                                                              45
                   Case 22-17842-PDR    Doc 1683-1      Filed 07/21/23      Page 96 of 105

« Berger Singerman
 201E. Las Olas Blvd. Suite 1500
 Fort Lauderdale, Florida 33301
 T: (954) 525-9900 F: (954) 523-2872
 WWW.BERGERSINGERMAM.COM
 BIN# XX-XXXXXXX




                                       Statement as of May 31, 2023
                                           Statement No. 266505

 VITAL PHARMACEUTICALS, INC., ET AL.
 1600 N PARK DRIVE
 WESTON, FL 33326



 31679.0001 CH. 11 BANKRUPTCY FILING                                        Current Fees:            0.00
                                                                        Current Expenses:        2,686.50
 31679.0501 CASE ADMINISTRATION                                             Current Fees:       12,808.00
                                                                        Current Expenses:            0.00
 31679.0502 BUSINESS OPERATIONS                                             Current Fees:       17,995.00
                                                                        Current Expenses:            0.00
 31679.0505 ASSET DISPOSITION/PRESERVATION                                  Current Fees:       13,465.00
                                                                        Current Expenses:            0.00

 31679.0506 FINANCING                                                       Current Fees:        3,008.50
                                                                        Current Expenses:            0.00

 31679.0507 FEE/EMPLOYMENT APPLICATION                                      Current Fees:        9,098.00
                                                                        Current Expenses:            0.00
 31679.0509 CLAIMS ADMINISTRATION AND OBJECTION                             Current Fees:        3,578.00
                                                                        Current Expenses:            0.00
 31679.0512 EXECUTORY CONTRACTS AND UNEXPIRED                               Current Fees:       13,846.00
 LEASES                                                                 Current Expenses:            0.00
 31679.0517 SETTLEMENT AND COMPROMISE                                       Current Fees:        5,440.00
                                                                        Current Expenses:            0.00
 31679.0518 PLAN AND DISCLOSURE STATEMENT                                   Current Fees:        2,022.50
                                                                        Current Expenses:            0.00

 31679.0527 LITIGATION CONSULTING                                           Current Fees:       47,755.50
                                                                        Current Expenses:            0.00

 31679.0528 RELIEF FROM STAY PROCEEDING/ADEQUATE                            Current Fees:        1,705.00
 PROTECTION                                                             Current Expenses:            0.00

                                                                       Total Current Fees:     130.721.50
                                                                  Total Current Expenses:        2,686.50
                                                                      Total Current Billing:   133,408.00
                                                                          Credits Applied:         (0.00)
                                                                   Previous Balance Due:       190,025.50
                                                                               Total Due:      323.433.50
             Case 22-17842-PDR      Doc 1683-1       Filed 07/21/23   Page 97 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                     PAGE: 2
                                                                            MATTER ID: 31679-0001

                    A Berger singerman
                              201 E. Las Olas Blvd. Suite 1500
                              Fort Lauderdale, Florida 33301
                              f: (954) 525-9900 F (954) 523-2872
                                                 :


                                 WWW.BERGERSINGERMAN.COM
                                        LIN# XX-XXXXXXX

VITAL PHARMACEUTICALS, INC., ET AL.
1600 N PARK DRIVE                                                          INVOICE DATE:06/14/23
WESTON, FL 33326                                                              INVOICE NO. 266505


CH. 11 BANKRUPTCY FILING                                                   MATTER ID: 31679-0001



  EXPENSES

05/01/23      VENDOR: OUELLETTE & MAULDIN COURT REPORTERS, INC;                  1.00      651.30
              INVOICE#: 973868; DATE: 5/1/2023 - 31679.0001 HRG JUDGE
              PETER RUSSIN,0&1-114 PAGES THREE DAY DEL.
05/02/23      VENDOR: OUELLETTE & MAULDIN COURT REPORTERS, INC;                  1.00      358.35
              INVOICE#: 973875; DATE: 5/2/2023 - 31679.0001 HEARING
              BEFORE JUDGE PETER RUSSIN -0&1-63 PAGES THREE DAY
              DEL.
05/04/23      VENDOR: OUELLETTE & MAULDIN COURT REPORTERS, INC;                  1.00       36.40
              INVOICE#: 973896; DATE: 5/4/2023 - 31679.0001 HEARING
              BEFORE JUDGE PETER RUSSIN, COPY 22 PAGES RUSH,
              LITIGATION PACKAGE
05/08/23      VENDOR: OUELLETTE & MAULDIN COURT REPORTERS, INC;                  1.00      276.60
              INVOICE#: 973912; DATE: 5/8/2023 - 31679.0001 HEARING
              BEFORE JUDGE PETER RUSSIN, 0&1 - 48 PAGES THREE DAY
              DEL, LITIGATION PACKAGE
05/08/23      VENDOR: OUELLETTE & MAULDIN COURT REPORTERS, INC;                  1.00       73.80
              INVOICE#: 973918; DATE: 5/8/2023 - 31679.0001 HEARING
              BEFORE JUDGE PETER RUSSIN, COPY - 49 PAGES RUSH,
              LITIGATION PACKAGE
05/15/23      VENDOR: OUELLETTE & MAULDIN COURT REPORTERS, INC;                  1.00       89.40
              INVOICE#: 973955; DATE: 5/15/2023 - 31679.0001 -HEARING
              BEFORE JUDGE. PETER RUSSIN -COPY 62 PAGES EXP
05/24/23      VENDOR: OUELLETTE & MAULDIN COURT REPORTERS, INC;                  1.00       86.75
              INVOICE#: 973983; DATE: 5/24/2023 - 31679.0001 HRG JUDGE
              PETER RUSIN, O&l - 15 PAGES, LITIGATION PACKAGE
                                                        COURT REPORTER                   1,572.60

05/01/23       PAYEE: E-PORTAL FILING; REQUEST#: 47321; DATE: 5/1/2023.           1.00     200.00
              - FILING FEE FOR FILING OF MOTION TO APPEAR PRO HAC
              VICE FOR JOSEPH CELENTINO OF LATHAM & WATKINS
05/15/23       PAYEE: E-PORTAL FILING; REQUEST#: 47569; DATE: 5/15/2023.          1.00     200.00
              - - 31679.0001 FILING OF MOTIONS TO APPEAR PRO HAC
              VICE WITH DISTRICT COURT FOR LATHAM & WATKINS
              ATTORNEYS
05/15/23       PAYEE: E-PORTAL FILING; REQUEST#: 47572: DATE: 5/15/2023.         1.00      200.00
           Case 22-17842-PDR      Doc 1683-1     Filed 07/21/23   Page 98 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                  PAGE: 3
                                                                         MATTER ID: 31679-0001

             - 31679.0001 FILING OF MOTIONS TO APPEAR PRO HAC VICE
             WITH DISTRICT COURT FOR LATHAM & WATKINS ATTORNEYS
05/15/23     PAYEE: E-PORTAL FILING; REQUEST#: 47574; DATE: 5/15/2023.       1.00      200.00
             - 31679.0001 FILING OF MOTIONS TO APPEAR PRO HAC VICE
             WITH DISTRICT COURT FOR LATHAM & WATKINS
             ATTORNEYS
05/17/23     PAYEE: E-PORTAL FILING; REQUEST#: 47588; DATE: 5/17/2023.       1.00      200.00
             - FILING OF MOTIONS TO APPEAR PRO HAC VICE WITH
             DISTRICT COURT FOR LATHAM & WATKINS ATTORNEYS
                                                            FILING FEE                1,000.00

05/01/23     PACER USAGE CHARGE                                               1.00        0.10
05/02/23     PACER USAGE CHARGE                                               1.00        0.10
05/03/23     PACER USAGE CHARGE                                               1.00        0.10
05/04/23     PACER USAGE CHARGE                                               1.00        0.10
05/05/23     PACER USAGE CHARGE                                               1.00        0.10
05/06/23     PACER USAGE CHARGE                                               1.00        0.10
05/07/23     PACER USAGE CHARGE                                               1.00        0.10
05/08/23     PACER USAGE CHARGE                                               1.00        0.10
05/09/23     PACER USAGE CHARGE                                               1.00        0.10
05/10/23     PACER USAGE CHARGE                                               1.00        0.10
05/10/23     PACER USAGE CHARGE                                               7.00        0.70
05/11/23     PACER USAGE CHARGE                                               1.00        0.10
05/11/23     PACER USAGE CHARGE                                              34.00        3.40
05/12/23     PACER USAGE CHARGE                                               1.00        0.10
05/12/23     PACER USAGE CHARGE                                               8.00        0.80
05/13/23     PACER USAGE CHARGE                                               1.00        0.10
05/14/23     PACER USAGE CHARGE                                               1.00        0.10
05/15/23     PACER USAGE CHARGE                                               1.00        0.10
05/16/23     PACER USAGE CHARGE                                               1.00        0.10
05/17/23     PACER USAGE CHARGE                                              34.00        3.40
05/17/23     PACER USAGE CHARGE                                               1.00        0.10
05/17/23     PACER USAGE CHARGE                                              65.00        6.50
05/17/23     PACER USAGE CHARGE                                              75.00        7.50
05/17/23     PACER USAGE CHARGE                                               2.00        0.20
05/18/23     PACER USAGE CHARGE                                               1.00        0.10
05/19/23     PACER USAGE CHARGE                                               1.00        0.10
05/20/23     PACER USAGE CHARGE                                               1.00        0.10
05/21/23     PACER USAGE CHARGE                                               1.00        0.10
05/22/23     PACER USAGE CHARGE                                               1.00        0.10
05/23/23     PACER USAGE CHARGE                                               2.00        0.20
05/23/23     PACER USAGE CHARGE                                               3.00        0.30
05/23/23     PACER USAGE CHARGE                                               2.00        0.20
05/24/23     PACER USAGE CHARGE                                               2.00        0.20
05/24/23     PACER USAGE CHARGE                                               1.00        0.10
05/24/23     PACER USAGE CHARGE                                              18.00        1.80
05/25/23     PACER USAGE CHARGE                                               2.00        0.20
05/25/23     PACER USAGE CHARGE                                               1.00        0.10
05/26/23     PACER USAGE CHARGE                                               2.00        0.20
05/26/23     PACER USAGE CHARGE                                               1.00        0.10
05/26/23     PACER USAGE CHARGE                                              36.00        3.60
05/27/23     PACER USAGE CHARGE                                               2.00        0.20
05/27/23     PACER USAGE CHARGE                                               1.00        0.10
05/27/23     PACER USAGE CHARGE                                               2.00        0.20
05/28/23     PACER USAGE CHARGE                                               2.00        0.20




                                                                                          3
           Case 22-17842-PDR      Doc 1683-1   Filed 07/21/23   Page 99 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                              PAGE: 4
                                                                     MATTER ID: 31679-0001

05/28/23     PACER USAGE CHARGE                                           1.00        0.10
05/29/23     PACER USAGE CHARGE                                           2.00        0.20
05/29/23     PACER USAGE CHARGE                                           1.00        0.10
05/29/23     PACER USAGE CHARGE                                           1.00        0.10
05/30/23     PACER USAGE CHARGE                                          11.00        1.10
05/30/23     PACER USAGE CHARGE                                           2.00        0.20
05/30/23     PACER USAGE CHARGE                                           1.00        0.10
05/30/23     PACER USAGE CHARGE                                          46.00        4.60
                                                     PACER CHARGE                   38.90

05/03/23     REPRODUCTIONS                                               18.00        2.70
05/04/23     REPRODUCTIONS                                                5.00        0.75
05/10/23     REPRODUCTIONS                                                5.00        0.75
05/10/23     REPRODUCTIONS                                               10.00        1.50
05/10/23     REPRODUCTIONS                                               50.00        7.50
05/10/23     REPRODUCTIONS                                                1.00        0.15
05/10/23     REPRODUCTIONS                                                1.00        0.15
05/11/23     REPRODUCTIONS                                              148.00      22.20
05/11/23     REPRODUCTIONS                                                2.00        0.30
05/16/23     REPRODUCTIONS                                                6.00        0.90
05/16/23     REPRODUCTIONS                                                8.00        1.20
05/16/23     REPRODUCTIONS                                              124.00      18.60
05/16/23     REPRODUCTIONS                                                1.00       0.15
05/24/23     REPRODUCTIONS                                                4.00       0.60
05/24/23     REPRODUCTIONS                                              102.00      15.30
05/24/23     REPRODUCTIONS                                                8.00        1.20
05/30/23     REPRODUCTIONS                                                7.00        1.05
                                                     REPRODUCTION                   75.00



                                                                   SUB-TOTAL      2,686.50




                                                                                      4
           Case 22-17842-PDR      Doc 1683-1         Filed 07/21/23   Page 100 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                    PAGE: 5
                                                                           MATTER ID: 31679-0501

                   A Berger singerman
                             201 E. Las Olas Blvd. Suite 1500
                             Fort Lauderdale, Florida 33301
                             f: (954) 525-9900 F (954) 523-2872
                                                 :


                               WWW.BERGERSINGERMAN.COM
                                        LIN# XX-XXXXXXX

VITAL PHARMACEUTICALS, INC., ET AL.
1600 N PARK DRIVE                                                          INVOICE DATE:06/14/23
WESTON, FL 33326                                                              INVOICE NO. 266505


CASE ADMINISTRATION                                                       MATTER ID: 31679-0501


PROFESSIONAL FEES RENDERED THROUGH 05/31/23                                 HOURS
05/01/23   KLB          REVIEW EMAILS REGARDING FILING OF MOTION               0.60
                        TO APPEAR PRO HAC VICE FOR J. CELENTINO
                        (.1); REVIEW, FINALIZE AND FORMAT MOTION TO
                        APPEAR PRO HAC VICE AND PROPOSED ORDER
                        (.2); E-FILE MOTION TO APPEAR PRO HAC VICE
                        AND FINALIZE, FORMAT AND SUBMIT PROPOSED
                        ORDER (.2); EMAILS TO AND FROM STRETTO
                        REGARDING SERVICE (.1)
05/02/23   KLB          EMAILS TO AND FROM STRETTO REGARDING                   0.30
                        SERVICE OF VARIOUS ORDERS AND AMENDED
                        HEARING NOTICES SCHEDULING HEARINGS VIA
                        ZOOM
05/02/23   KLB          EMAILS FROM AND TO COUNSEL FOR THE                     0.10
                        AMERICAN BOTTLING COMPANY REGARDING
                        FEBRUARY 2023 OPERATING REPORT FOR VITAL
                        PHARMACEUTICALS, INC.
05/02/23   JG           MEMO FROM MR. WILKES RE OUTSTANDING US                 0.40
                        TRUSTEE FEES
                        (.1); REVIEW OF INVOICE AND CALL WITH B.
                        GONZALEZ RE
                        SAME (.2); MEMO TO HURON TEAM (.1)
05/03/23   KLB          GATHER PREVIOUSLY FILED PERIODIC                       0.20
                        REPORTS REGARDING VALUE AND OPERATIONS
                        OF ENTITIES IN WHICH THE ESTATES HOLD AN
                        INTEREST, AND EMAILS TO HURON TEAM
                        REGARDING DEADLINE FOR FILING NEXT
                        REPORTS


05/04/23   JG           CALL FROM B. SHRAIBERG RE MAY HEARINGS                0.80
                        AND EXCLUSIVITY MOTION (.2); CALL WITH CO­
                        ADVISORS RE PENDING ISSUES (.6).
05/04/23   KLB          REVIEW AND RESPOND TO EMAILS FROM S.                  0.20
                        PARKHURST REGARDING PERIODIC REPORTS,
                        TIMEFRAME FOR SAME, ETC.
           Case 22-17842-PDR      Doc 1683-1   Filed 07/21/23   Page 101 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                              PAGE: 6
                                                                     MATTER ID: 31679-0501

05/04/23   MJN          CORRESPOND WITH HURON TEAM REGARDING             0.70
                        PERIODIC REPORTS; RESEARCH REGARDING
                        BANKRUPTCY RULE 2015.3 AND OFFICIAL
                        FORMS.
05/05/23   KLB         REVIEW EMAILS FROM HURON TEAM                     0.20
                       REGARDING PREPARATION OF PERIODIC
                       REPORTS AND INFORMATION TO INCLUDE IN
                       SAME
05/05/23   JG          CONFERENCE WITH ADVISORS RE PENDING               0.80
                       ISSUES (.6); MEMOS TO AND FROM COMMITTEE
                       COUNSEL RE UPCOMING RULE 2004
                       EXAMINATIONS (.2).
05/08/23   JG          CONFERENCE WITH HURON AND ROTHSCHILD              0.60
                       TEAMS RE PENDING ISSUES.
05/09/23   KLB         TELEPHONE CONFERENCE WITH INTERESTED              0.10
                        PARTY REGARDING REQUEST TO BE REMOVED
                        FROM SERVICE LISTS AND EMAILS TO AND
                        FROM STRETTO TEAM REGARDING SAME
05/09/23   JG          CALL WITH CTO AND ADVISOR TEAMS RE                0.60
                       PENDING ISSUES.
05/09/23   MJN         CORRESPOND WITH A. GARG REGARDING                 0.40
                       PERIODIC REPORTS.
05/10/23   KLB         PREPARE PERIODIC REPORTS FOR VITAL                0.60
                       PHARMACEUTICALS, INC. AND BANG ENERGY
                       CANADA, INC. AND EMAILS TO AND FROM M.
                       BOYER OF HURON REGARDING SAME
05/10/23   KLB         EMAILS REGARDING PREPARATION OF PRO HAC           0.20
                       VICE MOTIONS FOR VARIOUS LATHAM
                       ATTORNEYS TO BE FILED IN DISTRICT COURT
                       APPEAL


05/11/23   JG           CONFERENCE WITH LATHAM TEAM RE OPEN              0.80
                        PENDING DEADLINES AND HEARINGS;
                        PREPARATION (.5); CALL FROM S. GRAY RE
                        RESULTS OF MAY 11 COURT HEARING AND
                        UPCOMING DEPOSITIONS (.3).
05/11/23   KLB         REVIEW DISTRICT COURT LOCAL RULES AND             2.20
                       PREPARE MOTION TO APPEAR PRO HAC VICE
                       FOR FOUR LATHAM AND WATKINS ATTORNEYS
                       (1.2); PREPARE PROPOSED ORDERS GRANTING
                       PRO HAC VICE MOTIONS AND EMAILS TO
                       ATTORNEYS FOR REVIEW AND COMMENTS (1.0)
05/11/23   KLB         FINALIZE PERIODIC REPORTS AND COMPILE             0.80
                       ATTACHMENTS TO SAME (.4); FORMAT AND E-
                        FILE TWO PERIODIC REPORTS AND EMAILS TO
                       AND FROM M. BOYER REGARDING SAME (.4)
05/11/23   MJN         ATTEND HEARINGS REGARDING MAIN CASE AND          2.00
                       ADVERSARY PROCEEDING;
05/12/23   MJN         CORRESPOND WITH D. HURTES REGARDING               0.30
                       ALL BRANDS BANKRUPTCY STATUS UPDATE;
                       PREPARE UPDATE.




                                                                                      6
           Case 22-17842-PDR      Doc 1683-1   Filed 07/21/23   Page 102 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                              PAGE: 7
                                                                     MATTER ID: 31679-0501

05/15/23   KLB         EMAILS REGARDING MOTIONS TO APPEAR PRO           0.20
                        HAC VICE TO BE FILED IN DISTRICT COURT
                       APPEAL
05/15/23   KLB         FINALIZE THREE MOTIONS TO APPEAR PRO HAC         1.60
                       VICE TO BE FILED IN DISTRICT COURT APPEAL,
                       AND PREPARE PROPOSED ORDERS (.5);
                        FORMAT MOTIONS FOR FILING AND E-FILE
                        MOTIONS TO APPEAR PRO HAC VICE (.4);
                        FORMAT PROPOSED ORDERS AND REVIEW
                        COURT PROCEDURES (.2); PREPARE
                       TRANSMITTAL EMAIL TO JUDGE SINGHAL AND
                        SUBMIT THREE PROPOSED ORDERS GRANTING
                        MOTIONS TO APPEAR PRO HAC VICE (.4);
                        EMAILS TO AND FROM C. TARRANT OF LATHAM
                        & WATKINS REGARDING MOTION TO APPEAR
                        PRO HAC VICE FOR A. SORKIN (.1)
05/15/23   KLB         TELEPHONE CALL FROM CLAIMANT REGARDING            0.10
                        STATUS OF CHAPTER 11 CASE
05/15/23   JG          CALL WITH D. SPELFOGEL RE DEMAND FOR              0.20
                       TURNOVER AND CASE STATUS.
05/16/23   JG          CONFERENCE WITH A. QUARTAROLO AND D.              0.90
                       SPELFOG RE RECIPROCAL DEMANDS FOR
                       TURNOVER OF PROPERTY (.3); CALL WITH CO­
                       ADVISORS RE STATUS AND PENDING ISSUES
                        (■6);



05/16/23   MJN         CORRESPOND WITH DAN MUN AND TEAM                  0.30
                       REGARDING MONTHLY OPERATING REPORTS
                       AND ASSETS OF VPX SUBSIDIARIES.
05/16/23   MJN         CORRESPOND WITH R. PANMAN REGARDING               0.30
                       VPX BANKRUPTCY UPDATE.
05/16/23   MJN         CORRESPOND WITH R. MAHER REGARDING                0.30
                       STATUS OF VPX CASE.
05/17/23   KLB         REVISE AND FINALIZE MOTION TO APPEAR PRO          0.60
                       HAC VICE FOR A. SORKIN TO BE FILED IN
                       DISTRICT COURT APPEAL AND FINALIZE
                       PROPOSED ORDER (.2); FORMAT MOTION AND
                       E-FILE SAME (.2); PREPARE TRANSMITTAL EMAIL
                       TO JUDGE SINGHAL WITH PROPOSED ORDER
                        (■2)

05/17/23   KLB         EMAILS TO AND FROM J.GUSO REGARDING              0.70
                       FILING OF AMENDED SCHEDULES FOR VITAL
                       PHARMACEUTICALS, INC. AND QUASH SELTZER,
                       AND PREPARE LOCAL FORM 4 (NOTICE OF
                       COMPLIANCE WITH AMENDING CREDITOR
                       INFORMATION) FOR EACH DEBTOR (.5); REVIEW
                       DRAFT AMENDMENT TO SCHEDULES FOR VITAL
                       PHARMACEUTICALS, INC. AND QUASH SELTZER
                       AND EMAILS TO J. GUSO (.2)
05/17/23   MJN         REVIEW AMENDMENT TO SCHEDULE F;                  0.30
                       CORRESPOND WITH TEAM REGARDING THE




                                                                                      7
           Case 22-17842-PDR      Doc 1683-1   Filed 07/21/23   Page 103 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                              PAGE: 8
                                                                     MATTER ID: 31679-0501

                        SAME
05/17/23   JG          CONFERENCE WITH HURON AND LATHAM                 0.60
                       TEAMS RE PENDING ISSUES.
05/18/23   MJN         RESEARCH INTO THE FREEMAN COMPANY AND            0.40
                       THEIR DEMAND ON PREPETITION DEBT.
05/18/23   JG          CONFERENCE CALL WITH LATHAM TEAM RE WIP           0.50
                       AND UPCOMING DEADLINES (.5);
05/19/23   MJN         FOLLOW UP WITH COUNSEL FOR THE FREEMAN            0.40
                       COMPANY REGARDING DEMAND FOR
                        PREPETITION OBLIGATIONS.
05/22/23   JG          CALL WITH HURON TEAM RE PENDING ISSUES.           0.50
05/23/23   MJN         CORRESPOND WITH HURON TEAM AND DEBTOR             0.40
                       TEAM REGARDING SCHEDULE F AMENDMENT.
05/24/23   KLB         REVIEW EMAIL FROM M. BOYER OF HURON               0.20
                       REGARDING MARCH 2023 OPERATING REPORT,
                       GATHER REPORT FILED ON BEHALF OF QUASH
                       SELTZER AND EMAILS TO M. BOYER
05/24/23   MJN         CORRESPOND WITH HURON AND STRETTO                 0.30
                       TEAM REGARDING SCHEDULE F; FOLLOW UP
                       WITH K.BURNS REGARDING THE SAME.
05/25/23   KLB         REVIEW EMAIL REGARDING AMENDMENTS TO              0.90
                       SCHEDULES AND FINALIZE AMDNDMENTS TO
                       SCHEDULES E/F FOR VITAL PHARMACEUTICALS,
                       INC. AND QUASH SELTZER CASES (.4); FINALIZE
                       DECLARATIONS REGARDING FILING OF
                       AMENDED SCHEDULES AND FINALIZE NOTICES
                       OF COMPLIANCE (LOCAL RULE 4) (.2); FORMAT
                       AND E-FILE AMENDMENTS TO SCHEDULES AND
                       EMAILS TO HURON TEAM REGARDING SAME (.3)
05/30/23   MJN         CORRESPOND WITH LATHAM & WATKINS AND              0.20
                       HURON TEAM REGARDING APRIL'S MONTHLY
                       OPERATING REPORTS.
05/31/23   MJN         CORRESPOND WITH V. CHAUHAN REGARDING              0.30
                       MONTHLY OPERATING REPORTS; FOLLOWUP
                       WITH LATHAM & WATKINS TEAM REGARDING
                       THE SAME.
05/31/23   MJN         REVIEW MONTHLY OPERATING REPORTS AND              0.50
                       CORRESPOND WITH HURON TEAM REGARDING
                       THE SAME.
05/31/23   KLB         REVIEW EMAILS FROM HURON TEAM                     1.40
                       REGARDING FILING OF MONTHLY OPERATING
                       REPORTS (.2); ORGANIZE AND FORMAT
                       ATTACHMENTS TO REPORTS (.7); FINALIZE,
                       FORMAT AND E-FILE MONTHLY OPERATING
                       REPORTS FOR VITAL PHARMACEUTICALS, INC.
                       AND QUASH SELTZER (.5)
05/31/23   MJN         REVIEW VPX AND QUASH MONTHLY OPERATING            0.40
                       REPORTS; CORRESPOND WITH TEAM
                       REGARDING THE SAME,
05/31/23   CC          FINALIZE AND E-FILE APRIL MONTHLY                 1.20




                                                                                      8
         Case 22-17842-PDR          Doc 1683-1    Filed 07/21/23    Page 104 of 105
VITAL PHARMACEUTICALS, INC., ET AL.                                                    PAGE: 9
                                                                         MATTER ID: 31679-0501

                            OPERATING REPORTS (5 DEBTORS).


                                                       SUB-TOTAL FEES:      26.60        12,808.00

                                      RATE SUMMARY
         Kerry L. Burns                11.20   HOURS         295.00/HR        3,304.00
         Carmen Cruz                    1.20   HOURS         295.00/HR          354.00
         Jordi Guso                     6.70   HOURS         750.00/HR        5,025.00
         Michael J. Niles               7.50   HOURS         550.00/HR        4,125.00
                            TOTAL      26.60




                                                                                              9
           Case 22-17842-PDR      Doc 1683-1         Filed 07/21/23   Page 105 of 105
  VITAL PHARMACEUTICALS, INC., ET AL.                                                   PAGE: 10
                                                                           MATTER ID: 31679-0502

                   A Berger singerman
                             201 E. Las Olas Blvd. Suite 1500
                             Fort Lauderdale, Florida 33301
                             f: (954) 525-9900 F (954) 523-2872
                                                 :


                               WWW.BERGERSINGERMAN.COM
                                        LIN# XX-XXXXXXX

VITAL PHARMACEUTICALS, INC., ET AL.
1600 N PARK DRIVE                                                          INVOICE DATE:06/14/23
WESTON, FL 33326                                                              INVOICE NO. 266505


BUSINESS OPERATIONS                                                       MATTER ID: 31679-0502


PROFESSIONAL FEES RENDERED THROUGH 06/31/23                                 HOURS
05/01/23   MJN          ATTEND BUSINESS OPERATIONS CALL WITH                   0.50
                        HURON AND LATHAM & WATKINS.
05/02/23   MJN          REVIEW PROPOSED LANGUAGE TO POLAR                      0.50
                        BEVERAGES CONTRACT (.3); CORRESPOND
                        WITH G. METZGER REGARDING THE SAME (.2)
05/02/23   MJN          FOLLOW UP WITH LATHAM & WATKINS TEAM                   0.20
                        REGARDING CIRCLE K.
05/02/23   MJN          ADDITIONAL CORRESPONDENCE REGARDING                    0.30
                        FINANCED CADILLAC
05/02/23   MJN          ATTEND BUSINESS OPERATIONS CALL WITH                   0.50
                        LATHAM & WATKINS AND HURON TEAMS.
05/03/23   MJN          CORRESPOND WITH B. THEISEN REGARDING                   0.60
                        EFL LOGISTICS; CORRESPOND WITH S.
                        PARKHURST REGARDING THE SAME.
05/03/23   MJN          ATTEND BUSINESS OPERATIONS CALL WITH                   0.40
                        HURON AND LATHAM & WATKINS TEAMS.
05/04/23   JG           PREPARE FOR AND ATTEND BOARD MEETING.                  1.50
05/04/23   MJN          FOLLOW UP WITH B. THEISEN REGARDING EFL,               0.30
05/04/23   MJN          CORRESPOND WITH J. JOHN REGARDING                      0.30
                        ASSEMBLERS.
05/04/23   MJN          ATTEND WIP CALL WITH LATHAM & WATKINS                  0.40
                        TEAM.
05/04/23   MJN          ATTEND OPERATIONS CALL WITH HURON AND                  0.30
                        LATHAM & WATKINS TEAM.
05/05/23   MJN          ATTEND LENDER CALL                                     0.50
05/05/23   MJN          ATTEND BUSINESS OPERATIONS CALL WITH                   0.40
                        HURON AND LATHAM & WATKINS TEAMS.
05/08/23   MJN          ATTEND BUSINESS OPERATIONS CALL WITH                   0.50
                        HURON AND LATHAM & WATKINS TEAM.
05/08/23   MJN          CORRESPOND WITH DAIN DE SOUZA                          0.30
                        REGARDING CIRCLE K.
05/08/23   MJN          REVIEW CORRESPONDENCE REGARDING W2                     0.30
